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                                                                     GOVERNMENT
    1    UNITED STATES DISTRICT COURT                                  EXHIBIT
         EASTERN DISTRICT OF NEW YORK                              3500-JM-207(c)
    2    --------------------------------------x                    12 CR 50 (CBA)
         UNITED STATES OF AMERICA
    3

    4               versus                              05 CR 60(NGG)

    5    VINCENT BASCIANO,

    6                           DEFENDANT.              U.S. Courthouse
                                                        Brooklyn, New York
    7    --------------------------------------x
                                                        April 14, 2011
    8                                                   9:30 a. m.

    9

   10

   11                            TRANSCRIPT OF TRIAL

   12              Before the HONORABLE NICHOLAS GARAUFIS, USDJ

   13                                  APPEARANCES

   14    Representing the Government:       Loretta E. Lynch
                                            United States Attorney
   15                                       Eastern District of New York
                                            271 Cadman Plaza East
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                                            BY:   TARYN MERKL, ESQ.
   17                                             JACK DENNEHY, ESQ.
                                                  NICOLE ARGENTIERI, ESQ.
   18                                             STEPHEN FRANK, ESQ.

   19    Representing the Defendant:        GEORGE GOLTZER, ESQ.
                                            RICHARD JASPER, ESQ.
   20                                       YING STAFFORD, ESQ.

   21

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                              - PROCEEDINGS -

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   15    DIRECT EXAMINATION CONT'D

   16    BY MS. MERKL:

   17    Q    Mr. Massino, when we left off yesterday we were still

   18    focused on the consensual recording marked Government's

   19    Exhibit 406.    So if you could please turn to that,

   20    Government's Exhibit 406T, in the transcript binder.           We will

   21    resume playing the January 5, 2005, recording.

   22               We'll begin where we left off on clip eight, which

   23    is on page 48, of transcript 406T.

   24               MR. GOLTZER:     Forty-eight, you said?

   25               MS. MERKL:     Forty-eight.

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                           MASSINO/DIRECT/MERKL

    1                MR. GOLTZER:    Thank you.

    2                (Audio played.)

    3    BY MS. MERKL:

    4    Q    Mr. Massino, if I could ask you to turn back to page 48,

    5    beginning at clip eight.      Directing your attention,

    6    Mr. Massino, to line 14, on page 48.        You mention a Matty.

    7    Just to reorient everybody, who were you speaking about when

    8    you were speaking about Matty?

    9    A    Matty Madonna.

   10    Q    What relationship does Matty Madonna have with organized

   11    crime?

   12    A    He's with the Lucchese Family.

   13    Q    The last nine of that passage line, 17 and 18 you state,

   14    "I never met him here as a friend."

   15                What did you mean by met him as a friend?

   16    A    He was at MDC where I was, and I never met him as a

   17    friend to us.

   18    Q    As a friend of ours?

   19    A    Yes.

   20    Q    Meaning, a member of the Mafia?

   21    A    A member of the Mafia.

   22    Q    If I could now direct your attention to line 25, you

   23    mention a Vic.    Who were you speaking about in that portion of

   24    the conversation?

   25    A    Vic Amuso, the boss of the Lucchese Family.

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                           MASSINO/DIRECT/MERKL

    1    Q    If I could now direct your attention, please, to lines

    2    27, 31, Basciano mentioned, "They're straightening out guys

    3    out there.    They straightened out a couple of guys, the west

    4    side did."

    5                What did you understand Basciano to be referring to

    6    when he mentioned "the west side"?

    7    A    He was talking about the Genovese Family.

    8    Q    And when he used the term "straightened out," what did

    9    you understand him to mean?

   10    A    They became a made member of organized crime.

   11    Q    In the Genovese Family?

   12    A    In the Genovese Family.

   13    Q    If I could now direct your attention to the top of

   14    page 49, lines one and two.       Basciano mentioned, "I took one

   15    for the Columbo's, I took one of their names off the list."

   16                What did you understand Basciano to mean by that?

   17    A    One of the kids that they put up to become a made member,

   18    his father was a cop.      He knocked it down, and he took him off

   19    the list.

   20    Q    When you say, "he knocked it down" --

   21    A    Vinny Basciano told him to knock it down.

   22    Q    If I could now direct your attention to page 50, lines

   23    five and six.    You mention that there may be indictments

   24    coming down.    You state in lines five and six, "Now they're

   25    mentioning me for conspiracy to murder."

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                           MASSINO/DIRECT/MERKL

    1                At this point in your life, did you understand that

    2    you might be indicted for additional crimes?

    3    A    Yes.

    4    Q    If I could now direct your attention to line 11, Basciano

    5    states, it mentions an individual by the name of

    6    Louie Restivo.    Who is -- what did you understand Basciano to

    7    be referring to when he mentioned Louie Restivo?

    8    A    He's a wiseguy in the Bonanno Family.

    9    Q    And what was Louie Restivo's -- were you familiar with

   10    Louie Restivo's legal situation in early 2005?

   11    A    Yes.

   12    Q    What was going on with Mr. Restivo?

   13    A    He was indicted for two murders.

   14    Q    If I could now direct your attention to lines 16,

   15    Basciano mentions a Joe C.

   16                Who did you understand Basciano to be referring to?

   17    A    He's talking about Joey Saunders, Sr., he's a captain in

   18    the Bonanno Family.

   19    Q    If I could now direct your attention to line 24, you

   20    mention an individual by the name of "Louie Ha Ha."           Who is

   21    that?

   22    A    Louie Ha Ha is a captain in the Bonanno Family.

   23    Q    And you again mention Flora.        Who is Flora?

   24    A    Flora Edwards, she was one of my lawyers.

   25    Q    If I could now direct your attention to the last passage,

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                           MASSINO/DIRECT/MERKL

    1    lines 29 through 32.     You state, "So, I mean, they can't

    2    throw.   I don't see them throwing me.        The only thing I can

    3    figure, it was Randy or --" Basciano cuts you off and says

    4    "no."

    5               When you mention "they," who are you referring to?

    6    A    Talking about the government.

    7    Q    What were you -- what were you communicating -- what were

    8    you speaking about in this section of the tape?

    9    A    That I was supposed to have another indictment,

   10    superseded indictment.

   11    Q    And when you mention Randy, who were you referring to?

   12    A    Randy Pizzolo.

   13    Q    When Basciano stated "no," what did you understand him to

   14    mean?

   15    A    He's telling me no, that I ain't going to be indicted for

   16    that.

   17    Q    If I could now direct your attention to page 51, line 14,

   18    we'll resume with clip nine.

   19               (Audio played.)

   20    BY MS. MERKL:

   21    Q    If I could direct your attention back to page 51.

   22               (Witness perusing.)

   23    Q    Turning to page 51, if I could direct your attention to

   24    lines 27 through 29.     Basciano states:      "We fell apart.     We

   25    fell apart and I took the bull by the horns, Bo."

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                           MASSINO/DIRECT/MERKL

    1               What did you understand Basciano to be referring to

    2    when he said "we"?

    3    A    He's saying at that point the Bonanno Family fell apart

    4    and he took the bull by the horns.

    5    Q    And when he stated he took the bull by the horns, what

    6    was your understanding?

    7    A    He made himself acting boss.

    8    Q    If I could now direct your attention to page 52 Basciano

    9    continues, he mentions an individual by the name of Petey

   10    Rabbit.

   11               Who did you understand Basciano to be referring to

   12    when he mentioned Petey Rabbit on line six?

   13    A    Petey Rabbit is a captain in the Bonnano Family.

   14    Q    He also mentioned a Patty.       What was your understanding

   15    of who he was referring to as Patty?

   16    A    Patty Defilippo, he's a captain in the Bonanno Family.

   17    Q    If I could now direct your attention to line ten,

   18    Basciano mentions Sal.      Who did you understand Basciano to be

   19    referring to when he mentioned Sal?

   20    A    He's talking about my brother-in-law Sal Vitale, the

   21    underboss in the Bonanno Family.

   22    Q    And on line 11 and then again on line 12, Basciano also

   23    referred to Frankie Lino.      What was your understanding of who

   24    he was referring to?

   25    A    Frankie Lino was a captain in the Bonanno Family.

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                           MASSINO/DIRECT/MERKL

    1    Q    If I could now direct your attention to lines -- and just

    2    to refresh the jurors recollection, actually, what later

    3    happened with respect to Sal and Frankie Lino?

    4    A    They both decided to cooperate with the government.

    5    Q    Just to be clear, they had -- they decided to cooperate

    6    before or after you made this recording?

    7    A    Before I made this recording they were cooperating.

    8    Q    If I could now direct your attention to lines 23 and 24,

    9    Basciano states:     "I said how many guys did this guy save."

   10               What was your understanding of who Basciano was

   11    referring to when he said "this guy"?

   12    A    He's talking about how many lives did I save.

   13    Q    Lives safed in your capacity as what?

   14    A    Boss of the Bonanno Family.

   15    Q    If I can now direct your attention to page 53, starting

   16    at lines 13 and on, you and Basciano are speaking about

   17    captains, making captains.

   18               In general terms, what are you speaking about in

   19    that portion of the conversation?

   20    A    Everybody wants to be a captain and it's very hard to

   21    please everybody.     I try to put people there that were

   22    knowledgeable to run a crew.       You just can't put anybody

   23    there.

   24    Q    If I could now direct your attention to line 30, you

   25    state:   "When you got that seat, you become a cocksucker."

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                           MASSINO/DIRECT/MERKL

    1                What were you referring to when you said that seat?

    2    A    When you become the boss of a family, you got a tough job

    3    and you can't make everybody happy.

    4    Q    So that seat is the boss position?

    5    A    That's the boss's position.

    6    Q    If I could now direct your attention to page 54, please.

    7                Line one and two you stated, "That's why right now I

    8    think the best thing is put a moratorium."         Basciano says,

    9    "Absolutely."

   10                Line four you continue, "Yeah, you send word out

   11    with that?"

   12                And Basciano replies on line five, "It's done."

   13                What are you speaking about in that portion of the

   14    conversation?

   15    A    There should be no more killings.         No more making

   16    captains.    No more breaking captains, and no more making

   17    wiseguys for the Bonanno Family.

   18    Q    And when Basciano said "done," in response to your

   19    question, "You sent word out with that?"

   20                What did you understand him to mean?

   21    A    That he sent word out that it was done, they put a

   22    moratorium on everything.

   23    Q    If I could now direct your attention to lines ten and 11,

   24    you inquire, "How many guys we got to do?"

   25                When you state "We got two for this year."

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                            MASSINO/DIRECT/MERKL

    1                When you were asked, "How many guys we got to do?"

    2    What did you mean by that?

    3    A      I was referring to how many guys we got left to make in

    4    the Bonanno Family.      He said two.

    5    Q      And then lines 12 and 13 he says, "two" and he mentions,

    6    "And the guy up there in Canada."

    7                What did you understand him to mean by that?

    8    A      We had a guy die in Canada by the name of Frank Cutrone

    9    and we can replace natural deaths, so that gave us another

   10    one.

   11    Q      So you had three spots to fill?

   12    A      Three total.

   13    Q      If I could now direct your attention to page 55.

   14    Starting at lines three and four and continuing through the

   15    page, you mention 16 guys and talking about making guys.

   16                In general terms, what are you speaking about in

   17    this portion of the conversation?

   18    A      Vinny Basciano was telling me that they straightened out

   19    16 guys in the Bonanno Family.

   20    Q      If I could now direct your attention to lines ten through

   21    12, a few names are mentioned.        Line 11 Basciano states:      "I

   22    gave Joe C, Anthony Pipitone, and that Mike."

   23                What did you understand Basciano to mean by that?

   24    A      Joe Saunders is the captain in the Bonanno Family and

   25    both them guys became wiseguys in the Bonanno Family, and he

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                            MASSINO/DIRECT/MERKL

    1    placed both them guys with Joe Saunders, he was their captain.

    2    Q     Anthony Pipitone and Mike --

    3    A     Mike the Butcher, right.

    4    Q     If I could now direct your attention to line 21 and 22,

    5    Basciano stated:     "The Kid Allie, we have Bruno's cousin."

    6                Who did you understand him to be referring to when

    7    he mentioned the kid Allie?

    8    A     That was Bruno's cousin.       He become a wiseguy in the

    9    Bonanno Family.

   10    Q     If I could now direct your attention to the last passage,

   11    lines 27 through 30, Basciano mentions a few more names,

   12    starting with Dominick, on line 28, what did you -- who did

   13    you understand him to be referring to when he mentioned

   14    Dominick in this context?

   15    A     He's talking about Dominick Cali, that he made him a

   16    wiseguy in the Bonanno Family.

   17    Q     Anthony Aiello?

   18    A     He made him a wiseguy in the Bonanno Family.

   19    Q     And then he mentions a fellow Mark from New Jersey.

   20    A     Wiseguy in the Bonanno Family.

   21    Q     Do you know any of these men, Dominick, Aiello or Mark?

   22    A     I don't know none of them.

   23    Q     Then continuing on line 29 and 30, he mentions a Mike.

   24    Do you know that individual?

   25    A     No, I don't know him.

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                            MASSINO/DIRECT/MERKL

    1    Q     What did you understand Basciano to be discussing in

    2    reference to that Mike?

    3    A     That he became a wiseguy in the Bonanno Family.

    4    Q     And continuing on page 56 he mentions Nicky Santoro in

    5    the first line.     Who did you understand Basciano to be

    6    referring to when he mentioned Nicky Santoro?

    7    A     Nicky Santoro was a wiseguy in the Bonanno family.

    8    Q     At this point in early 2005, what position, if any, did

    9    he have in the Bonanno Family?

   10    A     Vinny Basciano made him a captain in the Bonanno Family.

   11    Q     Finally, in this passage, line two of page 56, Basciano

   12    mentions a Vito Badamo.       Do you know Vito Badamo?

   13    A     No, I don't.

   14    Q     What did you understand Basciano to be telling you about

   15    Vito Badamo?

   16    A     That they made him a wiseguy in the Bonanno Family, too.

   17    Q     If I could now direct your attention to line nine,

   18    Basciano mentions that I went to see Dom on it, do you know

   19    what Dom tells me?

   20                What did you understand Basciano to be referring to

   21    when he said he went to see Dom?

   22    A     He's talking about Choir Dom.       He's a captain in the

   23    Genovese family; he's on the Council.

   24    Q     And then in line 16 through 19 Basciano continues.           He

   25    says:   "I said, Dom, I said, listen to me.         My dear, dear

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                            MASSINO/DIRECT/MERKL

    1    friend is going to do Life, okay.        And he wasn't just for our

    2    Family, he was for everybody."

    3                Again, who did you understand Basciano to be

    4    referring to line 16 when he's mentioned Dom?

    5    A     Talking about Choir Dom, captain on the west side.

    6    Q     And when Basciano described my dear, dear friend, who did

    7    you understand him to be referring to?

    8    A     He's talking about me.

    9    Q     And then Basciano continues, "And he wasn't just for our

   10    Family, he was for everybody."

   11                What did you understand Basciano to mean by that?

   12    A     Vinny Basciano was telling Choir Dom that I was not only

   13    for our Family, I was for all five families.

   14    Q     Basciano continues on line 21 stating, "I said he was for

   15    this life."    What did you understand Basciano to mean by that?

   16    A     He's telling him that I'm for this life, La Cosa Nostra.

   17    Q     If I could now direct your attention to line 24, you

   18    mention "They wanted ten years, you know."          What did you mean

   19    by that?

   20    A     In a meeting we had in the year of 2000, we talked about

   21    making guys, what we were going to do, and they want to put a

   22    moratorium, somebody's coming home from prison, and they felt

   23    drugs, pot, anything, pills, whatever it is, let it be ten

   24    years to see if they go back to the same route.           I disagreed

   25    with it.    I said ten years is a long time.        If somebody did

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                            MASSINO/DIRECT/MERKL

    1    ten, they got to wait another ten years to become a friend of

    2    ours.   That's crazy.

    3                What do you recommend, Joe?       I said five years.      I

    4    went -- everyone sat there and agreed with me, and we put a

    5    five-year moratorium.

    6    Q     A five-year moratorium on what?

    7    A     Anybody come home from prison, they had to wait five

    8    years before they could become a friend of ours in our family,

    9    the Bonanno Family.

   10    Q     And that determination was reached when?

   11    A     Year 2000.

   12    Q     In what context?

   13    A     We had a meeting.     The four people, the other four

   14    families and myself; there was five of us at this meeting.

   15    Q     And that's the meeting you testified about yesterday?

   16    A     Yes, it is.

   17    Q     If I could now direct your attention to line 26, Basciano

   18    mentions John's people.       Who did you understand Basciano to be

   19    referring to?

   20    A     He's talking about John Gotti Senior, the boss of the

   21    Gambino Family.

   22    Q     And John's people is a reference to what, is your

   23    understanding?

   24    A     His family.

   25    Q     The Gambinos?

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                            MASSINO/DIRECT/MERKL

    1    A     Gambino Family.

    2    Q     If I could now direct your attention to page 57, lines 15

    3    through 23.    You mention again, they wanted to make ten years,

    4    you mentioned the last meeting in 2000.         Is this the same

    5    meeting you were just testifying about?

    6    A     Yes, it is.

    7    Q     And you identify a number of people.         You mentioned

    8    Pete's there, Larry's there.       Starting with Pete, who is Pete?

    9    A     Pete Gotti, he was the acting boss of the Gambino Family.

   10    Q     And you mentioned Larry, who is Larry?

   11    A     Skinny Larry, he was a captain on the panel with the

   12    Genovese family.

   13    Q     And you also mentioned Louie Bagels, who is Louie Bagels?

   14    A     Louie Bagels was the acting boss of the Lucchese family.

   15    Q     Then you mentioned Joe Waverly, who was Joe Waverly?

   16    A     Joe Waverly was the official consiglieri of the Columbo

   17    family.

   18    Q     And this passage where you're talking about ten years

   19    versus five years, is that in reference to the same issue you

   20    just testified about, about making guys after they come home

   21    from prison?

   22    A     Yes, it is.

   23    Q     Guys who were in jail for dealing drugs of some kind?

   24    A     Yes.

   25    Q     If I could now direct your attention to line 34, again,

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                            MASSINO/DIRECT/MERKL

    1    Basciano mentions John's people.        Just to reiterate, who did

    2    you understand him, Basciano, to be referring to?

    3    A     Talking about the Gambino Family.

    4    Q     Continuing on to page 58, Basciano states in lines two

    5    and three:    "And they thought they were going to get away with

    6    it with me."     He continues on lines five through seven:         "And

    7    they saw when they didn't get away with it with me, you know

    8    what, they realized they had a formidable opponent."

    9                In context, who did you understand the "they" to

   10    mean?

   11    A     The Gambino Family.

   12    Q     If I could now direct your attention to line 11, you

   13    mention an individual by the name of -- well, actually,

   14    starting with line ten, pardon me.        Basciano mentions an

   15    Arnold, who did you understand Basciano to be referring to?

   16    A     Arnold is the underboss of the Gambino Family.

   17    Q     Do you know his last name?

   18    A     No, I don't.

   19    Q     And line 11, you mention a JoJo, who are you referring

   20    to?

   21    A     JoJo Corozzo.     He's official consiglieri of the Gambino

   22    Family.

   23    Q     If I could now direct your attention to the next passage,

   24    Basciano states, starting at line 14 and 15:          "I don't blame

   25    him, but don't take the F-ing position."          He continues, on

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                            MASSINO/DIRECT/MERKL

    1    line 16 and 17:     "You can't be scared and take our position."

    2                What did you understand Basciano to mean by the term

    3    position in this context?

    4    A     He's talking about JoJo Corozzo, that he's the official

    5    consiglieri of the Gambino Family and he's scared and he

    6    shouldn't take a position.

    7    Q     A position, what does the word position mean in that --

    8    A     The position that he had, he was an official consiglieri

    9    of the Gambino Family, that he shouldn't take that position.

   10    Q     If I could now direct your attention to line 18, you

   11    mention a Sonny, who are you referring to when you mention

   12    Sonny?

   13    A     Talking about Sonny Franzese, he was a captain in the

   14    Columbo Family.

   15    Q     And did he later take another role?

   16    A     Yes, he did.

   17    Q     What was that?

   18    A     They made him the underboss of the Columbo family.

   19    Q     Is this the same Sonny Franzese that you testified about

   20    yesterday?

   21    A     Yes, he is.

   22    Q     If I could now direct your attention to page 59,

   23    continuing with your discussion with Basciano, line seven and

   24    eight you state:     "Yeah, he's a good man, he knows the life."

   25                What did you mean when you mentioned the term "the

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    1    life"?

    2    A     Sonny Franzese's been around a lot of years and knew

    3    about the underworld, knew it very good.          Very smart.

    4    Q     If I could now direct your attention to line nine,

    5    Basciano mentions a Tommy.       In this context who did you

    6    understand Basciano to be referring to?

    7    A     He's talking to me about a guy named Tommy Shots.           He's a

    8    captain in the Columbo Family; he was on the panel.

    9    Q     Do you know Tommy Shots' real name?

   10    A     Genova, I think his last name is.        Genova.

   11    Q     If I could now direct your attention to page 60, lines

   12    six and seven, Basciano mentions a Tony Megale.           Who did you

   13    understand Basciano to be referring to when he mentions Tony

   14    Megale?

   15    A     He's an underboss in the Gambino Family.

   16    Q     And then on line 13, you mention a Sal; who were you

   17    referring to?

   18    A     Talking about my brother-in-law, Sal Vitale.

   19    Q     And to your knowledge, was Sal ever a state trooper?

   20    A     No, he wasn't.

   21    Q     If I could now direct your attention to page 61 of line

   22    three, we'll play clip ten.

   23                (Audio played.)

   24    BY MS. MERKL:

   25    Q     Mr. Massino, if I could now direct your attention back to

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                            MASSINO/DIRECT/MERKL

    1    page 61, please.     Do you have the page?

    2    A     Yes.

    3    Q     Okay, page 61, line 23, you mention:         "You gotta service

    4    your guys."    What does the phrase "service guys" mean in

    5    organized crime?

    6    A     If you're a captain in any family and you got wiseguys

    7    under you, you got to service them.

    8    Q     Meaning what?

    9    A     If they got a problem, you got to go sit down for them.

   10    Anything.    Go talk to another family.       That's what you're

   11    there for.    That's what you're a captain for.

   12    Q     If I could now direct your attention to page 62, Basciano

   13    is speaking of somebody named Ronnie Mazzarella in lines

   14    eight, and then he continues.        Who is Ronnie Mazzarella?

   15    A     Ronnie Mazzarella is a wiseguy in the Bonanno Family.

   16    Q     Basciano at lines ten and 11 states:         "He got there

   17    because of us."     What did you understand Basciano to mean by

   18    that?

   19    A     That he had a great business and because he was a wiseguy

   20    in the Bonanno Family, he got a lot of business.

   21    Q     If I could now direct your attention to line 17 through

   22    19.   Line 17, Basciano mentions a Dominick in response to your

   23    question of who's on Bath Avenue.        What did you understand

   24    Basciano to be referring to when he mentioned Dominick?

   25    A     There was an old timer on Bath Avenue by the name of

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                            MASSINO/DIRECT/MERKL

    1    Dominick.    He was a wiseguy in the Bonanno Family.

    2    Q     Is that a different Dominick than the other Dominick that

    3    you've been testifying about?

    4    A     Absolutely a different Dominick.

    5    Q     If I can now direct your attention to, staying on line

    6    17, Basciano mentions Junior.        Who did you understand Basciano

    7    to be referring to?

    8    A     Talking about Joe Chilly.       He's a captain in the Bonanno

    9    Family.

   10    Q     And if I could now direct your attention to Johnny

   11    Nassau, who is Johnny Nassau?

   12    A     Johnny Nassau was a wiseguy in the Bonanno Family.

   13    Q     In whose crew was Johnny Nassau?

   14    A     Joe Chilly.

   15    Q     If I could now direct your attention to page 63, lines

   16    ten and 11, Basciano mentioned:        "The Post he still has is

   17    Vinny Bionics there.      What did you understand Basciano to mean

   18    by that?

   19    A     We got the New York Post and we got a guy by the name of

   20    Vinny Bionic there.      He's a wiseguy in the Bonanno Family.

   21    Q     What does it mean for the Bonanno Family to have the New

   22    York Post?

   23    A     We can get people jobs there.

   24    Q     If I could now direct your attention to page 64, lines

   25    eight and nine, Basciano mentions:        "You see, we got the

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                            MASSINO/DIRECT/MERKL

    1    laborers' union."     What did you understand Basciano to mean by

    2    that?

    3    A     Talking about a union in the Bronx that belonged to the

    4    Bonanno Family and the Gambino Family.

    5    Q     The same union you testified about yesterday?

    6    A     Yes, it is.

    7    Q     If I could now direct your attention to page 66 on line

    8    ten and then continuing on lines 11, 14, there was a

    9    discussion about somebody named Petey Box.          Who is Petey Box?

   10    A     Petey Box was a wiseguy in the Bonanno Family.

   11    Q     And do you know Petey Box's real name?

   12    A     No, I don't.

   13    Q     If I could now direct your attention to line 23, you

   14    mentioned:    "That's like Dominick beat up Gino."         In this

   15    portion of the conversation which Dominick are we speaking of?

   16    A     Dominick Cali.

   17    Q     And who is Gino?

   18    A     He's a wiseguy in the Bonanno Family.

   19    Q     Prior to this conversation, had you learned about

   20    Dominick beating up Gino?

   21    A     Yes, I had.

   22    Q     Approximately when did you learn about that?

   23    A     When I was in MDC Brooklyn, I was in jail.

   24    Q     What is the rule in organized crime with regard to

   25    raising a hand to a member of organized crime?

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                            MASSINO/DIRECT/MERKL

    1    A     You could die for that.      I never heard anybody beat up

    2    another wiseguy.     Very rare.

    3    Q     If I could now direct your attention to page 67, the

    4    conversation regarding Gino continues on line two and the

    5    conversation continues from there.        Direct your attention to

    6    line 17 through 20, Basciano states:         "I'm a tough guy, you're

    7    a tough guy.     We brought a sucker into this life, but we don't

    8    belong to the life because a guy is going to make."

    9                What did you understand Basciano to mean when he

   10    said we brought a sucker into this life?

   11    A     He's talking about Gino, a wise guy in the Bonanno

   12    Family.

   13    Q     What did you understand him to mean by a sucker?

   14    A     That he's a sucker, that he doesn't belong in "The Life."

   15    Q     If I could now direct your attention to the bottom of the

   16    page, page 67, lines 30 and 31.        Basciano mentions a Perry,

   17    who did you understand Basciano to be referring to?

   18    A     Perry is a wiseguy in the Bonanno Family.

   19    Q     If I could now direct your attention to page 69, line 21,

   20    Basciano mentions an individual by the name of Ciro.            Who did

   21    you understand Basciano to be referring to?

   22    A     Ciro is an acting captain for the Genovese family.

   23    Q     Then line 23, Basciano mentions a Zookie.          Who did you

   24    understand him to be referring to as Zookie?

   25    A     Zookie is a wiseguy in the Genovese family.

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                            MASSINO/DIRECT/MERKL

    1    Q     If I could now direct your attention to the top of

    2    page 70, the lengthy passage starting at line one.           Basciano

    3    mentions:    "Zookie sent word that be care -- Matty The Horse,

    4    be careful."

    5                Who did you understand Basciano to be referring to

    6    when he mentioned Matty the Horse?

    7    A     Matty The Horse is a captain in the Genovese family.

    8    Q     And then Basciano continues:       "I met with Matty The Horse

    9    and Dom."    Who did you understand him to be referring to when

   10    he mentions Dom in this context?

   11    A     Choir Dom, captain in the Genovese family.

   12    Q     Basciano continues:      "Be careful with uh, Perry.       Listen

   13    to me, do you have proof?       Do you have proof?     Because they

   14    wanted Perry to be, be a rat.        You wanna know why?     So they

   15    took over the feast."

   16                "I said, 'Ciro, do me a favor.        Stop circulating

   17    this guy's name as a rat.       I checked it out.     Until you have

   18    proof, let me know'."

   19                What did you understand Basciano to be saying to you

   20    in this section of the conversation?

   21    A     They're trying to say Perry is a rat and was

   22    misunderstood, there was another guy that was a cooperator

   23    that had restaurants in Staten Island, Frankie Thomasino.

   24    Q     And who was trying to say that Perry was a rat?

   25    A     The west side was trying to say Perry was a rat.

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                            MASSINO/DIRECT/MERKL

    1    Q     And when Basciano stated "You want to know why?           So they

    2    took over the Feast," what did you understand Basciano to mean

    3    by that?

    4    A     Perry at that time was the president of the Feast, San

    5    Gennaro's, and he's a wiseguy in the Bonanno Family.

    6    Q     When Basciano stated:      "They want, they wanted Perry to

    7    be a rat, you know why.       So they took over the Feast."       What

    8    did you understand Basciano to mean?

    9    A     If he was a rat, that we would kill him and they would

   10    have the Feast, they would take the Feast over.

   11    Q     They being who?

   12    A     Genovese family.

   13    Q     Yesterday you kept -- I'm sorry, actually, it was, I

   14    believe Tuesday, you testified you were receiving money in

   15    connection with the San Gennaro Feast, was that in connection

   16    with this same Perry?

   17    A     Yes, it is.

   18    Q     Now I'd like to direct your attention, please, to

   19    page 72.    Directing your attention to lines seven and eight,

   20    you mention:     "That was my concern with this Joey Gambino."

   21                What did you mean by that?

   22    A     Talking about Joey Gambino being a coke head.

   23    Q     When you say that was my concern, what did you mean by

   24    that?

   25    A     That was my concern, that if he was involved with the

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                            MASSINO/DIRECT/MERKL

    1    Randy Pizzolo murder, that he would talk about the murder.

    2    Q     You continue on line ten to mention Randy, who were you

    3    referring to?

    4    A     Randy Pizzolo.

    5    Q     Now direct your attention to lines 13 and 14, Basciano

    6    states:    "Listen, as far as I know, as far as this guy knows

    7    right here, he told."      Who did you understand Basciano to be

    8    referring to when he said "this guy, he told"?

    9    A     Meaning himself, Vinny Basciano.

   10    Q     You continue:     "In other words, you gave it to Dominick

   11    to handle, and that was it."       What were you referring to when

   12    you said "it"?

   13    A     Dominick Cali.

   14    Q     No, the word "it" there, what was --

   15    A     The murder, murder of Randy Pizzolo.

   16    Q     And Dominick is?

   17    A     Dominick Cali, who is the captain in the Bonanno Family.

   18    Q     He continues:     "Well, if you had to guess, Anthony

   19    Aiello."    What did you understand Basciano to mean by that?

   20    A     Anthony Aiello must have been the shooter killing Randy

   21    Pizzolo, he was a wiseguy in the Bonanno Family.

   22    Q     If I could now direct your attention to lines 24 and 25,

   23    Basciano continues:      "But you know, it's a guess at this

   24    point.    I'm guessing, I have no idea."

   25                What did you understand Basciano to mean by that?

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                            MASSINO/DIRECT/MERKL

    1    A     He's just guessing, he has no idea who did the shooting.

    2    Q     If I could now direct your attention to page 73, we'll

    3    continue with the final clip, clip 11.         Starting at the top of

    4    the page.

    5                (Audio played.)

    6                (Audio stopped.)

    7    BY MS. MERKL:     :

    8    Q     If I could direct your attention, please, Mr. Massino,

    9    back to page 73.      Starting at lines five and six, Basciano

   10    mentions:    "I think that's what happened with Michael and

   11    Dominick."    What did you understand Basciano to be referring

   12    to in that portion of the conversation?

   13    A     That they had a falling out.

   14    Q     They, being Michael and Dominick?

   15    A     Michael The Nose and Dominick Cali.

   16    Q     If I could now direct your attention to lines 19 and 20,

   17    you ask:    "Let me ask a question.      This happened after Randy

   18    got whacked or before?"       What were you referring to when you

   19    said "this happened"?

   20    A     The incident with Dominick and Michael Nose, did it

   21    happen before Randy got killed or after.          I was asking the

   22    question.

   23    Q     And then Basciano states:       "I think it was after."

   24                What did you understand him to mean?

   25    A     After Randy got killed, they had a falling out, Michael

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                            MASSINO/DIRECT/MERKL

    1    Nose and Dominick Cali.

    2    Q     If I could now direct your attention to page 74, lines

    3    seven through nine, you state:        "He feels you's clipped him

    4    and now he don't trust you.       Maybe he's hallucinating you're

    5    going to clip him."

    6                There is a lot of hes and hims in this sentence.

    7    Start with the very first he, who were you referring to when

    8    you said "he feels you's clipped him," who is the "he" there?

    9    A     Michael Nose, captain of the Bonanno Family.

   10    Q     And when you say "he feels you's," who is the "you"?

   11    A     Dominick and Vinny Basciano.

   12    Q     When you say "clipped him," who is the "him"?

   13    A     Talking about Randy Pizzolo getting clipped.

   14    Q     And now "he," who is the "he," there?

   15    A     Michael Nose.

   16    Q     "He don't trust you.      Maybe he's hallucinating you're

   17    going to clip him."      Who is that "he's hallucinating"?

   18    A     Michael Nose, acting boss in the Bonanno family.

   19    Q     When Basciano said "could be," what did you understand

   20    him to mean?

   21    A     That what I was telling him, he was agreeing with me,

   22    could be, that's why he ain't listening to Dominick Cali.

   23    Q     If I could now direct your attention to line 20, you

   24    mention a Dom.     In this portion of the conversation who are

   25    you referring to by the term Dom?

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                            MASSINO/DIRECT/MERKL

    1    A     Dominick Cali.

    2    Q     If I could now direct your attention to lines 27 and 28,

    3    Basciano states:     "Before -- I'm telling you, before I left,

    4    Michael, I swear."      It continues on lines two and three on

    5    page 75:    "Michael didn't make a move without me seeing him."

    6                What did you understand Basciano to mean by that?

    7    A     He's talking about Michael Nose.        Michael Nose wouldn't

    8    make one move without touching base with Vinny Basciano, the

    9    acting boss of the Bonanno Family.

   10    Q     If I could now direct your attention to the middle of

   11    page 75, you state:      "It could be Randy."      Basciano says:     "It

   12    could be."

   13                What -- what are you speaking about in this portion

   14    of the conversation?

   15    A     Maybe that's why he's not listening, he knows you clipped

   16    Randy or he surmises that you clipped Randy.

   17    Q     And when you say "Figures next you're gonna clip him,"

   18    who is the him in that portion of the conversation?            Who are

   19    you speaking about?

   20    A     I'm talking about Michael Nose, he was worried about he

   21    might get clipped.

   22    Q     If I could now direct your attention to page 77, top of

   23    the page, line 1, you state:       "Like the other day you say

   24    don't tell Joe C about Randy."

   25                Who were you referring to when you mention Joe C?

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    1    A     Joe Saunders, Sr., he's captain in the Bonanno Family.

    2    Q     And Randy, who is that?

    3    A     Randy Pizzolo.

    4    Q     If I could now direct your attention, please, to page 80.

    5    Actually, I'm sorry, just to give a little context.

    6    There's -- on page 78 you're speaking about a captain and a

    7    lieutenant and a mattress.       In general terms, what are you

    8    speaking about in that portion of the conversation?

    9    A     I'm talking about the captain and I'm talking about the

   10    lieutenant at the Bureau of Prisons.

   11    Q     The -- the people who work in the jail?

   12    A     Yeah.   Federal, yeah.

   13    Q     Are these individuals involved in organized crime?           This

   14    is just about --

   15    A     No, they work for the Bureau of Prison.

   16    Q     If I could now direct your attention, please, to page 80.

   17    Line 5 you state:     "They're comin' to get us."

   18                What was happening when you made that statement,

   19    while you were making this recording?

   20    A     They were coming to get us to put us back in our cell.

   21    We had our rec, it was over.       An hour or whatever it was.

   22    Q     And who is "they"?

   23    A     The cops.    Correction officers.

   24    Q     That was actually a question I was going ask you.           When

   25    you and Basciano mentioned cops in the context of the

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    1    facility, who were you referring to?

    2    A     Correction officers.

    3    Q     If I could now direct your attention to line 19 on

    4    page 80, Basciano states:       "My son is comin' Monday, okay?

    5    What I wanna do with your okay is tell my son in his ear,

    6    alright [sic], to tell Dominick to go see Michael."

    7                What did you understand Basciano to be referring to

    8    in that portion of the conversation?

    9    A     He's talking about Dominick Cicale which is a captain in

   10    the Bonanno Family, to go see Michael Nose which is the acting

   11    boss of the Bonanno Family.

   12    Q     When Basciano mentions his son, what did you understand

   13    Basciano to be referring to?

   14    A     He was going to get a message to his son on a visit.

   15    Q     Mr. Massino, based on your conversations with Basciano at

   16    the codefendant meeting on January 3rd and on January 7th, the

   17    recordings that we just went over, did you arrive at an

   18    understanding of who killed Randy Pizzolo?

   19    A     Absolutely.

   20    Q     What was your understanding?

   21    A     That Vinny Basciano gave the order to clip Randy Pizzolo.

   22                MS. MERKL:    Thank you, Mr. Massino.      I have nothing

   23    further at this time.

   24                THE WITNESS:    Thank you.

   25                THE COURT:    All right, cross-examination, please.

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                            MASSINO/DIRECT/MERKL

    1    Mr. Jasper?

    2    CROSSE EXAMINATION

    3    BY MR. JASPER:

    4    Q     Mr. Massino, you were involved in organized crime for

    5    about 33 years.     Is that correct?

    6    A     That's correct.

    7    Q     And you were an official captain for about how long?

    8    A     I was official captain from '79 to '84.

    9    Q     And you were an official boss for how long?

   10    A     Eleven years.

   11    Q     And you had a mentor of the name by Rusty Rastelli?

   12    A     Yes, I have.

   13    Q     And you learned from him?

   14    A     Yes, I did.

   15    Q     You were close to him?

   16    A     Very close.

   17    Q     You called him Unc?

   18    A     I called him Unc.

   19    Q     He called you nephew?

   20    A     Correct.

   21    Q     You learned a lot about organized crime?

   22    A     Yes, I did.

   23    Q     Learned how to manage it?

   24    A     Yes, I did.

   25    Q     Learned how to manage people?

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    1    A     Yes, I did.

    2    Q     Learned how to, when necessary, instill fear.          Fair

    3    statement?

    4    A     Yes.

    5    Q     To instill respect, you learned that as well?

    6    A     Yes.

    7    Q     And you were known as The Last Godfather?

    8    A     Basically.

    9    Q     The Last Don?

   10    A     Correct.

   11    Q     And the reason for that was because the head of the other

   12    five families had been incarcerated.         Correct?

   13    A     Correct.

   14    Q     Head of the Gambinos in jail.       Right?

   15    A     Correct.

   16    Q     Facing life or doing life?

   17    A     Correct.

   18    Q     Same for the head of the Genovese?

   19    A     Correct.

   20    Q     And the Luccheses?

   21    A     Correct.

   22    Q     And the Colombos?

   23    A     Correct.

   24    Q     So that you were known on the street as the last official

   25    boss who was clever and cunning enough to evade law

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    1    enforcement.     Right?

    2                 MS. MERKL:   Objection.

    3                 THE COURT:   You may answer.

    4    A     I won't say I was cunning enough, I was very surveillance

    5    conscious.

    6    Q     You were not only conscious of surveillance, you were

    7    conscious of various law enforcement techniques.           Correct?

    8    A     Correct.

    9    Q     You made a study of it, in fact, wouldn't you say?

   10    A     Yes.

   11    Q     Talked about walk talks.       Right?

   12    A     Yes.

   13    Q     Talked about the range in which the radio frequencies

   14    might be able to pick up conversations.         Right?

   15    A     Correct.

   16    Q     You talked about surveillance in driving, watching

   17    mirrors.     Right?

   18    A     Correct.

   19    Q     You were on your game, as they say.         Right?

   20    A     I was on my toes, correct.

   21    Q     And you were proud of that?

   22    A     Yes, I was.

   23    Q     And you were proud of the fact that you could handle

   24    yourself on the street.       Right?

   25    A     Correct.

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                            MASSINO/CROSS/JASPER

    1    Q     In so many words, you were one of the -- you were the

    2    epitome of a tough guy.       Correct?

    3    A     Correct.

    4    Q     You walked into a room, people knew that someone powerful

    5    was there.    Is that a fair statement, sir?

    6    A     That's a --

    7                MS. MERKL:    Objection, calls for speculation.

    8                THE COURT:    Sustained.

    9    Q     When you walked into a room you knew you were powerful.

   10    Correct?

   11    A     Correct.

   12    Q     And you -- and you knew in your life what could happen if

   13    someone tried to take over a family?

   14    A     Correct.

   15    Q     An entire family, that was serious business.          Wasn't it?

   16    A     Correct.

   17    Q     You know what happened to Lilo Galante.         Right?

   18    A     Yes, I do.

   19    Q     He tried to mess with Rusty and he paid for it.           Right?

   20    A     Correct.

   21    Q     At Joe and Mary's restaurant.       Right?

   22    A     Correct.

   23    Q     Got popped with a hit team and wound up with a cigar in

   24    his mouth on the front pages.        Right?

   25    A     Correct.

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                            MASSINO/CROSS/JASPER

    1    Q     We'll talk about it a little bit later on, but the three

    2    captains, three individuals who died in one night.           Right?

    3    A     Correct.

    4    Q     Now, you tell us that they were trying to make a move.

    5    Correct?

    6    A     Correct.

    7    Q     And they paid for that, didn't they?

    8    A     Correct.

    9    Q     With their lives?

   10    A     Correct.

   11    Q     And they were trying to assume power?

   12    A     That's correct.

   13    Q     That's what you said.      Right?

   14    A     Correct.

   15    Q     And with all of your experience, and all of your

   16    knowledge about organized crime, you're telling this jury that

   17    Vincent Basciano made himself the acting boss of your family.

   18    Correct?

   19    A     That's correct.

   20    Q     And he made himself the acting boss of your family over

   21    your objection, sir?

   22    A     I didn't object.

   23    Q     You did not object?

   24    A     No.

   25    Q     And you did not object because it served your purposes to

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                            MASSINO/CROSS/JASPER

    1    have him as the acting boss.       Right?

    2    A     No.

    3    Q     It did not serve your purposes?

    4    A     No.

    5    Q     In what way did it not serve your purposes?

    6    A     If I would have took him down, alls I would be doing is

    7    confusing the family, so I left it alone.

    8    Q     Confusing the family.      You didn't want to confuse the

    9    borgata.     Right?

   10    A     Correct.

   11    Q     And you saw when the government put up on the chart all

   12    of these members of the Bonanno Family?

   13    A     Yes.

   14    Q     You saw -- you saw --

   15    A     Yes.

   16    Q     -- those folks.     Right?

   17                 And can you think of anybody on that chart that is

   18    now out on the street walking around?

   19    A     I'd have to look at it.

   20    Q     Would it be fair to say, it's not many, if any, at all.

   21    Fair statement?

   22    A     That's a fair statement.

   23    Q     Now, you were arrested January 9th, 2003?

   24    A     Correct.

   25    Q     And you were arrested with your brother-in-law, Sal?

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                            MASSINO/CROSS/JASPER

    1    A     Correct.

    2    Q     Good Looking Sal Vitale?

    3    A     Correct.

    4    Q     Your wife's brother.      Correct?

    5    A     Correct.

    6    Q     And one of the things that you said to some of the

    7    agents, the arresting agents was where was your brother Sal.

    8    Do you remember that?

    9    A     I asked him -- I asked the FBI agent, "Did my

   10    brother-in-law get arrested?"        They said, "Yes."

   11    Q     And it didn't take your brother-in-law long to begin to

   12    cooperate with the federal government.         Right?

   13    A     That's correct.

   14    Q     And that was January 2003?

   15    A     Correct.

   16    Q     And then about a year later in January 2004, there was

   17    another very widespread arrest of people in the Bonanno

   18    Family.    Correct?

   19    A     Correct.

   20    Q     And you know what that was about.        Right?

   21    A     Correct.

   22    Q     Big Lou had wired up on people for several months?

   23    A     Correct.

   24    Q     Big Lou was James Tartaglione.        Right?

   25    A     Correct.

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                            MASSINO/CROSS/JASPER

    1    Q     One of your handpicked top guys?

    2    A     Correct.

    3    Q     And when you were arrested January 9th, 2003, had you

    4    made -- taken measures to leave a group of people who would

    5    run the family if were you arrested?

    6    A     Yes, I did.

    7    Q     That was Tony Urso?

    8    A     Tony Urso.

    9    Q     And who were the others?

   10    A     Joe Saunders.

   11    Q     Joe Saunders.     And who else?

   12    A     And Petey Rabbit.

   13    Q     So in the span of one year or 12 months or so, you're

   14    taken down, right, arrested?

   15    A     Right.

   16    Q     Sal Vitale your underboss is arrested.         Right?

   17    A     Correct.

   18    Q     And the succeeding high ranking officials of the Bonanno

   19    Family are taken down.      Right?

   20    A     Correct.

   21    Q     There's already confusion in the Bonanno Family.           Right?

   22    A     Correct.

   23    Q     Confusion, top leadership being taken out left and right.

   24    Correct?

   25    A     Correct.

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                             MASSINO/CROSS/JASPER

    1    Q      And one of the problems that you had was in trying to

    2    communicate with the outside world.         Right?

    3    A      Not really.

    4    Q      It wasn't a problem?

    5    A      No, not at all.

    6    Q      You could get messages out fairly easily?

    7    A      If I had to, yes.

    8    Q      And you did have to.     Right?

    9    A      Sometimes.

   10    Q      Sometimes?

   11    A      Yes.

   12    Q      Well, you were still the official boss.        Right?

   13    A      Correct.

   14    Q      Now, you told us, I think the first day that as the

   15    official boss there was nobody who was ranking higher than

   16    you.    Is that right?

   17    A      That's right.

   18    Q      Nobody above official boss?

   19    A      That's the highest you can go.

   20    Q      Higher than an acting boss.       Right?

   21    A      Correct.

   22    Q      And one of the things that you wanted to do while you

   23    were arrested early on was to find out what was going on,

   24    keeping in touch with your people.         Right?

   25    A      Correct.

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                             MASSINO/CROSS/JASPER

    1    Q      Because you still felt that you -- there was no doubt in

    2    your mind that you were the official boss of the family.

    3    Right?

    4    A      That's correct.

    5    Q      And there was no doubt in anybody else's mind either.

    6    Correct?

    7    A      Correct.

    8    Q      Now, you said, or I think you said, it was fairly easy to

    9    communicate.      You had several sources of ways in which to

   10    communicate.      Right?

   11    A      Correct.

   12    Q      You had a lawyer who was being used, his name was Tommy

   13    Lee?

   14    A      That's correct.

   15    Q      And he was carrying messages back and forth to the

   16    street.    Right?

   17    A      Correct.

   18    Q      And you also had an investigator, I think you told us,

   19    Vic Juliano.      Is that so?

   20    A      That's so.

   21    Q      And you also had -- you also had your wife visiting you.

   22    Correct?

   23    A      Correct.

   24    Q      And your daughters.      Right?

   25    A      Correct.

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                            MASSINO/CROSS/JASPER

    1    Q     And you also were on a floor with Joe C.         Joe Cammarano.

    2    Right?

    3    A     Right.

    4    Q     Joe Saunders.     Right?

    5    A     Correct.

    6    Q     And you still had ranking authority over him as well.

    7    Right.

    8    A     I was his boss.     Correct.

    9    Q     And Joe Saunders had a son who was a wiseguy.          Right?

   10    A     Two sons.

   11    Q     Two sons who were wiseguys.       Dino.   Right?

   12    A     Yes.

   13    Q     And Joe C, Jr.     Correct?

   14    A     Correct.

   15    Q     And that was yet another source or way of you getting

   16    information.     Isn't that so?

   17    A     Yes.

   18    Q     So you got Tommy Lee, you got the Saunders folks, you

   19    have your wife and your daughters.        Correct?

   20    A     Correct.

   21    Q     You also had someone at your restaurant, Casa Blanca,

   22    Alfred who was a very important part of your -- your life.

   23    Right?

   24    A     He was my partner in the business.

   25    Q     He was your partner in the business.

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                            MASSINO/CROSS/JASPER

    1                He was also a made guy.      Right?

    2    A     Correct.

    3    Q     So not only was he your business partner, but he was

    4    important as far as the criminal enterprise as well.            Right?

    5    A     Correct.

    6    Q     And Alfred was a very critical source of information in

    7    terms of what was going on in the family.          Right?

    8    A     Not really.

    9    Q     Well, people knew how to talk to -- that they could -- if

   10    they needed to get a message to you, could they talk to

   11    Alfred?

   12    A     Correct.

   13    Q     And Alfred could give it to any one of those sources that

   14    were coming to see you to communicate what was going on.

   15    Right?

   16    A     Correct.

   17    Q     Now, on July 30th of 2004, that was a big day in your

   18    life, wasn't it, sir?

   19    A     Yes, it was.

   20    Q     And you know what happened that day, don't you?

   21    A     Yes, I do.

   22    Q     You were convicted of seven murders?

   23    A     Correct.

   24    Q     And you've always, Mr. Massino, been a guy who always

   25    tried to stay on your toes.       Right?

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    1    A     Correct.

    2    Q     Tried to stay ahead of the game.        Right?

    3    A     Correct.

    4    Q     Tried to always know what was happening, keep an eye on

    5    what folks at this table were doing.         When you were out on the

    6    street, that is.     Right?

    7                 MS. MERKL:   Objection to "this table."

    8                 THE COURT:   Sustained.

    9    Q     You were always aware and conscious of the government.

   10    Right?

   11    A     Correct.

   12    Q     And all of its various forms of manifestations.           Correct?

   13    A     Correct.

   14    Q     And what happened that day was as soon as the door that

   15    the jury comes in and out of, you decided to make a very

   16    critical move.     Right, sir?

   17    A     Yes.

   18    Q     What you decided to do was to let someone know that you

   19    wanted to have a talk with the government.          Right?

   20    A     Right.

   21    Q     And you also wanted it known that you wanted to have an

   22    attorney appointed.       Right?

   23    A     Correct.

   24    Q     You didn't want just any attorney, you wanted something

   25    that is known -- well, you wanted shadow counsel appointed.

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    1    Correct?

    2    A     That's fair to say.

    3    Q     In fact, you used those words that you would like to have

    4    shadow counsel appointed.       Is that right, sir?

    5    A     I never used them words.

    6    Q     You never used the words "shadow counsel"?

    7    A     That's correct.

    8    Q     You sure about that?

    9    A     Positive.

   10    Q     No question in your mind?

   11    A     I don't think so.     Not that I can recall.

   12                MR. JASPER:    Your Honor, could we have a brief

   13    sidebar?

   14                THE COURT:    Just go ahead.

   15                MR. JASPER:    Your Honor, could I have a

   16    conversation, a brief moment with the government?

   17                THE COURT:    Sure.

   18                (Pause.)

   19    Q     Well, in any event, sir, you know what shadow counsel is,

   20    don't you?

   21    A     Yes, I do.

   22    Q     Because as the official boss of the Bonanno Family,

   23    you've heard it used in connection with people who want to

   24    cooperate.    Right?

   25    A     No, I never heard that before.

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                              MASSINO/CROSS/JASPER

    1    Q     No?

    2    A     No.

    3    Q     But you've heard of shadow counsel?

    4    A     No.

    5    Q     You never heard of shadow counsel?

    6    A     No, I never heard of shadow counsel.

    7    Q     Well, you wanted an attorney appointed who would not let

    8    their presence be known to the other attorneys that you had

    9    representing you.       Isn't that so?

   10    A     Correct.

   11    Q     Now, there was a reason for that.        Right?

   12    A     Correct.

   13    Q     And the reason was you wanted to keep your cooperation a

   14    secret.     Right?

   15    A     Correct.

   16    Q     And you wanted to keep it a secret from your own

   17    attorneys.     Right?

   18    A     Correct.

   19    Q     Now, when that jury verdict came down, that wasn't the

   20    first time that you had decided that you wanted to cooperate.

   21    You had thought about it.       Isn't that so, sir?

   22    A     Correct.

   23    Q     You had thought about it for a long time.          Right?

   24    A     No.

   25    Q     You hadn't?

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    1    A     Not a long time, not at all.

    2    Q     How long had you thought about it, sir?

    3    A     Four or five months.

    4    Q     Four or five months you had been thinking about

    5    cooperation?

    6    A     Correct.

    7    Q     Now, your trial back in 2004, it actually started around

    8    February of 2004.     Isn't that correct?

    9    A     No, it isn't.

   10    Q     When did it start?

   11    A     I believe it started in April.

   12    Q     In April.

   13                And so shortly after your trial had started, you

   14    were already thinking of cooperating.         Right?

   15    A     No, I wasn't.

   16    Q     Well, how soon after your trial started had Joe Massino

   17    began to think about cooperating?

   18    A     When I got convicted.

   19    Q     When you got convicted?

   20    A     Correct.

   21    Q     That was July 30th?

   22    A     July 30th.

   23    Q     You had not been thinking about it before?

   24    A     Prior, before I was thinking about cooperate.

   25    Q     Well, prior to your conviction, how long had you been

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                            MASSINO/CROSS/JASPER

    1    thinking about it?      Was that the four-month period that you

    2    just spoke about?

    3    A     I thought about it and then I didn't think about it.

    4    Q     You went back and forth on it?

    5    A     Correct.

    6    Q     But in the meantime you got what is known as discovery,

    7    right, for your case?

    8    A     Correct.

    9    Q     Discovery is -- you had binders and binders and binders

   10    of documents.     Right?

   11    A     Correct.

   12    Q     And statements of witnesses.       Right?

   13    A     Correct.

   14    Q     Many of the people who testified against you were your

   15    closest confidantes.       Right?

   16    A     Correct.

   17    Q     Including your brother-in-law?

   18    A     Correct.

   19    Q     Who you knew from about the age of 15?

   20    A     Eight years old.

   21    Q     Eight years old?

   22    A     He was eight, yes.

   23    Q     He was eight and how old were you?

   24    A     I'm about five years older than him.

   25    Q     And you spent a lot of time growing up with your

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                            MASSINO/CROSS/JASPER

    1    brother-in-law?

    2    A     Not really.

    3    Q     Well, you began to spend more time with him after you

    4    became a part of his family.       Right?

    5    A     I would see him when we would go eat there on a Sunday.

    6    Q     He testified against you?

    7    A     Correct.

    8    Q     Frankie Coppa, another one of your top guys, testified

    9    against you.     Right?

   10    A     Correct.

   11    Q     He was a captain also?

   12    A     Captain in the Bonanno Family.

   13    Q     Frankie Lino?

   14    A     Correct.    He was a --

   15    Q     Top guy.

   16                Richie Cantarella?

   17    A     He was a captain too.

   18    Q     And one of the people who testified against you who

   19    really -- well, it hurt somewhat inside was Big --

   20                MS. MERKL:    Objection.

   21                THE COURT:    I'm sorry, what's the objection?

   22                MS. MERKL:    Your Honor, he's asking for a reaction

   23    to a witness's testimony at his prior trial.

   24                MR. JASPER:    His process, Judge.

   25                THE COURT:    Ask your question again.

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                            MASSINO/CROSS/JASPER

    1    Q     Big Lou was a very close dear friend of yours.           Correct?

    2    A     Yes, he was.

    3    Q     And to see him on the witness stand had an effect on you.

    4    Did it not?

    5    A     Yes, it did.

    6    Q     And all the other people were close as well.          Right?

    7    A     Correct.

    8    Q     More or less?

    9    A     That's right.

   10    Q     And so when you saw this -- these witnesses who were

   11    close to you taking the witness stand at some point, you began

   12    to seriously say, I got to figure out what I'm going to do

   13    here.   Is that a fair statement, sir?

   14    A     No, not at all.

   15                (Continued on the next page.)

   16

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                            MASSINO/CROSS/JASPER

    1    CROSS-EXAMINATION (Cont'd)

    2    BY MR. JASPER:

    3    Q     It's not a fair statement?

    4    A     No.

    5    Q     Well, in any event, you decided to cooperate?

    6    A     Correct.

    7    Q     Now, shortly after telling a marshal that you wanted to

    8    cooperate, you had a meeting with the United States

    9    representatives of the United States Attorney's Office, isn't

   10    that so?

   11    A     When?

   12    Q     Well, August 2nd, 2004, does that sound vaguely familiar?

   13    A     Yes.

   14    Q     And you had about -- well, let me back up for a minute.

   15                 The meeting that you had with the government, that's

   16    called a proffer session, right?

   17    A     Correct.

   18    Q     Now, in a proffer session, you sign a letter agreement

   19    that sets forth conditions for that particular meeting, isn't

   20    that so?

   21    A     You mean who was there?

   22    Q     Well, yes, people who were there, but aren't there some

   23    rules that control that proffer session, that meeting?

   24    A     As far as what?

   25    Q     Well, what you say could be used against you, correct?

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                            MASSINO/CROSS/JASPER

    1    A     Correct.

    2    Q     You were advised of that before the proffer session even

    3    started, right?

    4    A     Correct.

    5                MS. MERKL:    Your Honor, we object to this line of

    6    inquiry.    If he wants to refresh his recollection or walk

    7    through he's getting at --

    8                THE COURT:    Well --

    9    Q     Well, the attorney that was appointed to represent you,

   10    you had an attorney named Edward McDonald?

   11    A     I had a few attorneys.

   12    Q     You had more than one, right?

   13    A     Correct.

   14                THE COURT:    Can we get -- I'm sorry.

   15                Can we get a time frame for these attorneys so that

   16    it's clear when they represented the witness?

   17    A     Well --

   18    Q     Mr. McDonald was your attorney, your secret attorney, an

   19    attorney you didn't want to have other people know about, is

   20    that correct?

   21    A     Correct.

   22    Q     And he represented you at these proffer sessions,

   23    correct?

   24    A     He was one of the lawyers, correct?

   25    Q     He was one early on, right?

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                            MASSINO/CROSS/JASPER

    1    A     Correct.

    2    Q     And when you first realized that Mr. McDonald had been,

    3    was going to be your attorney, I think you, did you say to him

    4    that this must be my lucky day?

    5                MS. MERKL:    Objection to conversations with counsel.

    6                THE COURT:    Sustained.

    7    Q     Well, when you realized that Mr. McDonald was your

    8    attorney, you were quite pleased, is that a fair statement?

    9    A     Yes, it is.

   10    Q     And the reason you were quite pleased is because you knew

   11    that Mr. McDonald was a former federal prosecutor, correct?

   12    A     Correct.

   13    Q     And you thought that that might bode well in terms of

   14    your negotiations with the government, right?

   15    A     It couldn't hurt.

   16    Q     It couldn't hurt.

   17                In fact, Mr. McDonald had been a former, a head of,

   18    in the strike force in the Eastern District?

   19                MS. MERKL:    Objection to inquiries to Mr. McDonald's

   20    credentials, your Honor.       They hardly seem relevant.

   21                MR. JASPER:    I'll withdraw it, your Honor.

   22                THE COURT:    All right.    Go ahead.

   23          Q     (By Mr. Jasper)     You said Mr. McDonald was

   24    representing you, and what then happened over the series of

   25    meetings, the other lawyers became aware of the fact that,

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    1    what was going on and you were trying to meet with the

    2    government, is that right, sir?

    3    A     Correct.

    4    Q     Now, I want to try and focus that period of time in your

    5    life when you were waiting to hear whether or not the Attorney

    6    General was going to seek the death penalty against you.

    7    A     Correct.

    8    Q     Now, you had just been convicted of seven murders, right?

    9    A     Correct.

   10    Q     And you knew that there was one more pending prosecution

   11    out there that was quite worrisome for you, is that a fair

   12    statement?

   13    A     I wasn't concerned about it.

   14    Q     You weren't concerned about the pending charge involving

   15    the murder of George from Canada Sciascia?

   16    A     That's correct.

   17    Q     And you weren't worried about it because you knew you

   18    would plead guilty eventually?

   19    A     No.   No.

   20    Q     The Sciascia charge was a charge that carried with it, if

   21    authorized, could -- you would be facing a death prosecution,

   22    is that correct, sir?

   23    A     Correct.

   24    Q     And for that entire summer that you were cooperating with

   25    the government, you did not know what the folks in Washington

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    1    were going to do about your death prosecution, is that

    2    correct?

    3    A     Correct.

    4    Q     Now, you did not want to face the death penalty, is that

    5    true?

    6    A     I wasn't concerned about it.

    7    Q     You were not concerned about facing the death penalty?

    8    A     Correct.

    9    Q     But you were meeting with the government?

   10    A     Correct.

   11    Q     And you met that whole summer, the summer of 2004?

   12    A     On and off.

   13    Q     About eight times, is that a fair number?

   14    A     That's a fair estimate.

   15    Q     Now, what would happen in these proffer sessions is you

   16    would be brought over to a location, right?

   17    A     Right.

   18    Q     And there would be federal prosecutors --

   19    A     Correct.

   20    Q     -- present?

   21                There would also be federal agents present, right?

   22    A     Correct.

   23    Q     And your lawyer was present?

   24    A     Two lawyers were present.

   25    Q     You had two at that point, right?

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    1    A     Correct.

    2    Q     And one of them was for the purpose of consulting

    3    regarding the death penalty, right?

    4    A     Correct.

    5    Q     Now, one of the things that you understood, was made

    6    plain to you that just meeting with the government didn't mean

    7    that you had a cooperation agreement, right?

    8    A     That's correct.

    9    Q     I mean, that was made abundantly clear, wasn't it?

   10    A     Yes, it was.

   11    Q     They said, you come and you talk to us but you don't have

   12    an agreement right now, we'll wait and see, we'll wait and

   13    see, we'll listen to you and we'll see how things go?

   14    A     They never told me that.

   15    Q     Well, you met about eight times, right?

   16    A     It's fair to say.

   17    Q     And you were never given a cooperation agreement to sign?

   18    A     No, correct.

   19    Q     And what you were given was what's called a proffer

   20    letter, right?

   21    A     Correct.

   22    Q     And that proffer letter in bold black -- well, you

   23    understood from reading that, it was very clear that this is

   24    not a cooperation agreement, right?

   25    A     That's correct.

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    1    Q     Now, you found out that -- well, you started talking

    2    about your, your life of crime, right?

    3    A     Correct.

    4    Q     And they took you from day one of 12 years old when you

    5    stole these homing pigeons, right?

    6    A     That's correct.

    7    Q     Took you right on up to much more serious offenses,

    8    correct?

    9    A     That's correct.

   10    Q     Such as the murder of the three captains in one night?

   11    A     Correct.

   12    Q     And the other murders that you were involved with and

   13    pled guilty to, correct?

   14    A     Correct.

   15                MS. MERKL:    Objection.    Misstates the testimony.

   16                Move to strike, your Honor.

   17                THE COURT:    Overruled --

   18                MR. JASPER:    Withdrawn, your Honor.

   19    Q     Of the other --

   20                THE COURT:    Wait, wait.    Whoa, whoa.

   21                MR. JASPER:    Sorry.

   22                THE COURT:    The question and the answer are stricken

   23    and the jury will disregard them.

   24                Go ahead.

   25          Q     (By Mr. Jasper)     You talked about murders of which

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    1    you had been convicted, right?

    2    A     Correct.

    3    Q     But the one that was pending was the case that was, was

    4    the Sciascia matter that carried the potential of the death

    5    penalty, correct?

    6    A     Correct.

    7    Q     Now, you had this death penalty lawyer and you had

    8    Mr. McDonald, and they're meeting with the government, right?

    9    A     Correct.

   10    Q     And you're meeting through the summer, right?

   11    A     Correct.

   12    Q     Giving them information?

   13    A     Correct.

   14    Q     By the way, you're also still the official boss of the

   15    Bonanno-Massino crime family, right?

   16    A     Correct.

   17    Q     And you're still receiving messages during this period of

   18    time, right, from the street?

   19    A     A few messages here and there.

   20    Q     A few messages, off and on throughout that period of

   21    time?

   22    A     That's fair to say.

   23    Q     Now, you found out that what had to happen regarding the

   24    death penalty was that your lawyers would have to write a

   25    letter to the Attorney General of the United States, right?

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    1    A     Correct.

    2    Q     And it was also made clear to you that there, a decision

    3    would be made in Washington, right?

    4    A     Right.

    5    Q     But it was your understanding that the United States

    6    Attorney's Office for the Eastern District of New York would

    7    make a recommendation to Washington, right?

    8    A     Correct.

    9    Q     And that was very, very important to you, right?

   10    A     Not really.

   11    Q     Not, it wasn't important to you because you weren't

   12    worried about the death penalty, right?

   13    A     Correct.

   14    Q     And this lack of concern about the death penalty

   15    continued through all of these proffer sessions that you had

   16    with the government?

   17    A     Correct.

   18    Q     And so you're proffering in August, you're proffering in

   19    September, right?

   20    A     Correct.

   21    Q     You're proffering in October and November of 2004, right?

   22    A     Correct.

   23    Q     And then one day in November, on or about November 12th,

   24    11th or 12th, 2004, you received notice that Washington had

   25    directed the U.S. Attorney's Office for the Eastern District

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    1    of New York to seek a sentence of death, correct, sir?

    2    A     Correct.

    3    Q     Now, my question to you is at that particular point in

    4    time, did you become worried about the prospect of facing the

    5    death penalty?

    6    A     No.

    7    Q     No?   You just found out that the Attorney General of the

    8    United States instructed the Eastern District of New York

    9    prosecutor's office to seek the death penalty, but you were

   10    not worried?

   11                MS. MERKL:    Objection.    Asked and answered.

   12                THE COURT:    You can answer.

   13                I'm sorry.    What's the answer?

   14    A     Correct.

   15    Q     And you were preparing for trial?

   16    A     Yes, I was.

   17    Q     So you were still considering on going to trial on the

   18    Sciascia matter?

   19    A     As far as I was concerned at the co-defendant meetings,

   20    the lawyer said we got the case beat.

   21    Q     The lawyers said you got the case beat?

   22    A     All the lawyers said I got, we got the case beat.

   23    Q     Do you always believe lawyers when they tell you that?

   24    A     Well --

   25                MS. MERKL:    Objection.

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    1                THE COURT:    Can we take -- I'm sorry to interrupt.

    2                Does the jury want to take a break?        Just raise your

    3    hand if you want to take a break.

    4                Let's take our break and then resume.         Take a

    5    ten-minute break.

    6




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    1




   13    CROSS-EXAMINATION (Cont'd)

   14    BY MR. JASPER:

   15    Q     Mr. Massino, when we broke, I had been asking you

   16    questions about your preparation for trial in the Sciascia

   17    matter, do you recall that?

   18    A     Correct.

   19    Q     Now, during these co-defendant meetings, did you have an

   20    opportunity to speak to some of your co-defendants?

   21    A     Correct.

   22    Q     And the lawyer, Tommy Lee, did he come to some of these

   23    also or not?

   24    A     Sometimes he came and sometimes he didn't.

   25    Q     But Tommy Lee would come to see you very often

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    1    one-on-one, to come visit you over at MDC, is that correct?

    2    A     That's correct.

    3    Q     And he would sign a sheet and come in and see you?

    4    A     Correct.

    5    Q     Sign an attorney sheet?

    6    A     Correct.

    7                MS. MERKL:    Objection.    How does he know what Tommy

    8    Lee did?

    9                THE COURT:    Do you object?

   10                MS. MERKL:    Object, yes.

   11                THE COURT:    Sustained.

   12          Q     (By Mr. Jasper)     Did Tommy ever tell you that he

   13    signed in to see you?

   14    A     No.   He never said that to me.

   15    Q     But he came in to see you?

   16    A     Correct.

   17    Q     And would you say you saw him maybe 15 to 20 times during

   18    the course of your stay over at MDC?

   19    A     That's a fair statement.

   20    Q     And on many of those occasions, he was actually carrying

   21    messages from members and associates of the Bonanno crime

   22    family to you as the official boss, isn't that so?

   23    A     Sometimes.

   24    Q     Now, let me just step back for a moment to the outside

   25    world.    The family was referred to as the Bonanno family or

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    1    the Bonannos?

    2    A     Correct.

    3    Q     But inside amongst the members and the ranking officials,

    4    it was actually known as the Massino family, isn't that so?

    5    A     That's correct.

    6    Q     And you, you had decided -- well, you changed that name

    7    internally because of feelings that you had about the, for

    8    lack of a better word, the founding father, Joe Bonanno,

    9    correct?

   10    A     Correct.

   11    Q     And part of that was the fact that Mr. Joseph Bonanno

   12    wrote a book about organized crime, right?

   13    A     Correct.

   14    Q     And you considered that to be a violation of omerta,

   15    right?

   16    A     Correct.

   17    Q     Which is a very fundamental, very fundamental policy in

   18    the world that you used to live in, right?

   19    A     Correct.

   20    Q     And so in recognition of what Mr. Bonanno did, you

   21    decided, as far as the insiders knew, to make this the Massino

   22    family, correct?

   23    A     That had nothing to do with it.

   24    Q     Well, why did you put your name on it as far as the

   25    insiders knew?

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    1    A     Because I was the boss, like the other bosses did the

    2    same thing.

    3    Q     And when, an at induction ceremonies, they swore an oath

    4    to the Massino family, is that correct?

    5    A     That's correct.

    6    Q     Now, there -- one of the things that you revealed during

    7    these proffer sessions was the location of two of the three

    8    captains, isn't that so?

    9    A     Can you repeat that question again?

   10    Q     Sure.

   11                The three captains, Sonny Red, Phil Lucky, and Big

   12    Trini were murdered on May 5th, 1981, correct?

   13    A     Correct.

   14    Q     And part of the plot afterwards was to have their bodies

   15    disposed of, correct?

   16    A     Correct.

   17    Q     And you went to John Gotti to, essentially John Gotti

   18    offered a burial plot of sorts where you can put these bodies,

   19    right?

   20    A     Correct.

   21    Q     And that was somewhere in the Brooklyn-Queens border?

   22    A     Queens, Howard Beach.

   23    Q     And about two weeks after the three captains' murder, the

   24    body of Alfred or Alfonse Indelicato, Sonny Red, popped up,

   25    surfaced?

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    1    A     Correct.

    2    Q     And that created a problem, right?

    3    A     No, not really.

    4    Q     It did not create a problem?

    5    A     No.

    6    Q     Why wasn't it a problem?

    7    A     Because that's what they wanted us to do, they wanted

    8    that body to be found.

    9    Q     Who wanted that body to be found?

   10    A     The commission.

   11    Q     The commission wanted Sonny Red's body to be found?

   12    A     Correct.

   13    Q     And what was the reason for that?

   14    A     If you want to send a message to the underworld, if you

   15    take that seat, that's what's going to happen to you, you're

   16    going to get killed.

   17    Q     Take what seat, sir?

   18    A     Be the boss, they were all going to take the family over,

   19    to send a message to the other families.

   20    Q     And the other two bodies were not meant to be a message?

   21    A     No, because Sonny Red was the culprit.

   22    Q     Sonny Red was the culprit?

   23    A     Correct.

   24    Q     You saw him as the most capable person to take over the

   25    family?

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    1    A      No, he's the one that engineered it.

    2    Q      Well, the FBI never found Big Trin and Phil lucky until

    3    you spoke to them, is that a fair statement?

    4    A      That's correct.

    5    Q      And you said to them, in words and substance, you didn't

    6    look hard enough, right?

    7    A      No, I said you're not going to find them.         They're buried

    8    too deep.

    9    Q      Now, how did you know they were buried too deep?

   10    A      They were buried with a backhoe, 10 to 15 feet.

   11    Q      How did you know that?

   12    A      Because the people that buried them know it.

   13    Q      And the people --

   14    A      John Gotti said they'll never find them.

   15    Q      He said they'll never find them, but they will find Sonny

   16    Red?

   17    A      Correct.

   18    Q      He told you that?

   19    A      Correct.

   20    Q      And you told that to the government?

   21    A      Correct.

   22    Q      Now, the message that you just said was sent out to the

   23    underworld, that's what you said?

   24    A      That's what they told us to do.

   25    Q      Now, "they" is the commission?

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    1    A     Yes.

    2    Q     Now, after the three captains' murder, you went to

    3    members of the other families to justify, I think you said, on

    4    direct?

    5    A     Justification.

    6    Q     Justification, right?

    7    A     Correct.

    8    Q     That justification is important, correct?

    9    A     Correct.

   10    Q     If you take somebody out like that, you have to be able

   11    to show that it was warranted or justified, correct?

   12    A     Correct.

   13    Q     Or that you have a problem?

   14    A     Correct.

   15    Q     Now, what you and your factions did was you went to two

   16    of the other four families before the murder of the three

   17    captains, correct?

   18    A     That's correct.

   19    Q     You didn't go to the other two, right?

   20    A     That's correct.

   21    Q     Which two did you leave out of this important piece of

   22    information?

   23    A     The Genovese family and the Lucchese family.

   24    Q     And that was because you didn't want them to know?

   25    A     No, that's because the Lucchese family and Genovese

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    1    family was backing Sonny Red, Phillie Lucky and Trinny, and we

    2    couldn't trust them.

    3    Q     And that's why, that's why they weren't supposed to know?

    4    A     Correct.

    5    Q     So you went to the allies who you knew would support you,

    6    right?

    7    A     Correct.

    8    Q     And you never went to them and said let's try and work

    9    this thing out; you said we're going to take them out, right?

   10    A     We tried, we tried numerous times to work it out but

   11    nothing was working.

   12    Q     But at the time that you went to the two, the two

   13    families that was supportive of you, the decision had been

   14    made?

   15    A     Correct.

   16    Q     Now, the three captains were Sonny Red -- by the way,

   17    Sonny Red, his true name was Alfonse or Alfred Indelicato?

   18    A     That's correct.

   19    Q     Now, did he have a son who was a member of the Bonanno

   20    family?

   21    A     Yes, he did.

   22    Q     And do you remember his name?

   23    A     Anthony Indelicato, also known as Bruno.         He was a

   24    captain at that time in the Bonanno family.

   25    Q     Bruno.   That's the same Bruno that you were discussing on

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    1    direct examination?

    2    A     That's correct.

    3    Q     So Sonny Red, Bruno's father, was one of the three

    4    captains that you had to murder, correct?

    5    A     Correct.

    6    Q     Now, who was the official boss at the time of the three

    7    captains' murder?

    8    A     Phil Rastelli was the official boss of the Bonanno

    9    family.

   10    Q     And Phil, Phil Rastelli, also known as Rusty?

   11    A     That's correct.

   12    Q     Where was Rusty at that time?

   13    A     At that time he was in Lewisburg Penitentiary in

   14    Pennsylvania.

   15    Q     And you told Rusty what you and your other faction

   16    members were going to do?

   17    A     I believe at that time we were thrown off the visiting

   18    list, but his brother brought us back the message.

   19    Q     You were thrown -- why were you thrown off the visiting

   20    list?

   21    A     Because Donny Brasco said we were going to visit Phil

   22    Rastelli, me and Phil and Lefty.        At that time, we didn't know

   23    Donny Brasco was an FBI agent.

   24    Q     So law enforcement had intelligence that could keep

   25    certain members from visiting in that institution, correct?

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    1    A     That's correct.

    2    Q     But the message got to Rusty through other means?

    3    A     His brother, Marty Rastelli.

    4    Q     Who was in the mob also?

    5    A     He was an associate of the Bonanno family.

    6    Q     And I think you said on direct that you had become

    7    concerned about the three captains, concerned about their

    8    intentions?

    9    A     Correct.

   10    Q     Part of that was you saw, or Sonny Black saw a car

   11    driving around his, his social club or his lounge a couple of

   12    times?

   13    A     He seen a van kept passing the Green Lounge.

   14    Q     How many times did he see the van pass?

   15    A     He didn't tell me.

   16    Q     He didn't say that to you?

   17    A     No.

   18    Q     Could it have been once?

   19    A     I think it was more than once.

   20    Q     And he recognized somebody in the van?

   21    A     Yes, he did.

   22    Q     And you told us he recognized Bruno?

   23    A     Bruno and JP, his uncle, Indelicato.         They're both

   24    wiseguys in the Bonanno family.

   25    Q     And based on that information, in part, you had a meeting

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    1    with the, with your fellow faction members, right?

    2    A     Not at that point.

    3    Q     How long after?

    4    A     About a week later, I was told by Tutti Francese, which

    5    is a wiseguy in the Colombo family, and a guy named Vinny,

    6    he's an associate, that Big Trinny was hiding guns in his

    7    junkyard, machine guns, pistols, and we didn't like it when we

    8    heard it.

    9    Q     You didn't like hearing that when you heard it?

   10    A     No, not at all.

   11    Q     Now, one of your faction members, one of your allies in

   12    that faction that you were with was a man by the name of Sonny

   13    Black, correct?

   14    A     Correct.

   15    Q     He's also known, his real name, Dominick Napolitano?

   16    A     Correct.

   17    Q     Just for the record, is this the same Sonny Black that

   18    you eventually murdered later on?

   19    A     Yes.

   20    Q     So you then heard that Big Trin, who lived in the Bronx,

   21    right --

   22    A     That's correct.

   23    Q     -- had some arms that were buried in a junkyard --

   24    A     Correct.

   25    Q     -- in the Bronx?

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    1    A     Correct.

    2    Q     And this came from, information came from Tutti Francese?

    3    A     Yes, who's a wiseguy in the Colombo family.

    4    Q     Now, this is the same Tutti Francese who was also

    5    involved with you in a murder earlier in your career, correct?

    6    A     That's correct.

    7    Q     And that was -- which murder was that?

    8    A     Joe Pastore.

    9    Q     Who was also your cigarette partner at the time, right --

   10    A     That's correct.

   11    Q     -- who was murdered?

   12    A     Correct.

   13    Q     So the, those two pieces of information your faction

   14    took, decided to take action against the other three captains?

   15    A     We didn't decide to take action.

   16                We went to go see Paul Castellano and Junior

   17    Persico, boss of the Colombo family, and Paul was the boss of

   18    the Gambino family, and we told them what happened, me, Sally

   19    Ferrugia and George, we went to go see them.

   20                They said, listen, protect yourself and let us worry

   21    about the other two guys on the commission.

   22    Q     Well, what did you tell them when you went to see them,

   23    when you went to see Junior Persico and Big Paulie Castellano?

   24    A     We told them that they were passing Sonny Black's club

   25    and he recognized Bruno and JP Indelicato, he kept passing the

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                            MASSINO/CROSS/JASPER

    1    club, and we told them that they were bringing guns and

    2    burying them in Trinny's yard.

    3    Q     Do you know how many guns were being buried in Trinny's

    4    yard?

    5    A     They didn't give me no amount.

    6    Q     You didn't even know if they were being buried?

    7    A     That's correct.

    8    Q     You didn't send somebody up to check that out?

    9    A     How am I going to send somebody up there to check it out?

   10    Q     You didn't do any surveillance on it, right?

   11    A     No.

   12    Q     Now, armed with these two pieces of information -- well,

   13    withdrawn.

   14                The issue between the two factions, Sonny Red and

   15    your faction, also was about money, right?

   16    A     Correct.

   17    Q     I mean, you told us that the reason for the mob existence

   18    is to make money.

   19                So this was about, this was, money was a big deal in

   20    this, right?

   21    A     I think more or less it's about surviving.

   22    Q     But money, who was going to control the family would also

   23    result in the amount of money that would be made?

   24    A     We wasn't concerned about that.        We was concerned about

   25    surviving.

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                            MASSINO/CROSS/JASPER

    1    Q     But money was a factor?

    2    A     After the fact.

    3    Q     After the fact?

    4    A     After they got killed.

    5    Q     In what way?

    6    A     We wasn't worried about the money.        We was worried about

    7    surviving and we also worried -- there was word in the street

    8    that pretty soon that the men were going to separate the boys.

    9    Q     The men from the boys were going to be separated?

   10    A     Sonny Red and them were sent, and pretty soon -- they

   11    were telling other guys in the Bonanno, pretty soon the men

   12    were going to separate from the boys, and that came back to

   13    us.

   14    Q     You were all pretty tough guys?

   15    A     Well, evidently they thought they were tougher than us.

   16    Nobody's tough.

   17    Q     But they were proven wrong, weren't they, Mr. Massino?

   18    A     Correct.    Nobody is bulletproof.

   19    Q     And I think you told us on direct examination when you

   20    were being questioned by the government's counsel that, that

   21    they were killed at a captain's meeting?

   22    A     We called, they decided to call a captains' meeting.

   23    Q     Who was "they"?

   24    A     Sally Ferrugia, who was the acting boss, Stevie Beef, was

   25    the official consigliere.

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                            MASSINO/CROSS/JASPER

    1    Q     And you had, you had, you regularly had captains at

    2    meetings?

    3    A     Yes, we did.

    4    Q     But there was something very, very special about this

    5    particular captains' meeting, wasn't it?

    6    A     Correct.

    7    Q     It was at, actually going to be the last meeting that the

    8    three captains ever attended, correct?

    9    A     It was supposed to be four captains, correct.

   10    Q     It was supposed to be four, the fourth was actually

   11    Bruno, right?

   12    A     Correct.

   13    Q     The son of Sonny Red?

   14    A     Correct.

   15    Q     Bruno sent Frankie Lino, his, his acting captain to

   16    attend, correct?

   17    A     That's correct.

   18    Q     And Frankie Lino is the one who escaped because someone

   19    forgot to lock the door?

   20    A     That's correct.

   21    Q     Now, this captains' meeting that was called by Sally

   22    Ferrugia, the acting boss of the Bonanno family at that time,

   23    wasn't the purpose of this meeting to try and discuss a

   24    peaceful way of resolving the conflict between the two

   25    factions?

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                            MASSINO/CROSS/JASPER

    1    A     The thing was when they came there, we were to kill them.

    2    Q     Well, yes, but they didn't know that.

    3    A     Correct.    They didn't know that.

    4    Q     So when they got, when they -- well, they were told that

    5    this was just going to be a regular captains' meeting?

    6    A     A captains' meeting.

    7    Q     Where you would discuss issues affecting the borgata, the

    8    family, right?

    9    A     That's a fair estimate.

   10    Q     Now, one of the issues at the time was this friction that

   11    the two factions had, right?

   12    A     Right.

   13    Q     But it was not like any other captains' meeting that you

   14    had ever attended in your entire life, correct?

   15    A     Correct.

   16    Q     And that's because at this captains' meeting where, would

   17    it be fair to say, that one of the agendas was to discuss the

   18    situation between the two factions?

   19    A     Correct.

   20    Q     One of the things that made this different from any other

   21    captains' meeting was the fact that there were five guys in a

   22    closet waiting to take the captains out, right?

   23    A     That's correct.

   24    Q     Now, those five guys in the closet, one of them had a

   25    machine gun?

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                            MASSINO/CROSS/JASPER

    1    A     Correct.

    2    Q     One of them had a double-barreled shotgun?

    3    A     Correct.

    4    Q     Another one, other people had pistols, right?

    5    A     Correct.

    6    Q     And that doesn't normally happen at a captains' meeting,

    7    right?

    8    A     That's true.

    9    Q     They were hiding in the closet?

   10    A     Correct.

   11    Q     Now, there was also -- you had surveillance outside the

   12    club, right?

   13    A     Correct.

   14    Q     Duane Leisenheimer, Goldie, correct?

   15    A     Correct.

   16    Q     He had a radio, right?

   17    A     Correct.

   18    Q     Now, the purpose of the radio is to know, warn the people

   19    inside the club when the unsuspecting captains are coming into

   20    this captains' meeting, correct?

   21    A     Correct.

   22    Q     And he did, in fact, let you know?

   23    A     Yes, he did.

   24    Q     Goldie also, you asked Goldie to get, have a van

   25    available for what you hoped would be the bodies to be taken

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                             MASSINO/CROSS/JASPER

    1    out?

    2    A      To move the bodies, correct.

    3    Q      And the club that, where the three captains eventually

    4    lost their life, that was owned by another wiseguy?

    5    A      It was a wiseguy in the Lucchese family.

    6    Q      In the Lucchese family.

    7                And they arrive, correct?

    8    A      Correct.

    9    Q      You are there?

   10    A      Correct.

   11    Q      You're armed?

   12    A      Excuse me?

   13    Q      Are you armed?

   14    A      No, I'm not.

   15    Q      The reason you're not armed is because you want, you

   16    wanted to be one of the people who greeted these three

   17    captains?

   18    A      Correct.   No, that wasn't a reason why.

   19    Q      Well, let me -- I'll ask another question.

   20                You wanted to be one of the ones who greeted the

   21    three captains or the four captains?

   22    A      Correct.

   23    Q      And it was May, May 5th, 1981?

   24    A      May 5th, 1981.

   25    Q      Now, it was your assumption that the captains, the three

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                            MASSINO/CROSS/JASPER

    1    captains should have been four, but the three captains, when

    2    they arrived, would be unarmed, right?

    3    A     We didn't know that for sure.

    4    Q     You didn't know that for sure?

    5    A     No.

    6    Q     But you had your guys in the closet, right?

    7    A     Correct.

    8    Q     And I think you've said here several times that one of

    9    the policies, a real good way to get killed is to go to a

   10    meeting with weapons?

   11    A     Correct.

   12    Q     You and your faction violated that policy, would it be

   13    fair to say?

   14    A     That's fair to say.

   15    Q     And one of the signals was that Georgie Sciascia, George

   16    from Canada, would run his hand through his hair and that

   17    would be a signal for the guys in the closet to jump out and

   18    start shooting, right?

   19    A     That's correct.

   20    Q     Now, just for the record, this George from Canada, this

   21    Georgie Sciascia, this is the same Georgie Sciascia, George

   22    from Canada, that you eventually murdered?

   23    A     Correct.

   24    Q     And you, and was George from Canada waiting there also

   25    with you?

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                            MASSINO/CROSS/JASPER

    1    A     He was right alongside me.

    2    Q     The two of you were together?

    3    A     There was other captains, too.

    4    Q     I'm sorry?

    5    A     There was a bunch of captains.

    6    Q     Who were the other captains who were present?

    7    A     John Ligamatti was a captain from Jersey.          There was me,

    8    George from Canada, Joe Baione, Nick the Batler.

    9    Q     And they all knew what was about to occur, correct?

   10    A     No, no.

   11    Q     They didn't?

   12    A     No, not everybody.

   13    Q     All of the captains there did not know?

   14    A     That's correct.

   15    Q     You kept that a secret?

   16    A     From two of them.

   17    Q     From two of them?

   18    A     Yes.

   19    Q     Which two?

   20    A     Nick the Batler and Joe Baione, because they were on

   21    Sonny Red's side.

   22    Q     So they would have an opportunity, being with Sonny Red,

   23    they would have to an opportunity to see what happens to

   24    people who try to take over the family, correct?

   25    A     That's not the reason why.

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                            MASSINO/CROSS/JASPER

    1                We called the captains' meeting and if we called the

    2    captain's meeting for them, they were going to check with them

    3    so they say, yeah, we're going to.

    4                If they weren't there, that would draw a suspicion,

    5    why ain't they being there.

    6    Q     It would have looked very suspicious if they weren't

    7    there?

    8    A     Correct.

    9    Q     So they were there as part of the front, right?

   10    A     Correct.

   11    Q     And that -- that would make the three captains basically

   12    feel this is okay, because our guys are there already, right?

   13    A     Correct.

   14    Q     I'm sorry?

   15    A     Correct.

   16    Q     And the plan was, I think you said, the plan was to have

   17    these five guys, once the signal was made, to pop out of the

   18    closet, right, and to just start taking care of business,

   19    right?

   20    A     No.

   21    Q     No?

   22    A     No.

   23    Q     I'm sorry.

   24                The plan was to have them come out of the closet and

   25    say this is a stickup, correct?

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                            MASSINO/CROSS/JASPER

    1    A     That's correct.

    2    Q     And then start to take care of business?

    3    A     Correct.

    4    Q     And the business that was to be taken care of was to

    5    murder the captains that showed up?

    6    A     Correct.

    7    Q     Now, I think you told us that you wanted to have them,

    8    the shooters or someone would say this is a stickup, up

    9    against the wall, correct?

   10    A     Correct.

   11    Q     So you wanted the captains who were about to be murdered

   12    to come in, think there was a robbery, and then go up against

   13    the wall, correct?

   14    A     Correct.

   15    Q     What was going to happen after they were up against the

   16    wall with their backs to you?

   17    A     They were going to get shot.

   18    Q     In the back?

   19    A     Correct.

   20    Q     So what this captains' meeting --

   21    A     Correct.

   22    Q     -- really kind of turned out to be like a mini St.

   23    Valentine's Day Massacre, right?

   24                MS. MERKL:    Objection.

   25                THE COURT:    Sustained.

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                            MASSINO/CROSS/JASPER

    1    BY MR. JASPER:

    2    Q     Well, this was a massacre, this was a planned massacre,

    3    right?

    4    A     Correct.

    5    Q     No doubt in your mind about that?

    6    A     Not at all.

    7    Q     But it was May?

    8    A     Yes.

    9    Q     And I think you then told us that Phil Lucky got hit, he

   10    went down?

   11    A     Correct.

   12    Q     That's Phil Giancon.      And then you told us that Frankie

   13    Lino bolted for the door and he got away?

   14    A     Correct.    The door was open.

   15    Q     The door was open?

   16                 And Big Trin, who was behind you, had to be shot

   17    several times because he wasn't that easy to bring down,

   18    right?

   19    A     That's correct.

   20    Q     One of the reasons he was called Big Trin was because he

   21    was about 35, 36?

   22    A     Correct.

   23    Q     Big guy?

   24    A     Maybe 400 pounds.

   25    Q     Maybe 400 pounds?

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                            MASSINO/CROSS/JASPER

    1    A     Correct.

    2    Q     And what was used on him was a double-barreled shotgun?

    3    A     Correct.

    4    Q     And I think you said that at that time what you did was

    5    you dragged out -- and Sonny Red was breaking for the door

    6    also, right?

    7    A     Correct.

    8    Q     And you got Sonny Red's leg, right?

    9    A     One leg, correct.

   10    Q     One leg.

   11                And you were just holding onto that leg, right?

   12    A     Correct.

   13    Q     And he, of course, was unarmed.

   14    A     Correct.

   15    Q     Did he say anything?

   16    A     Didn't say a word.

   17    Q     And so holding Sonny Red, I think your testimony then was

   18    George Sciascia, right --

   19    A     Go ahead.

   20    Q     Is that correct, George Sciascia?

   21    A     Correct.

   22    Q     The same George Sciascia that you murdered later on in

   23    1999?

   24                MS. MERKL:    What's the question?

   25                THE COURT:    Yes.   I'm sorry.    What's the question?

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                            MASSINO/CROSS/JASPER

    1    Q     The question is, you're holding onto Sonny Red's leg,

    2    right?

    3    A     Correct.

    4    Q     Johnny Sciascia comes in and puts a gun either in his ear

    5    or under his ear?

    6    A     No.

    7    Q     Where?

    8    A     Frank Navarra was running and he had a .38, and he had

    9    tripped and the gun went flying, hit the floor.

   10                With this, George picks up the gun and shot Sonny

   11    Red in the ear, or under the ear.

   12    Q     Then what happens is, well, you wanted to have the burial

   13    team come in and take them out, but you were concerned because

   14    Frankie Lino got away?

   15    A     Correct.

   16    Q     And that was a big problem?

   17    A     Could have been.

   18    Q     It could have been, because I think, as you told us on

   19    direct, he could have notified the other faction and they

   20    would come back with guns, right?

   21    A     Correct.

   22    Q     I think you told us on direct that in that event, a lot

   23    of people could have been killed, right?

   24    A     Yes, it would have been like an O.K. Corral.

   25    Q     Like the O.K. Corral, you just said?

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                            MASSINO/CROSS/JASPER

    1    A     Correct.

    2    Q     You didn't want that to happen, so you reached out to, I

    3    think a cousin of his, Eddie Lino, a member from another

    4    family, is that correct?

    5    A     From the Gambino family, that's correct.

    6    Q     And basically said, you'll be okay, just don't tell

    7    anybody about this, is that it?

    8    A     That's what O'Neil told him, correct.

    9    Q     O'Neil was a high-ranking member of the Gambinos?

   10    A     He was the underboss in the Gambino family.

   11    Q     That was, his real -- what is his real name, Anthony

   12    Delacrocio?

   13    A     No, Neil Delacrocio.

   14    Q     Neil.

   15                 And then the -- your, I think you told us that Sal

   16    Vitale, he asked you if he could join and be a part of this

   17    experience, is that correct?

   18    A     You mean as one of the shooters?

   19    Q     One of the shooters, or just to get in on the action?

   20    A     Yes.

   21    Q     Yes, one of the shooters?

   22    A     Yes.

   23    Q     And you said, no, we got enough people?

   24    A     Correct.

   25    Q     But he found a way to bring himself --

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                            MASSINO/CROSS/JASPER

    1                 MS. MERKL:   Misstates the testimony, your Honor.

    2                 THE COURT:   Sustained.

    3    Q     Well --

    4    A     Would you like me to explain that?

    5    Q     Can I ask a question?

    6    A     Go ahead.

    7    Q     Did Big Lou have a role eventually?

    8    A     Yes.

    9    Q     What was his role?

   10    A     Move the bodies.

   11    Q     And he was outside at the time?

   12    A     No.

   13    Q     He was called in?

   14    A     He was by my club.

   15    Q     And then after that, that's when you went to the other

   16    members of the commission and explained to them what the

   17    justification was?

   18    A     Excuse me?

   19    Q     And then after the murders of the three captains at

   20    night, you went to explain to the other members of the

   21    commission what that was all about?

   22    A     We went to go see each family individually, yes, a couple

   23    of days later.

   24    Q     To make sure that there was no lingering bad blood, so to

   25    speak?

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                            MASSINO/CROSS/JASPER

    1    A     They wanted justification, and we gave them justification

    2    why we killed them.

    3    Q     Now, when, all of the shooting took place, basically, in

    4    just a matter of minutes?

    5    A     Correct.

    6    Q     And after the shooting had ended, you and your

    7    brother-in-law, Sal Vitale, were in the middle of the room?

    8    A     Correct.

    9    Q     And you looked at each other and said, where did

   10    everybody go?

   11    A     Correct.

   12    Q     Now, I want to ask you a couple of questions regarding a

   13    period of time when you went, I think you said when you went

   14    on the lam?

   15    A     Yes, I was a fugitive.

   16                (Continued on next page.)

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                             MASSINO/CROSS/JASPER

    1    BY MR. JASPER:

    2    Q      And what happened there was -- this was shortly after the

    3    three captains' murders?

    4    A      They got murdered May 5th, I went on the lam, in March of

    5    '82.

    6    Q      March of '82.    And so, you learned, I think you told us,

    7    from a connection -- someone -- a wise guy, who new an FBI

    8    agent?

    9    A      That's correct.

   10    Q      And you found out that you were about to be indicted?

   11    A      Correct.

   12    Q      And did you think this was reliable information?

   13    A      Never was -- it wasn't -- he never gave us a bad tip, the

   14    FBI agent.

   15    Q      I'm sorry?

   16    A      The FBI agent, any time he told us something, you take it

   17    to the bank.

   18    Q      You never met this agent?

   19    A      No, I didn't.

   20    Q      You worked through the person who had the contact,

   21    obviously?

   22    A      I went through another wise guy.

   23    Q      And you really didn't need to know any details, all you

   24    were interested in was the information?

   25    A      That's all that mattered.

                             LISA SCHMID, CCR, RMR
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                            MASSINO/CROSS/JASPER

    1    Q     But whatever this particular agent said you could take to

    2    bank was your experience?

    3    A     Yes.

    4    Q     And so, you decided to take off, you went up to the

    5    Poconos?

    6    A     Correct.

    7    Q     Before you went up to the Poconos, you -- let me step

    8    back just very briefly.

    9                 During this period of time, a lot of things were

   10    going on in the Bonnano Family, is that correct?

   11    A     At what time?

   12    Q     Between May and the time that you took off?

   13    A     That's fair to say.

   14    Q     Had the revelations regarding Donny Brasco had occurred

   15    around this time?

   16    A     I believe in August of 1981, three FBI agents went to

   17    Sonny Black's bar, the Green Lounge in Brooklyn, and they

   18    said, "Listen, that guy ain't really Donny Brasco.           He's an

   19    FBI agent.     Make sure you don't touch him," and they left.

   20    Q     Sorry?

   21    A     And they left.

   22    Q     And that was a pretty dramatic happening, you had these

   23    agents say, "Listen, this guy's one of ours.          Don't get any

   24    funny ideas," is that what they said?

   25    A     Correct.

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    1    Q     And the best of your knowledge, that was abided by,

    2    correct?

    3    A     Correct.

    4    Q     Now, one of the people responsible for the near -- making

    5    the near induction of an FBI agent was Sonny Black, right?

    6    A     Correct.

    7    Q     Donny Brasco was around Sonny Black?

    8    A     Correct.

    9    Q     Sonny Black wanted to make Donny Brasco, right?

   10    A     Sonny Black proposed him to be a made member of the

   11    Bonnano family, correct.

   12    Q     I'm sorry.    He actually wanted to propose him over your

   13    proposal for your own brother-in-law, Sal Vitale, is that

   14    correct?

   15    A     He couldn't make anybody at that point.         We were six

   16    years, nobody to be made, but Sonny Black tried.

   17    Q     And before you took off for the Poconos, you had a -- did

   18    you have a brief conversation with Lefty Guns?           You know who

   19    Lefty Guns is, don't you?

   20    A     Yes, I do.

   21    Q     Lefty Guns is Benjamin Rosario?

   22    A     Correct.

   23    Q     And Lefty was with Sonny Black, correct?

   24    A     Correct.

   25    Q     And were you trying to get Lefty to show up, so that he

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    1    could be killed as a retribution for -- almost for having this

    2    agent proposed?

    3    A     Not at all.

    4    Q     But do you remember speaking to Lefty before you left for

    5    the Poconos?

    6    A     I never spoke to him.

    7    Q     So, before you left for the Poconos, there was the

    8    issue -- there was an issue of what to do with Sonny Black,

    9    correct?

   10    A     Sonny Black was dead already.

   11    Q     He was dead already?

   12    A     Correct.

   13    Q     He was killed in August?

   14    A     August of '81.

   15    Q     Well, before, he had been taking care of months before

   16    you left for the Poconos?

   17    A     I left in March of '82.

   18    Q     Now, you were involved in the decision to murder Sonny

   19    Black?

   20    A     I tried to save Sonny Black.

   21    Q     You tried to save Sonny Black?

   22    A     Yes, I did.

   23    Q     What do you mean by you tried to save Sonny?

   24    A     Sonny Black told Sally Ferrugia and the greaseballs, more

   25    or less, "Fuck you, I'm ready to go to war tomorrow.            You

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    1    understand that?"     And they didn't take that lightly.         That's

    2    why Sonny Black died.

    3    Q     Sonny Black's death had nothing to do with the fact that

    4    he had been hanging out with a FBI agent for six years?

    5    A     Not at all.

    6    Q     No factor at all?

    7    A     Not at all.

    8    Q     Do you remember telling your brother-in-law, Sal Vitale,

    9    that if you had to go to jail, you were going to give Sonny

   10    Black a receipt?

   11    A     Not at all.

   12    Q     You don't remember saying that?

   13    A     No, I never said that.

   14    Q     It was never said?

   15    A     No.

   16    Q     So, you get this information from this FBI agent and you

   17    go off to the Poconos and you go to the Poconos, and you stay

   18    at Goldie's parent's home?

   19    A     For a short stay, maybe a month or two.

   20    Q     And during that period of time, your in -- what is your

   21    rank by the way at that time?

   22    A     At that point, I was a captain in the Bonnano Family.

   23    Q     And would it be fair to say that you were one of the

   24    powerful captains in the Bonnano Family?

   25    A     I was on the panel, me, Sally Ferrugia and George from

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    1    Canada.

    2    Q     So --

    3    A     I'm sorry -- Stevie Beef.

    4    Q     And did you have a rank on the panel or you were just a

    5    captain?

    6    A     I was just a captain.

    7    Q     But the panel now is a ranking -- that's the

    8    administration?

    9    A     You can say that.

   10    Q     Well, would you say that?

   11    A     Yeah, if you want to look at it that way, yes, I looked

   12    at it as a panel.

   13    Q     So, in fact, you were one of the powerful captains in the

   14    Bonnano Family at that time?

   15    A     That's correct.

   16    Q     So, when you go to the Poconos, you're laying low, and

   17    you're trying to watch and gain as much intelligence as you

   18    can as to what's going on back in the city, right?

   19    A     Correct.

   20    Q     Newspapers?

   21    A     My main concern was with the case.

   22    Q     With the?

   23    A     The murder case that I put in, in the Southern District

   24    of New York.

   25    Q     Because you found out that, once again, this information

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    1    was reliable and you had, in fact, had an indictment filed

    2    against you, is that so?

    3    A     Probably a month or two later.

    4    Q     Sorry?

    5    A     Couple weeks later, I got indicted.

    6    Q     So, during this period of time, you were involved in a

    7    murder -- were you involved in a murder?

    8    A     When I was a fugitive?

    9    Q     Yes.

   10    A     Yes, I was.

   11    Q     And who was that again?

   12    A     Caesar Bonventre.

   13    Q     And you participated in that decision to make -- to see

   14    that Caesar was murdered?

   15    A     Yes.

   16    Q     And do you know what happened to Caesar's body?

   17    A     Yes.

   18    Q     What happened to Caesar's body?

   19                 MS. MERKL:   Objection, relevance.

   20                 THE COURT:   Sustained.

   21    BY MR. JASPER:

   22    Q     Well, you were on the lam for how long?

   23    A     I left March of '82, I came back July, I'd say roughly 27

   24    months, 28 months, fair to say.

   25    Q     And did you get a hold -- a chance to get a hold of the

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    1    indictment that you were charged with?

    2    A     No, I don't think so.

    3    Q     Well, there came a point in time when you start -- well,

    4    you knew that the co-defendant in that case had gone to trial,

    5    right?

    6    A     Correct.

    7    Q     And was it part of your thinking to become a fugitive so

    8    that you would have an opportunity to view the government's

    9    case against your co-defendants who had gone to trial, right?

   10    A     That's correct.

   11    Q     Is that true?

   12    A     Yes, it is.

   13    Q     And so, you had been on your toes, again, and thought

   14    this through very carefully, right?

   15    A     Excuse me?

   16    Q     You were on your toes once again, and thought this

   17    through very carefully?

   18    A     Correct.

   19    Q     And so, you're following the progress of the trial?

   20    A     Correct.

   21    Q     How were you doing that, who is giving you the

   22    information?

   23    A     My brother-in-law.

   24    Q     And Sal, was he going to court?

   25    A     No, he wasn't.

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    1    Q     But he was reading about it?

    2    A     Newspapers, and things that he heard.

    3    Q     Things that he heard picking up --

    4    A     Correct.

    5    Q     -- bits and pieces and then coming and giving the

    6    information to you?

    7    A     Correct.

    8    Q     Were you able to view any discovery from that while you

    9    were in the Poconos?

   10    A     No.

   11    Q     But you found out what the government's evidence was as

   12    they put witnesses on the stand, is that a fair statement?

   13    A     That's correct.

   14    Q     And so, after 27 months of some period of time,

   15    certainly, and analyzing the case of the government, and that

   16    case there was the United States Attorney's Office for the

   17    Southern District of New York, correct?

   18    A     Correct.

   19    Q     Right across the bridge in Manhattan?

   20    A     Correct.

   21    Q     And you made a decision to come in and surrender?

   22    A     Correct.

   23    Q     That was a calculated decision?

   24    A     Correct.

   25    Q     Deliberate decision?

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    1    A     Correct.

    2    Q     Involved a fair amount of planning?

    3    A     Well, I wanted to know all the information and I would

    4    surrender, provided I could make bail.

    5    Q     Your motive was to see what your chances in bail were,

    6    and you decided to try -- you came up with an idea as to how

    7    to try and to do that, correct?

    8    A     Correct.

    9    Q     You called up a lawyer?

   10    A     Lawyer come and visit me.

   11    Q     A very good lawyer?

   12    A     Correct.

   13    Q     Who knew his stuff?

   14    A     I think so.

   15    Q     That's why you called him, right?

   16    A     Correct.

   17    Q     And you had Sal go to this lawyer's office?

   18    A     Correct.

   19    Q     And you came up with a very creative way of having this

   20    lawyer visit you, didn't you?

   21    A     What do you mean by that?

   22    Q     Well, you had the lawyer physically come to you in the

   23    Poconos?

   24    A     Yes.

   25    Q     But yet at the same time, you were a fugitive, right?

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    1    A     Correct.

    2    Q     Well, how did you deal with that?

    3    A     As far as what?

    4    Q     Well, how did you -- when the lawyer -- what were the --

    5    what were the conditions when the lawyer came to visit you, do

    6    you know?

    7    A     When the lawyer come and see me, they blindfolded him, so

    8    he wouldn't know where I was at.

    9    Q     They blindfolded the lawyer?

   10    A     Yes.   Yes.

   11    Q     And that was something that you had thought of, right?

   12    A     Correct.

   13    Q     On your toes again, right?

   14    A     Correct.

   15                 MS. MERKL:   Objection.

   16    BY MR. JASPER:

   17    Q     You're thinking ahead, and that's what I meant by that,

   18    right?

   19    A     Correct.

   20    Q     So the lawyer comes blindfolded, so he can't tell anybody

   21    where you are, right?

   22    A     That's correct.

   23    Q     And that was the purpose of it?

   24    A     Correct.

   25    Q     To avoid law enforcement, right?

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  1    A     Correct.

  2    Q     And the lawyer has the indictment with him or did you

  3    have the indictment yourself?

  4    A     I don't recall that.

  5    Q     In any event, you asked him what he thinks about it,

  6    right?

  7    A     Correct.

  8    Q     And he tells you, right?

  9                MS. MERKL:    Objection to conversations with counsel,

 10    Your Honor.

 11                THE COURT:    There wasn't a question as to the

 12    substance of the conversation.

 13                What's your next question?

 14    BY MR. JASPER:

 15    Q     And he tells you something about the indictment, right?

 16    A     Correct.

 17    Q     And you then say to him, not what he said to you, but you

 18    then say to him, that you would like him to go and work out

 19    a -- basically negotiate for --

 20                THE COURT:    Sustained.

 21    BY MR. JASPER:

 22    Q     Well, after having this conversation -- after having this

 23    conversation with this lawyer, you decided to turn yourself

 24    in?

 25    A     No.   I decided to turn myself in, providing I got bail.

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  1    If I didn't get bail, I wasn't going to surrender.           That was

  2    the condition.

  3    Q    So, you as a fugitive, set conditions for how the U.S.

  4    Attorney's Office in the Southern District would accept your

  5    surrendering?

  6    A    Otherwise I wasn't going to come in, yes.

  7    Q    And you did, in fact, make bail?

  8    A    Yes.

  9    Q    How much was that bail, again?

 10    A    I believe it was two million dollars, and a bail bond

 11    with a hundred thousand.

 12    Q    And that two million, that bail, was that cash?

 13    A    No, it was my real estate.

 14    Q    And what real estate did you put up to secure that bond?

 15    A    Properties that we owned.

 16    Q    Who's "we"?

 17    A    Me and my wife.

 18    Q    That's your wife, Josephine?

 19    A    That's correct.

 20    Q    And did you -- now, what were you charged with in that

 21    indictment?

 22    A    The three captains' murders.        At that time, racketeering,

 23    RICO and then they superseded my indictment.          They added Joe

 24    Pastore, then they added another conspiracy to murder.

 25    Q    You made 2000 -- you made two million dollar bail in a

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  1    case involving the three captains' murders?

  2    A    Correct.

  3    Q    And you eventually went to trial in that case?

  4    A    Yes, I did.

  5    Q    And what happened, sir?

  6    A    I got acquitted of every charge.

  7    Q    And you were -- you had the advantage of going to trial

  8    without your co-defendants?

  9                MS. MERKL:    Objection.

 10                THE COURT:    Sustained.

 11    BY MR. JASPER:

 12    Q    Well, did you believe it was an advantage to go to trial

 13    without your co-defendants?

 14    A    Yes.

 15    Q    And that was part of the plan, correct?

 16    A    Correct.

 17    Q    And it worked?

 18    A    Well, I didn't know it at that time, but yes, the bottom

 19    line was, it did work.

 20    Q    Now, you mentioned these properties that you secured this

 21    bail bond with.     Where were those properties located?        What

 22    properties were those at that time?

 23    A    I had two buildings on Fresh Pond Road in Maspeth,

 24    Queens.   I had another building, my club, on Russ Street.           I

 25    had my house in Howard Beach, had another house in Maspeth.

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  1    Q    Just so I'm clear, you had two buildings that you owned

  2    on Fresh Pond, right?

  3    A    Correct.

  4    Q    Then the Russ Street, was that a club?

  5    A    That was a club, and two apartments upstairs.           It was two

  6    buildings there.

  7    Q    And you got rent from those apartments upstairs?

  8    A    Correct.

  9    Q    And I think you told us about the little landlord-tenant

 10    problem that you had up there at one time, correct?

 11    A    Excuse me?

 12    Q    That's the building where you told us about the

 13    landlord-tenant problem that you had?

 14    A    No.   That's Fresh Pond Road.

 15    Q    That was fresh Pond, okay.

 16               And the house in Maspeth, that was your mom's house?

 17    A    I bought the house and I put my mom there to live.

 18    Q    You purchased that with your funds?

 19    A    I took a mortgage.

 20    Q    You purchased that, you paid off that mortgage with your

 21    funds?

 22    A    Correct, every month.

 23    Q    And you said also a one hundred thousand dollar bank

 24    book?

 25    A    Correct.

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  1    Q    That wasn't all the cash that you had, though, correct?

  2    A    Correct.

  3    Q    How much cash did you have at that time other than what

  4    was in the passbook, if you recall?

  5    A    I'm trying to think.      Not much at all.

  6               (Pause in proceedings.)

  7    BY MR. JASPER:

  8    Q    Now, did you have the catering businesses at that time?

  9    A    I believe at that time, I saw sold my businesses.            1981,

 10    maybe the end of '81, I sold my cake business, I sold my deli

 11    and my catering business.

 12    Q    And that was all money that you had basically used

 13    during -- that was all proceeds of illegal activities,

 14    correct?

 15               MS. MERKL:     Your Honor, what is the question?

 16               MR. JASPER:     I said that was basically proceeds --

 17               MS. MERKL:     What is the "that"?

 18               THE COURT:     Yeah, be specific.

 19               MR. JASPER:     I apologize, Your Honor.

 20    BY MR. JASPER:

 21    Q    Those -- the catering businesses, were bought and

 22    developed as a result of all the illegal money that you were

 23    making.

 24    A    I wouldn't say that.

 25    Q    What would you say?

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  1    A    I built the route from nothing.        It was an empty truck, I

  2    went out, I hit factories, I hit junkyards, trucking

  3    companies, I built the route from just an empty truck.

  4    Q    Well, you say you were servicing some of the industrial

  5    area in the Maspeth area.

  6    A    Maspeth, Queens and Long Island City, Queens.

  7    Q    That's correct?

  8    A    That's correct.

  9    Q    But you were also servicing them when you weren't

 10    hijacking trucks, though, correct?

 11    A    Correct.

 12    Q    So at the time you were servicing these different

 13    factories in that whole area, you were hijacking trucks,

 14    right?

 15    A    I wouldn't say hijacking trucks.        We were stealing

 16    trucks.    I didn't pull anybody out of a truck.

 17    Q    You didn't pull anybody out of a truck because a lot of

 18    times, those -- robberies of those trucks were give-ups,

 19    right?

 20    A    Correct.

 21    Q    And what's a give-up?

 22    A    Guy gives you a tip, you want to rob my truck, yeah.

 23    Listen, I'm going to go in the diner, I'll about there at nine

 24    o'clock.    Nine o'clock we be waiting, you go in the diner, we

 25    rob the truck.

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  1    Q    And you were also involved in some extortion?

  2    A    Correct.

  3    Q    And who were you extorting?

  4    A    Kennedy Airport, I inherited.

  5    Q    What was the extortion scheme that you inherited at JFK?

  6    A    There was trucking companies that were paying for

  7    protection, so the unions wouldn't bother them.

  8               MS. MERKL:     Your Honor, could we set a time frame?

  9               THE COURT:     Yes.   What was -- what time was this

 10    about?

 11               THE WITNESS:     I'd say 1981, 1982, on.

 12               THE COURT:     On?

 13               THE WITNESS:     Yeah, on, Your Honor.

 14    BY MR. JASPER:

 15    Q    So this is right around the time that -- well, withdrawn.

 16               And this was money that you were making while you

 17    were also servicing the various working people in Maspeth,

 18    correct, with the sandwich trucks?

 19    A    Correct.

 20    Q    And in the extortion schemes that you were involved in,

 21    you were extorting from unions?

 22    A    Correct.

 23    Q    And could you just tell us how that worked, what were

 24    you -- what exactly were you doing?

 25    A    In other words, they would put people to work there that

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  1    would have to get into the union, and you would save the

  2    company money.    So they would pay you to keep the union out of

  3    there.

  4    Q    So you were assisting management to -- you were union

  5    busting?

  6    A    If you want to look at it that way.

  7               MS. MERKL:     Objection.

  8               THE COURT:     I'm sorry.

  9               Overruled.     The answer stands.

 10               Go ahead.

 11    BY MR. JASPER:

 12    Q    And so what did you charge for that fee?

 13    A    When I inherited, it was Philly Lucky and Chubby Bono,

 14    they had Kennedy Airport.      So when Philly Lucky died, Chubby

 15    Bono come to me and we were partners.        At that point, we were

 16    getting ten thousand a monthly.        He got five thousand and I

 17    got five thousand.

 18    Q    And the types of unions, were they at the airport, just

 19    generally?

 20    A    They were trucking companies, Counselor.

 21               And I got the five thousand.        I didn't keep it.     It

 22    went to the family.

 23    Q    It went to the family?

 24    A    It went to the Bonanno Family.

 25    Q    As part of a tribute?

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  1    A    Yes.

  2    Q    And what was your rank at the time?

  3    A    I was a captain.

  4    Q    So, you were kicking money up?

  5    A    The money went to Sally Ferrugia, Stevie Beef and Phil

  6    Rastelli.

  7    Q    And the food trucks that you were working in the area,

  8    you weren't just servicing in terms of sandwiches and heroes

  9    and sodas and the like, is that correct?

 10    A    Correct.

 11    Q    You were also running numbers out of there?

 12    A    I was picking up numbers back then, you had a dollar, the

 13    most you could put on a number.

 14    Q    And that was lucrative?

 15    A    Yes, it was.

 16    Q    Single dollars added up?

 17    A    Yes, they did.

 18    Q    And when I say numbers, that's what you referred to --

 19    A    It's like lotto, same thing, you pick three numbers.

 20    Q    And then you check in some way to see whether or not your

 21    numbers hit a customer, you were checking someone?

 22    A    Correct.

 23    Q    And then if they hit, they would --

 24    A    I would pay them the next day.

 25    Q    Now, you personally wouldn't pay them, but did you

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  1    have --

  2    A    No, I would pay them.

  3    Q    You paid them yourself?

  4    A    Correct.    I was taking the numbers for myself.         I was the

  5    only one involved.

  6    Q    There was no -- okay.

  7    A    No, not at that point.

  8    Q    That was later on?

  9    A    Correct.

 10    Q    Did you ever -- in this case, in your Georgie Sciascia

 11    case --

 12    A    Correct.

 13                I didn't hear you.     I'm sorry.    I didn't hear what

 14    you said.

 15    Q    Withdrawn.

 16                Did you ever enter into a forfeiture order with the

 17    government?

 18    A    I had to forfeit when I was found guilty for 12,300,000.

 19    And I paid it.

 20                THE COURT:    Let's get a time.

 21    BY MR. JASPER:

 22    Q    When do you remember paying that?

 23    A    June 23rd, 2005.

 24    Q    Now, one of the reasons that you remember that is that

 25    was that close to the time when you signed, actually signed a

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  1    cooperation agreement?

  2    A    That is the day I signed it, the plea agreement.

  3    Q    And you say you turned it over, you didn't actually

  4    physically turn it over yourself, is that correct?

  5    A    No, correct, I was in prison.

  6    Q    A member of your family turned it over?

  7    A    My wife.

  8    Q    And one of the things that was turned over I think

  9    were -- was cash?

 10    A    Correct.

 11    Q    About $7 million or so, thereabouts?

 12    A    It's fair to say.

 13    Q    And you turned over also, at that time, something like

 14    267 gold bars?

 15    A    I believe it was more than that.

 16    Q    How many gold bars were turned over to --

 17    A    Maybe four or five hundred.

 18    Q    Where did -- where did you keep these gold bars?

 19    A    I had them in my basement.

 20    Q    Basement of your house in Howard Beach?

 21    A    Correct.

 22    Q    And the cash was there also?

 23    A    It was in the attic.

 24    Q    Was it all up there, or did you have other people holding

 25    it for you?

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  1    A    I had it all up there.

  2    Q    And this forfeiture order with the government, you

  3    relinquished ownership in also real property?

  4    A    Five houses.

  5    Q    Five houses?

  6    A    Correct.

  7    Q    But the government, after negotiation, the government let

  8    you keep some houses?

  9    A    That's because I paid my forfeits, yes.

 10    Q    I understand.     But, my question is, the government

 11    permitted you to retain certain real properties, is that

 12    correct, sir?

 13    A    That's correct.

 14    Q    And what you were permitted to retain was your residence

 15    in Howard Beach, right?

 16    A    Correct.

 17    Q    That was important to you, correct, sir?

 18    A    My wife lived there.

 19    Q    Your wife lived there.       And another real property was

 20    also permitted for you to hold on to?

 21    A    Yes.

 22    Q    And would you tell us which one that was?

 23    A    My mother lived there.

 24    Q    And that house was -- you kept that one, also?

 25    A    Correct.

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  1    Q    So, in part of your deal, the government permitted you to

  2    have places for your mom and your wife to live, correct?

  3    A    Correct.

  4    Q    Was there any other homes that were -- the government

  5    permitted you to retain possession of?

  6    A    Yes.

  7    Q    What were those, sir?

  8    A    I got a house, I got a piece of property in Brighton

  9    Beach, Brooklyn, and I got five houses in Howard Beach.

 10    Q    Which you were able to retain possession of?

 11    A    Correct.

 12    Q    So you gave up five houses and you kept five houses?

 13    A    That's fair to say.

 14    Q    Now, those five houses, they are income producing?

 15    A    That's how my wife lives.

 16    Q    Your answer is that they are income producing, correct?

 17    A    Correct.

 18    Q    And the income derived from those homes permits your wife

 19    to live?

 20    A    Correct.

 21    Q    And she doesn't have to work, right?

 22    A    Correct.

 23    Q    Now, around the time that you entered into this

 24    cooperation agreement -- we'll go into more detail later --

 25    but around this time, you had learned that it was -- it was

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  1    possible to enter into that cooperation agreement because the

  2    Attorney General of the United States had decided not to seek

  3    the death penalty against you, is that correct?

  4    A    Like I said before, I wasn't concerned about that.

  5    Q    I understand.

  6    A    If you like, I'll explain it to you.

  7    Q    Well, can I just ask you?

  8    A    Go right ahead.

  9    Q    You were able to sign that, in part, because the death

 10    penalty had been lifted from your situation, is that correct?

 11    A    That's correct.

 12    Q    And was that around that same time that you had decided

 13    to plead guilty to the George Sciascia murder?

 14    A    Correct.

 15    Q    I want to ask you a couple of questions about that

 16    murder.

 17               George Sciascia was a well-liked captain in the

 18    Bonnano Family?

 19    A    That's correct.

 20    Q    You had known Georgie yourself for quite some time?

 21    A    I thought the world of him.

 22    Q    You thought the world of George Sciascia?

 23    A    Correct.

 24    Q    You liked him?

 25    A    Yes, I did.

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  1    Q      You enjoyed his company?

  2    A      Yes, I did.

  3    Q      You thought he was a good guy?

  4    A      Yes, I did.

  5    Q      But you, unfortunately, had to order his murder, correct?

  6    A      That's correct.

  7    Q      Now, do you know a captain -- the name TG is familiar to

  8    you?

  9    A      That's Anthony Graziano.     He's a captain in the Bonnano

 10    family.

 11    Q      And did TG have a drug problem?

 12    A      Yes, he did.

 13    Q      And his drug problem was well known in the Bonanno

 14    family?

 15    A      That's correct.

 16    Q      And Georgie Sciascia did not like that a captain, a

 17    captain in the Bonanno family was a drug user?

 18    A      That's correct.

 19    Q      And Georgie made statements about TG's drug use?

 20    A      Correct.

 21    Q      Georgie made statements about TG's drug use getting out

 22    of control?

 23    A      He didn't say it was getting out of control, but he was

 24    saying he's coke head.      He was looking to kill him.

 25                THE COURT:    Can we get a time frame now?

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  1                MR. JASPER:    Yes, Judge.

  2                THE WITNESS:    I'm going to say 1998, '97, '98.

  3    BY MR. JASPER:

  4    Q    And TG was a close friend of yours?

  5    A    He became a close friend of mine, yes.

  6    Q    And you did not like the fact that Georgie had made these

  7    comments about TG's drug use?

  8    A    He was looking to kill him, and I said I'm going to go

  9    and talk to him.     I went and talked to him.       I told him,

 10    "Listen, don't answer me.      I'm going to tell you, I hear

 11    you're snorting coke.      If you continue to snort coke, I'm

 12    going to kill you and throw you in the street.          That's your

 13    decision." He swore on his kids he wouldn't do it anymore, and

 14    I accepted it.    And, as far as I know, he didn't.

 15    Q    Having accepted TG's explanation, you did not like the

 16    fact that Georgie had spoken and spoke often about TG's drug

 17    use, correct?

 18    A    Not really.     He was doing his job.      He was telling me

 19    something about somebody was using coke, he reported it to me.

 20    Q    And this was a captain -- withdrawn.

 21                Did you -- did you have a policy in the family about

 22    drug use?

 23    A    Correct.

 24    Q    What was the policy?

 25    A    Nobody's to use drugs.

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  1    Q    And that was not just for soldiers and associates, that

  2    went for captains, too?

  3    A    That went for everybody.

  4    Q    And so, George from Canada was concerned about this

  5    example of what, we have a captain who's a coke head?

  6    A    Let's just say he didn't like him.         They had words prior

  7    to that.   He was looking to have --

  8    Q    And you also had testified over the last couple of days

  9    about your concern about members and associates who used

 10    drugs, right?

 11    A    Correct, especially if they were involved with murder.

 12    Q    Especially involved in murder?

 13    A    Correct.

 14    Q    And but, also, if they're a captain, and know details

 15    about murders?

 16    A    Correct.

 17    Q    That's problem also, right?

 18    A    Correct.

 19    Q    But --

 20    A    I gave him a warning.       He swore he would never touch it

 21    again, and I took his word on it.        I gave him a pass.

 22    Q    And he broke that word, though, didn't he?

 23    A    No, he didn't.

 24    Q    Well, when Georgie made this comment, did that have

 25    something to do with your wanting to exercise your power and

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  1    murder Georgie Sciascia?

  2    A      I killed Georgie Sciascia because he killed a wiseguy's

  3    son.    You can't kill a wiseguy's son without getting an okay

  4    from the underboss, not you.       As much as I didn't want to kill

  5    him, I had to kill him.      Otherwise, everybody would be --

  6    would come back again.

  7    Q      Now, is this the Frank Catrone situation?

  8    A      Montreal, Canada.    That's correct.     He killed his son.

  9    Q      So George had the son of this wiseguy killed in Canada?

 10    A      Montreal, Canada, correct.

 11    Q      And the son had gotten into a fight with one of Georgie

 12    Sciascia's relatives?

 13    A      I believe it was his nephew.

 14    Q      And the son who got killed, he broke the nephew's jaw?

 15    A      Correct.

 16    Q      And did Georgie Sciascia ask for your permission?

 17    A      No, he didn't.

 18    Q      He didn't get your okay?

 19    A      No.   That's why he died.

 20    Q      He died because he refused to go -- Georgie Sciascia

 21    died, in your view, because he killed somebody without getting

 22    an okay, right?

 23    A      Correct, the wiseguy's son.

 24    Q      And that was a very serious violation in your view,

 25    right?

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  1    A    As far as I was concerned, yes.

  2    Q    That was a violation in which it had to be dealt with?

  3    A    He had to die, yes.

  4    Q    As much as you --

  5    A    Didn't want to do it, I had to do it.

  6    Q    It hurt you to do that?

  7    A    Yes, it did.

  8               MR. JASPER:     Your Honor, would this be a --

  9               THE COURT:     Is this a good point for you?

 10               MR. JASPER:     Yes, it is, Your Honor.

 11               THE COURT:     All right.    We'll take our lunch break

 12    now, 'til 2.

 13




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  1




 19    BY MR. JASPER:

 20    Q    Mr. Massino, when we broke for lunch, we were talking

 21    about the Georgie Sciascia murder, and you were telling us how

 22    it bothered you to have to have him order his murder, and you

 23    recall that?

 24    A    Yes, I do.

 25    Q    Because George from Canada had killed the son of a made

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  1    member in Montreal, made member of the Bonnano Family in

  2    Montreal, you felt that that had to be done?

  3    A    Absolutely.

  4    Q    In having Georgie murdered, was it your intent to send a

  5    message to the family at large?

  6    A    One hundred percent.

  7    Q    It was?

  8    A    Yes.

  9    Q    And what was that message?

 10    A    You cannot kill a wiseguy's son.        You cannot kill

 11    somebody without the boss's okay.        He killed a wiseguy's on

 12    his own.

 13    Q    Without the boss's okay?

 14    A    Without my permission.

 15    Q    Now, you gave that piece of work to Patty DeFilippo?

 16    A    That's correct.

 17    Q    And despite the fact that it hurt you, you said to Patty,

 18    "Kill him, take your time.       It's no emergency," do you recall

 19    that?

 20    A    Exactly.

 21    Q    And when Georgie was shot, who else was doing that piece

 22    of work?

 23    A    Patty DeFilippo who was the shooter, Johnny Joe drove the

 24    truck and it was Michael Nose involved.

 25    Q    Michael Nose was involved in the shooting of Georgie

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  1    Sciascia, correct?

  2    A    He wasn't involved in the shooting, he was involved in

  3    throwing the body in the street.

  4    Q    And that Michael Nose, that's Michael Mancuso?

  5    A    That's correct.

  6    Q    Who eventually became an acting boss after Mr. Basciano

  7    was arrested?

  8    A    That's correct.

  9    Q    And so, did you approve or okay Michael Nose being

 10    assigned to that, that assignment?

 11    A    I didn't know he was there till after the fact.

 12    Q    But, when you found out that he was assigned to it, you

 13    didn't have a problem with that?

 14    A    I have no problem with it at all.

 15    Q    And that was because you felt Michael Nose was capable?

 16    A    I didn't even know they could use Michael Nose, I didn't

 17    know nothing about it.

 18    Q    Who chose Michael Nose for that?

 19    A    I got assume Patty DeFilippo, he was in his crew.

 20    Q    Now, what happened was Patty shot him in the back of the

 21    head, is your understanding?

 22    A    No.

 23    Q    What's your understanding of that?

 24    A    Patty was sitting in the passenger side and George jumped

 25    in the truck and sat behind Patty and Patty turned around and

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  1    he shot him four or five times.

  2    Q    And that occurred in Manhattan?

  3    A    Around in New York city, correct.

  4    Q    And George, was his home base so to speak was the Bronx?

  5    A    Correct.

  6    Q    And they drove him up to the Bronx?

  7    A    They drove him up to the Bronx and met Michael Nose.

  8    Michael Nose jumped out of his car, jumped in the truck with

  9    Johnny Joe.    Patty jumped out of the truck, went into the car

 10    that Michael brought.      Patty got lost, Johnny Joe and Michael

 11    took the body and they threw it in the street in the Bronx.

 12    Q    Now, I'm sorry, Patty got lost, he didn't get lost?

 13    A    No, he got -- he got -- he left.

 14               THE COURT:     He left?

 15               THE WITNESS:     As far as he got in the car, he went

 16    out of the car.     He just got lost.     He got away from there.

 17               THE COURT:     He got away?    All right.

 18               Go ahead.

 19               THE WITNESS:     I guess maybe he had blood on his

 20    clothes, whatever.     He took off.

 21    BY MR. JASPER:

 22    Q    Now, after Georgie -- after this happened, you sent word

 23    out to the family that would make it seem as though you did

 24    not know who had committed the murder of Georgie Sciascia, is

 25    that correct, sir?

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  1    A      That's correct.

  2    Q      And the way in which you did that was -- one of the ways

  3    in which you did that was that you had the members of the

  4    Bonnano Family indicate that they were investigating the

  5    murder of Georgie Sciascia, correct?

  6    A      That's correct.

  7    Q      It was really nothing to investigate, because it was a

  8    sanctioned hit, right?

  9    A      Correct.

 10    Q      Now, you said earlier that it was an intended -- that the

 11    murder of George Sciascia was intended to send a message,

 12    correct?

 13    A      That's correct.

 14    Q      But you told the members of your family to basically

 15    pretend as if they didn't know what happened?

 16    A      Correct.

 17    Q      And to further that -- well, did you want the mob

 18    community at large to know that Georgie was a sanctioned hit?

 19    A      The other mobs asked me if I needed any help.         I said,

 20    "If you find out who did it, let me know."

 21    Q      In that answer, does that mean that you did not want the

 22    other families to know that you had been behind the Georgie

 23    hit?

 24    A      I felt it was none of their business, correct.

 25    Q      And in feeling that it was none of their business, you

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  1    essentially ordered the family members to lie to the rest of

  2    the mob community, is that so?

  3    A    That's so.

  4    Q    And you felt that was your call?

  5    A    Correct.    It was my call.

  6    Q    You had the right to do that?

  7    A    Yes.

  8    Q    Do mob members often lie to each other?

  9    A    All the time.

 10    Q    It's a common occurrence?

 11    A    It a way of life in the mob.

 12    Q    And it's a way of life in the mob because people want to

 13    conceal what they're true motives are very often?

 14    A    A lot of them got motives, correct.

 15    Q    And they're -- everybody is trying to -- has a different

 16    angle so to speak?

 17    A    That's fair to say.

 18    Q    Playing a different angle?

 19    A    Correct.

 20    Q    So, one of the ways to conceal what your real target is

 21    by camouflaging it somewhat, right?

 22    A    Right.

 23    Q    Fair statement?

 24    A    Fair statement.

 25    Q    And so, however, the inner circle of the Bonnano Family,

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  1    did they know where this came from?

  2    A    I got a believe they had an idea, but they weren't going

  3    to question me.

  4    Q    So, in the mob, people get -- they weren't going to

  5    question you, certainly, right?

  6    A    Correct.

  7    Q    No one was going to come to Joe Massino and say, "Hey,

  8    Joe, why did you clip George.       He's a popular guy," et cetera,

  9    that didn't happen?

 10    A    No.

 11    Q    And wouldn't happen?

 12    A    No.

 13    Q    Because your rule is that absolute?

 14    A    Correct.

 15               MS. MERKL:     Objection.    What rule?

 16    BY MR. JASPER:

 17    Q    Your rule, your hand, the control that you had over the

 18    family was that strong, was that absolute that no one would

 19    question you?

 20    A    I was the boss, nobody can question the boss.

 21    Q    And so, it's your belief that the family knew that this

 22    came from Joe, though, we have to be quiet about it?

 23               MS. MERKL:     Objection; calls for speculation.

 24               THE COURT:     Sustained.

 25

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  1    BY MR. JASPER:

  2    Q    Well, you wanted people to get the message on the inside,

  3    but not on the outside, outside of the family, is that

  4    correct?

  5    A    That's fair to say.      I was concerned in my family.

  6    Q    You major concern was --

  7    A    The Bonnano Family, correct.

  8    Q    You didn't really care what the other four families

  9    thought about it --

 10    A    Not at all.

 11    Q    -- about this particular incident?

 12    A    Correct.

 13    Q    This was an in-house matter?

 14    A    That's fair to say.

 15    Q    And in projecting that image that you wanted to project

 16    regarding Georgie that you didn't really know who did it, you

 17    had the members of the Bonnano Family actually attend

 18    Georgie's funeral?

 19    A    Yes, I did.

 20    Q    And that was, again, a part of the image that you wanted

 21    to convey, is that fair?

 22    A    Correct.

 23    Q    I want to ask you a question -- some questions about

 24    something that was raised on direct examination regarding what

 25    may have been your first contact with a federal criminal case,

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  1    back in '90 -- back in 1975, when you were arrested on that

  2    matter, I think was in Queens, involving a truck.           You were

  3    trying to get a truck and you got indicted for that.           Do you

  4    remember that?

  5    A    Correct.

  6    Q    Now, what was -- what would be that charge there in that

  7    case?

  8    A    I believe it was a stolen truck.

  9    Q    And the FBI was very close on your heels that day or

 10    night?

 11    A    It was that morning, yes.

 12    Q    That morning?

 13               And tell us how you were able to evade immediate

 14    arrest that day?

 15    A    Well, I was involved, Sonny Black, Booby, Ray Ween drove

 16    the truck and a guy Wayne Johnson was in the car with me.

 17               I'm on Russ Street, and there's a diner, Clinton

 18    Diner, comes to a triangle.       I spot the trailer.     Behind the

 19    trailer I spot an agent by the name of Pat Colon.           Who's

 20    behind them is Sonny Black and Booby.        They didn't make him.

 21               He stops at the light.       The trailer is on like the

 22    wrong side of the street and I tell him, "You got the FBI

 23    behind you.    Get lost."    He makes a right.     The FBI makes a

 24    right.   I make a right.

 25               By the time I go around the block and come back, the

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  1    FBI's got him out of the car.       He stops him me and he said,

  2    "Joe, pull over."     I said, "I got to go to the bathroom.         I be

  3    right back."     I take off.   I go around the corner.       I called

  4    my lawyer.    He says, "Go back."     I went back and they arrested

  5    me.

  6    Q     So that's another indication of where you were one step

  7    ahead of law enforcement?      You had a chance to see them

  8    before -- before getting arrested, right?

  9    A     Correct.

 10    Q     You spotted this agent that you knew to be in the Bonnano

 11    squad?

 12    A     From prior surveillance, correct.

 13    Q     Prior surveillance, and in the surveillance that the FBI

 14    was doing, that Bonnano squad was doing on you, you actually

 15    had conducted counter-surveillance on them, right?

 16    A     I tried to, yes.

 17    Q     And you did, and you were successful, right?

 18    A     Yes.

 19    Q     Because you were able to identify an agent who was

 20    actually assigned to the squad that was supposed to be looking

 21    out for you guys, right?

 22    A     Yes.

 23    Q     And so, you told him that you were going to go to the

 24    bathroom, and did they respond?

 25    A     Before he said anything, I took off.

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  1    Q    And when you got to where you were going, you picked up

  2    the phone and you called a lawyer?

  3    A    Correct.

  4    Q    And the lawyer said, "Go back"?

  5    A    Correct.

  6    Q    And present yourself to them and whatever happens,

  7    happens?

  8    A    Correct.

  9               MS. MERKL:     Objection.

 10               THE COURT:     Sustained as to what the lawyer said.

 11    BY MR. JASPER:

 12    Q    After having the conversation with this lawyer, don't

 13    tell me what the lawyer said, after having this conversation

 14    with the lawyer, you went back?

 15    A    Correct.

 16    Q    And you were arrested?

 17    A    Correct.

 18    Q    Now, this is a case where I think you said that you --

 19    you testified actually in Court?

 20    A    Yes, I did.

 21    Q    And that case was in?

 22    A    Eastern District, Brooklyn.

 23    Q    Eastern District, Brooklyn?        And this was 1975?

 24    A    1975 of March.

 25    Q    So, you were in the building next door, old building?

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  1    A      I don't know where I am now, the old building, yes.

  2    Q      And did you testify at a suppression hearing?

  3    A      I testified at a hearing.     I don't know what it was

  4    called.

  5    Q      And the hearing that you testified at, was it to

  6    challenge the validity of the arrest?

  7    A      Correct.

  8    Q      And the validity of the evidence in question, did it have

  9    to do with statements that you made, if you recall?

 10    A      No, I don't recall.

 11    Q      But it had to do with some evidence issue?

 12    A      Yes.

 13    Q      And you testified and you took an oath?

 14    A      Correct.

 15    Q      Was it similar to the oath that you took a couple of days

 16    ago?

 17    A      Same one.

 18    Q      The same oath?

 19    A      The same oath.

 20    Q      And at that time, were you sitting a couple of feet away

 21    from a United States District Court Judge?

 22    A      Yes, I was.

 23    Q      And there was no jury involved, right?

 24    A      No.

 25    Q      And to your understanding, did the Judge have to make a

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  1    ruling regarding the evidence?

  2    A    He wanted to hear what I had to say.

  3    Q    Judge wanted to hear what you had to say?

  4    A    Correct.

  5    Q    And what did you tell that United States District Court

  6    Judge?

  7    A    My deli was right around the corner.         So, I said I was

  8    coming to my deli and the trailer cut me off.          So I got mad

  9    and we stopped for the light.       I went on the wrong side of the

 10    street and I cursed at him.       I was on my way to my deli.

 11    Q    And that was a lie?

 12    A    That was a lie.

 13    Q    And what was the result of that lie that you told in

 14    Federal Court back in 1975?

 15    A    Case got dismissed.

 16    Q    It was dismissed?

 17    A    Yes.

 18    Q    You were -- you were able to tell a believable lie to the

 19    Judge?

 20                MS. MERKL:    Objection.

 21                THE COURT:    Sustained.

 22    BY MR. JASPER:

 23    Q    You were able to lie successfully?

 24                MS. MERKL:    Objection.

 25                THE COURT:    You can answer.    You may answer.

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  1               THE WITNESS:     Yes.

  2    BY MR. JASPER:

  3    Q    I have a couple of other questions for you regarding

  4    another contact with law enforcement.        This going back to the

  5    time where you were on the lam, on the run, a fugitive, in the

  6    Poconos.   You told us about an incident where you were

  7    arrested for shoplifting?

  8    A    Correct.

  9    Q    And you were fingerprinted?

 10    A    Correct.

 11    Q    And you paid an $800 fine, I think you said?

 12    A    Seven, $800, correct.

 13    Q    Now, this is in Pennsylvania, right?

 14    A    Correct.

 15    Q    Now, your concern at that time -- your concern at that

 16    time was that it was your understanding that your fingerprints

 17    were going to go to Harrisburg?

 18    A    That's correct.

 19    Q    And in Harrisburg, you know, they check these prints out,

 20    they match up with Joseph Massino, you're going to -- you

 21    could be found out and picked up as a fugitive?

 22    A    Correct.

 23    Q    Now, do you know who Joe Russo is?

 24    A    Yeah.

 25    Q    Who's Joe Russo?

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  1    A    That was my alias.

  2    Q    That was you under a false name?

  3    A    Correct.

  4    Q    And the reason you told that false name was because you

  5    thought it was in your best interest to do so at the time?

  6    A    Yes.

  7    Q    And you were going to get ready, I think you said, to

  8    leave that location that you were at, but you had an idea, and

  9    that idea was, you knew a restaurant fellow in Harrisburg and

 10    you decided to give him a call?

 11    A    No, that's not true.

 12    Q    Well, what did you do?

 13    A    I didn't have no idea.       I was hanging out at a restaurant

 14    in Pennsylvania.     I was friendly with the owner.       I told him

 15    the story.    He said, "Wait a minute, Joe.       I got a state

 16    trooper in Lords Valley.      Let me see what I could do."        I said

 17    all right.    Let me know.    If not, I got to get out of here.

 18    State trooper said, I take the fingerprints and destroy them,"

 19    and that's what he did, and I stood there.

 20    Q    So that restaurant where you were eating at in

 21    Pennsylvania, he knew that you were a fugitive?

 22    A    Yes, he did.

 23    Q    Did he know your true name?

 24    A    Yes, he did.     He knew me from 20 years ago.

 25    Q    And so he made a phone call to your knowledge, to his

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  1    contact in the Pennsylvania State Police?

  2    A    Yes, in Lords Valley.       He was good friends with him.

  3    Q    Friends with him?      And those fingerprints, to your

  4    knowledge, disappeared?

  5    A    Correct.

  6    Q    Did you ever have to go back to court on that case?

  7    A    The shoplifting?

  8    Q    Yes, sir.

  9    A    I paid a seven, eight hundred dollar fine. It was

 10    dismissed.

 11    Q    So the matter that you took care of was the fingerprint

 12    matter that was going to the state capital in Pennsylvania?

 13    A    Correct.

 14    Q    Now, that wasn't the first time that you had been able to

 15    successfully bribe law enforcement officers in your long

 16    career, right?

 17               MS. MERKL:     Objection.    Misstates the testimony.

 18               THE COURT:     Sustained.

 19    BY MR. JASPER:

 20    Q    Well, you -- you were arrested, you were able to bribe a

 21    detective in the burglary squad in Brooklyn?

 22    A    Correct.

 23    Q    What year was that?

 24    A    I would say, I would say 1968.

 25    Q    And you were about 25, 26 years old at that time?

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  1    A      That that's fair to say.

  2    Q      And what were the charges?

  3    A      Breaking and entering, stolen trucks.

  4    Q      Stolen trucks?

  5    A      What happened is we stole two trucks.       When we got

  6    arrested, we didn't go back in the building.          And we took off.

  7    We seen them coming.      I looked under the truck, I seen guys

  8    jump out of the car.      We ran.   We ran down the dead end, me

  9    and another guy.      So we got arrested.    The other guys, couple

 10    guys got away.

 11                So he pinches us.     When he pinches us, he was

 12    punching me, I told him he hit like a fag.         He says, "You

 13    know, I like that.      Listen, we could do something."       I'm

 14    listening to him.     He says, "If you don't, I'm going to pinch

 15    you next week for the stolen trucks."        I still didn't answer

 16    him.

 17                Next week comes, they pinch me again for the stolen

 18    trucks.    He said, "Listen, you know Sally D?        He's a wiseguy

 19    in the Colombo family."      I said yes.    He said, "Tell him who I

 20    am.    Tell him what, what he thinks of me."       I seen him.      A

 21    good detective and he tells you something, his word is his

 22    bond.    I go back.   I said you got a deal for the 20,000?         He

 23    said, "Give me ten thousand now, and when you beat the case,

 24    give me the other ten thousand."        I gave him ten thousand.        We

 25    beat the case.    I gave him another ten thousand.

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  1    Q    Now, he said when you beat the case, not if you beat the

  2    case?

  3    A    No, when I beat it.

  4    Q    And he had some involvement in your beating the case?

  5    A    I guess whatever he was going to say as far as his

  6    testimony, what I was doing in the neighborhood.

  7    Q    And that case eventually was dismissed also?

  8    A    Yes, it was.

  9    Q    And it seems as though he took a liking to you after what

 10    you said to him?

 11    A    I guess because he punched me and I told him he hit like

 12    a fag.   That I didn't cry or something.        That he took a liking

 13    to me.

 14    Q    So even then at 25 or 26, you were a pretty tough kid?

 15    A    I wasn't a tough kid, you know, it is what it is.

 16    Q    Just didn't hit you hard enough?

 17    A    As he was hitting me, I was going back with the punch.

 18    So I really wasn't getting the punch.

 19    Q    And I think you had another incident where you paid a law

 20    enforcement official a few hundred dollars to take care of a

 21    case?

 22    A    That's correct.

 23    Q    And what was the charge there?

 24    A    I believe it was numbers in 1965, '66.

 25    Q    So you were a little bit younger, maybe 22, 23?

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  1    A    That that's fair to say.

  2    Q    And did you actually just -- was it your initiative that

  3    you were bribing this officer?

  4    A    I didn't bribe him.      He said to me for five hundred, this

  5    case will go away.     I told him you got it.

  6    Q    So it came from his end?

  7    A    Yes.

  8    Q    In your mind, it wasn't really a bribe?

  9    A    Yeah, sure it was a bribe.       I was still paying him five

 10    hundred dollars.

 11

 12




 16                (Pause in proceedings.)

 17




 20    BY MR. JASPER:

 21    Q    Mr. Massino, you also had told us when you testified

 22    earlier this week that one of the observations that you had

 23    made about law enforcement was that you had decided to

 24    prohibit members from going to social clubs run by the family,

 25    is that so?

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  1    A    I tried to, yes.

  2    Q    You tried to enforce that policy because you had

  3    determined that it was just easier for the FBI to surveil

  4    members of organized crime if they were all in one place

  5    socializing, playing cards, talking and that sort of thing?

  6    A    Correct.

  7    Q    And I think you told us that if you had 50 guys spread

  8    out, it may take more agents, 50 agents, or certainly more

  9    agents to keep people under surveillance, right?

 10    A    Correct.

 11    Q    So, it was -- that was your intelligence and thinking

 12    that came up with that as a policy, correct?

 13    A    It wasn't a policy.      I recommended it to close clubs.

 14    Q    And it made sense to you at that time, also, right?

 15    A    Yes.

 16    Q    Now, we've talked about some of the policies that you had

 17    brought about, one of the policies being you have to know

 18    somebody for eight years because you felt that the FBI would

 19    not invest that much time in an agent investigation in trying

 20    to become a wiseguy, that would be a lot of time for the FBI

 21    to use regarding one agent, is that correct?

 22    A    That's how I felt, correct.

 23    Q    And a lot of that was based upon the experience in the

 24    Donnie Brasco?

 25    A    That was the reason.

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  1    Q    He had been around for six years, and actually Sonny

  2    Black had wanted to induct him, right?

  3    A    Yes.

  4    Q    Now, one of the other policies or rules in organized

  5    crime is that if somebody is made, certainly a law enforcement

  6    officer cannot be made, is that a fair statement?

  7    A    Definitely.

  8    Q    And also, people who have been law enforcement officers

  9    in the past are not eligible for membership in organized

 10    crime, is that true?

 11    A    That's true.

 12    Q    Now, you told us that you knew your brother-in-law, Sal

 13    Vitale, since the time he was eight years old?

 14    A    Correct.

 15    Q    And you knew that there was a time when Sal had gone in

 16    the Army, right?

 17    A    Correct.

 18    Q    And you also knew that there was a period of time when

 19    Sal Vitale was a narcotics corrections officer?

 20    A    Didn't know that.      I was told he was a counselor.

 21    Q    A counselor?

 22    A    Yes.

 23    Q    When did you find that out, when did you find out that he

 24    had been a narcotics corrections officer?

 25    A    When he took the stand against me.

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  1    Q    That was the first time you found out?

  2    A    That's the first time.       If I knew it, I never would have

  3    made him.

  4    Q    And you known him since he was eight years old?

  5    A    Correct.    But he didn't come around me till 1976.

  6    Q    And you're married to his sister?

  7    A    That's correct.

  8    Q    And you never found that out?

  9    A    That's true, yes.

 10    Q    Did your wife know that you were in organized crime?

 11                MS. MERKL:    Objection.

 12                THE WITNESS:    I got to say she knew it.

 13                THE COURT:    Sustained.

 14                The jury will disregard the answer.

 15    BY MR. JASPER:

 16    Q    Now, you spoke to us earlier about some income-producing

 17    properties.    Can you tell us how much income is produced by

 18    those properties?

 19    A    As of right now?

 20    Q    Yes, sir.

 21    A    About, 260, 270,000 a year.

 22    Q    And those properties are in your wife or your name?

 23    A    They were in my wife's name.

 24    Q    And did you take your name off of those at some point?

 25    A    I believe when I came home from prison in '92, I put

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  1    everything under her name.

  2    Q    And the reason for that was what, sir?

  3    A    So I won't lose my property.

  4    Q    And so you wouldn't lose that property, is that because

  5    the properties that were being purchased by her you knew were

  6    illegal proceeds that you had earned, is that correct?

  7    A    No, it's not correct.       I had mortgages.     Some buildings I

  8    have two, three mortgage.      I didn't make any money, I broke

  9    even for the month.     But I bought that property as a

 10    retirement for when I would be 60 years old, that they would

 11    be paid off.

 12    Q    You had hoped to retire at some point from your mob?

 13    A    I didn't say the mob.       That would have been my income at

 14    60, or if something happened to me, my wife would have income.

 15    Q    Are you saying that that would be, more or less, income

 16    during your golden years?

 17    A    It would be a pension, fair to say.

 18    Q    And you told us that you had a number of illegal

 19    activities that you were working in, and most of that money

 20    that purchased these -- did you ever to put a down payment on

 21    that house?

 22    A    When I first bought property, a couple thousand dollars,

 23    that was it, two, three thousand.

 24    Q    And how much are those five houses that you were able to

 25    retain possession of are worth today, the value of them?

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  1    A    I got more than five houses.

  2    Q    You have more than five house?

  3    A    Right now?

  4    Q    Yes, sir.

  5    A    I got five, six, seven, eight houses.

  6    Q    Did you have these eight houses when you signed the

  7    cooperation agreement with the government?

  8    A    Yes, I did.

  9    Q    And can you tell us what the value of those houses are?

 10    A    Today?

 11    Q    Yes, sir.

 12    A    I'd say maybe three, four million.

 13    Q    Collectively, together?

 14    A    Five million dollars.

 15    Q    Now, did you have any arrangement with the government

 16    regarding the payment of taxes?

 17    A    Excuse me?

 18    Q    Do you have any arrangement with the United States

 19    Attorney's office regarding the payment of taxes?

 20    A    Taxes now?

 21    Q    Taxes, yes.

 22    A    My wife pays taxes every year on them.

 23    Q    And you turn those -- have you turned those over to the

 24    government?

 25    A    What, the money?

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  1    Q    Uh-hum (affirmative response).        No, the tax returns.      Do

  2    they ever ask to see those.

  3    A    They're more than welcome to see them if they want.

  4    Q    But they've never asked?

  5    A    No.

  6    Q    These eight houses that you had at the time of the

  7    agreement with the government, did the government ever seek to

  8    take those houses?

  9    A    They put a lien on everything.

 10                THE COURT:    They put a what?

 11                THE WITNESS:    They put a lien on everything.

 12                THE COURT:    Go ahead.

 13                THE WITNESS:    Lis pendens.    They put a lien.

 14    BY MR. JASPER:

 15    Q    What is the status us of those liens now?

 16    A    They're still on.

 17    Q    And those are liens by the government?

 18    A    Yes.

 19    Q    But there's been no action taken?

 20    A    No.    I paid the forfeit.

 21    Q    You made a statement to Mr. Basciano on the tapes, you

 22    said that financially you went backwards, and that the only

 23    people who seem to benefit financially in their activities in

 24    the mob were Sal, and Frank Coppa, and Frankie Lino, do you

 25    remember that?

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  1    A    Correct.

  2    Q    And was that true?

  3    A    Correct.

  4    Q    It was true that financially you went backwards?

  5    A    Hundred percent.

  6    Q    Can you explain that?

  7    A    Once I got pinched, everybody stopped paying.           My shylock

  8    money, I didn't get a dime in two years, and my sports

  9    business.    The airport went from 3,000 to 800 a month,

 10    everything just disappeared.

 11    Q    Well --

 12    A    Most of it.

 13    Q    Those eight houses didn't disappear.

 14    A    That had nothing to do with it.

 15    Q    Those eight houses didn't disappear?

 16    A    No.

 17    Q    And that's eight houses in addition to the home that your

 18    wife has, right?

 19    A    That's included.

 20    Q    That's included?

 21    A    Yes.

 22    Q    So it those two houses and six houses.          It's the mom's

 23    house, your wife's house?

 24    A    Correct.

 25    Q    Then six?

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  1    A      That's correct.

  2    Q      So you're saying you were -- so what your intention or

  3    your meaning was, you went backwards financially after your

  4    arrest?

  5    A      That's correct.

  6    Q      But you certainly didn't go backwards financially from

  7    the first time that you started in the mob, correct?

  8    A      No.

  9    Q      You did pretty well for yourself, is that --

 10    A      I think so.

 11    Q      Now, while you were engaged in the criminal activities,

 12    were you reporting all of the monies that you were making to

 13    the IRS?

 14    A      I reported everything that I made legitimate.         Yes, I

 15    did.

 16    Q      In your mind, that means that you did report?

 17    A      Everything that I earned legitimate, rent, pay,

 18    everything, I paid taxes.

 19    Q      And you did not report, I take it, all of the money that

 20    you made illegitimately?

 21    A      That's correct.

 22    Q      You had a forfeiture hearing, I think, at some point,

 23    regarding the case that you were convicted on?

 24    A      Correct.

 25    Q      Do you have any idea how much money that you made over

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  1    the course of your career?

  2    A    I have no idea.

  3    Q    Would you say it was in the millions?

  4    A    I would say.

  5    Q    Did the government ever speak to you about that at any of

  6    your proffer sessions?

  7    A    How much money did I make?

  8    Q    Sure.

  9    A    They might have.

 10    Q    They might have?

 11    A    I don't recall.

 12    Q    Did they ever tell you that you would have to file

 13    supplemental tax returns or amend your tax returns in order to

 14    comply with the cooperation agreement?

 15    A    I don't recall.

 16    Q    You do not recall?

 17    A    No.

 18    Q    Would it be fair to say if they had, that's something

 19    that you would have remembered?

 20    A    I would say so.

 21    Q    And as you sit here today, would you consider that to be

 22    a benefit that you have received from signing the cooperation

 23    agreement?

 24    A    Benefit as far as what?

 25    Q    Benefit as far as you not having to pay back taxes with

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  1    penalties on all of that money that you made while you were

  2    involved in organized crime.

  3    A    I gave most of it back.

  4    Q    Did you give back tax penalties?

  5    A    No.

  6    Q    And that would be tax penalties on millions of dollars,

  7    correct?

  8    A    That's correct.

  9    Q    You also mentioned on the -- on the tape at one point you

 10    were concerned, it seemed, about going to what you refer to as

 11    Colorado.

 12    A    Correct.

 13    Q    Was that a reference to the supermax at Florence,

 14    Colorado?

 15                MS. MERKL:    Objection.

 16                THE COURT:    Sustained.

 17    BY MR. JASPER:

 18    Q    Well, you indicated on the tape itself that the future

 19    for you is somewhat bleak, is that a fair statement?

 20    A    That's correct.

 21    Q    I'd like to ask you a question about a meeting that you

 22    said that you had with Mr. Basciano and Bruno --

 23    A    Correct.

 24    Q    -- a couple days before you were arrested.

 25    A    I believe January 7th.

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  1    Q    That's two days you were -- before your arrest on

  2    January 9th, 2003?

  3    A    That's correct.

  4    Q    Now, you told us that you believed, in your own mind,

  5    very, very seriously that you were about to be arrested, is

  6    that right?

  7    A    That's correct.

  8    Q    In your word, you think you knew that you were going to

  9    be pinched?

 10    A    Correct.

 11    Q    And one of the ways in which you had come to that

 12    conclusion is because you told us that you felt that you were

 13    under surveillance by the FBI 24/7, is that so?

 14    A    That wasn't the reason why I thought I was going to get

 15    pinched.

 16    Q    Why did you think you were going to get pinched.

 17    A    New Year's Eve at my restaurant, excuse me, and somebody

 18    told me Frank Coppa flipped.       So I knew once Frankie Coppa

 19    flipped, that I was going to be indicted.

 20    Q    Now, who told that you Frankie Coppa had flipped?

 21    A    I believe one of the lawyers told a wiseguy in my family.

 22    Q    And --

 23    A    That Frankie Coppa flipped.

 24    Q    And by flipped --

 25    A    He's cooperating.

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  1    Q    And just so I'm sure on this, would that have been the

  2    first official made member of the Bonanno Crime Family who had

  3    cooperated with the government?

  4    A    That's true.

  5    Q    Now, what do you remember -- well, do you remember what

  6    time frame we're talking about down here?

  7    A    As far as what?

  8    Q    When you heard this information that Frankie Coppa had

  9    flipped.

 10    A    I heard New Year's Eve at my restaurant.

 11               (Continued on the next page.)

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  1    CROSS-EXAMINATION (Cont'd)

  2    BY MR. JASPER:

  3    Q    2002?

  4    A    2002 to 2003, correct.

  5    Q    Now, one of the things that you had prided yourself on

  6    when you were personally conducting induction ceremonies was

  7    the fact that no official member had ever cooperated in the

  8    Massino family, is that so?

  9    A    I didn't say that.

 10    Q    Did anyone say that?

 11    A    Yes.

 12    Q    Who said that?

 13    A    Could have been one of the bosses, could have been one of

 14    the captains.    Everybody spoke at the ceremony.

 15    Q    It was a widely-known fact?

 16    A    Yes, it was.

 17    Q    And it was a fact to be proud of back then?          Back then it

 18    was something that you thought was a good thing, right?

 19    A    I knew it was only a matter of time, yes.

 20    Q    You knew it was only a matter of time?

 21    A    Before somebody would cooperate.

 22    Q    And that somebody was Frankie Coppa?

 23    A    Correct.

 24    Q    Now, at this point in time, January of 2003 your

 25    hierarchy was yourself, Joe Massino was the official boss,

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  1    right?

  2    A    Correct.

  3    Q    And was your brother-in-law, Sal, was he your underboss?

  4    A    He was my underboss.

  5    Q    And who was your consigliere?

  6    A    Anthony Spero, but he was incarcerated.

  7    Q    And so it was basically you -- well, you were always the

  8    boss and no one was higher than you, correct?

  9    A    That's correct.

 10    Q    Now, when you learned that information that, you know,

 11    you were about to get pinched in January 2003, early days of

 12    January 2003, is that the time when you decided to appoint an

 13    acting underboss in expectation of being arrested by the feds?

 14    A    I did it prior to that.       I had a committee.

 15    Q    And who was that committee?

 16    A    At that point, Tony Green, Joe Saunders and then I put

 17    Petey Rabbit, a three-man panel.

 18    Q    Petey Rabbit is Pete Calabrese?

 19    A    That's it.     Correct.

 20    Q    And so it was already in place when you were arrested?

 21    A    Correct.

 22    Q    Vinny Basciano was not on that list of administration

 23    panel as you prepared to be arrested by the feds, is that

 24    correct?

 25    A    That's correct.

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  1    Q    Vinny, at that time, was a captain up in the Bronx,

  2    right?

  3    A    Correct.

  4    Q    And Patty Defilippo was a captain up in the Bronx?

  5    A    Correct.

  6    Q    Now, when you were arrested January 9th, 2003, the agents

  7    came to your door.     It was early in the morning?

  8    A    It was 6:00 o'clock.

  9    Q    You were dressed and all ready for it, because you

 10    expected it, right?

 11    A    Yes.

 12    Q    It had been your experience that when agents are about to

 13    arrest somebody, they like to keep a close watch on them to

 14    make sure they don't disappear?

 15    A    Correct.

 16    Q    And that was, that was fairly obvious to you from your

 17    experience in countersurveillance?

 18    A    Correct.

 19    Q    They were all over the place, right?

 20    A    Correct.

 21    Q    And when the agents came, you actually, you had never met

 22    those particular agents who had, were the arresting agents, is

 23    that so?

 24    A    I knew from seeing them in surveillance.          They used to

 25    follow me.

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  1    Q    So you had never met them personally?

  2    A    No.

  3    Q    But your own countersurveillance, you were able to

  4    identify them as FBI agents?

  5    A    Two of them, yes.

  6    Q    The two arresting agents, right?

  7    A    There was a bunch of them.

  8    Q    You knew two of the agents who rode back to 26 Federal

  9    Plaza with you by name?

 10    A    Yes.

 11    Q    So even though you hadn't been introduced to them,

 12    through your diligence doing your homework, as you say, you

 13    knew the names of these agents, right?

 14    A    Yes.

 15    Q    And one of the agents, you even remarked, oh, you must be

 16    Kimberly, they just recruited you out of school, is that

 17    right?

 18    A    I said you, you and Jeff were recruited from accounting

 19    school.

 20    Q    You knew them?

 21    A    Yes, I did.

 22    Q    How did you know that?

 23    A    How did I know that?      They went to go see my accountant.

 24    They took all my books.      They told my accountant that they

 25    came to accounting school and wanted them to become FBI and

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  1    that's what they did.      That's how I knew that.

  2    Q    That's what they told your accountant?

  3    A    My accountant told me, yes.

  4    Q    What records were they seeking when they, when these FBI

  5    agents, who were good agents --

  6    A    Yes, they were.

  7    Q    -- intelligent agents?

  8    A    I would say so.

  9    Q    What records were these agents who were also accountants

 10    looking for from your accountant?

 11    A    They were looking at taxes.

 12    Q    Taxes?

 13    A    Yes.

 14    Q    And whose taxes were they looking at?

 15    A    They took mine, they Ken Caterman.

 16    Q    And these very diligent FBI agents who were accountants,

 17    they found a link between someone in your family and someone

 18    who ran and operated parking lots in Manhattan, is that true?

 19    A    That's correct.

 20    Q    And who was that person?

 21    A    I believe he was Barry.       I don't remember his last name.

 22    It was a Jewish guy.

 23    Q    Barry Weinberg?

 24    A    That's it.

 25    Q    And the person in your family who they were, they were

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  1    interested in following -- well, they were following checks, a

  2    trail of checks, is that true?

  3    A    Correct.

  4    Q    And they were very interested in some checks that were

  5    flowing from Barry Weinberg's parking lots to your wife,

  6    Josephine?

  7    A    That's correct.

  8    Q    And that was kind of the way that the whole, that was the

  9    beginning of how you got brought down, you might say?

 10    A    I didn't get brought down for that.

 11    Q    You got --

 12    A    Nothing came out of that.

 13    Q    I'm sorry?

 14    A    Nothing came out of that.

 15    Q    Nothing came out of that?

 16    A    No.

 17    Q    That you know of?

 18    A    The FBI agent got on the stand.        She said she did my real

 19    estate tax, they did everything.        Mr. Massino dots his I's and

 20    crosses his T's.

 21    Q    You have a very good accountant?

 22               THE COURT:     Let's have the next question, please.

 23    Q    But Mr. Weinberg, you ultimately learned, was cooperating

 24    with the government, right?

 25    A    I found out later on.

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  1    Q    So something did come of that, that trail of checks?

  2                MS. MERKL:    Objection as to Mr. Weinberg's --

  3                THE COURT:    I'm sorry.

  4                MS. MERKL:    Objection as to Mr. Weinberg's

  5    situation.

  6                THE COURT:    Overruled.

  7                MR. JASPER:    Can I have the question read back,

  8    please?

  9                THE COURT:    Yes.   Read back the question, please.

 10                (Record read.)

 11                THE COURT:    If you know.

 12    A    Nothing came out of that with my wife.          It was Richie

 13    Cantarella, his wife and my wife were partners in the parking

 14    lots, and that's when Barry was around, Richie Cantarella.

 15                Barry wore a wire on Richie Cantarella.         I didn't

 16    know Barry.

 17    Q    And did your wife invest any money in those parking lots?

 18    A    Whatever she did, she paid by check.

 19    Q    My question is, did she invest in those parking lots?

 20    A    Yes, she did.     She invested in some.

 21                THE COURT:    I'm sorry.

 22                MS. MERKL:    Objection as to what his wife did.        He

 23    needs to lay a foundation.

 24    Q    Do you know if your wife invested in those parking lots?

 25    A    Yes, she did.

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  1    Q    And the money that your wife invested in those parking

  2    lots came from your criminal proceeds, correct?

  3    A    No, it didn't.     It was check money.

  4    Q    It's check money?

  5    A    Correct.

  6    Q    What do you mean by that?

  7    A    Money that I made.      I hit lotto.    I paid taxes.     I hit

  8    maybe 400,000.    I paid 50 percent taxes on that money.

  9    Q    If I understand you correctly, you're saying that you hit

 10    the New York State Lottery?

 11    A    That's correct.

 12    Q    And when was this?

 13    A    When I came home from prison.        I was hitting, hit about

 14    five, six times.

 15    Q    Hit about five or six times?

 16    A    Hit all my granddaughters' birthdays.

 17    Q    Well, without getting into what those birthday dates are,

 18    let me ask you this question:       Did you purchase those lottery

 19    tickets from people who had won them by purchasing them in

 20    stores?

 21    A    I just told you, every number that I hit was my

 22    granddaughters', when they were born.        I bought the tickets.

 23    Q    And that was, you said about $400,000?

 24    A    Correct.    I hit five, six times.

 25    Q    During your proffer sessions, did the government ever ask

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  1    you how it was that you got that lucky?

  2    A    I just happened to get lucky.        401 was my number.      That's

  3    my granddaughter, April Fool's Day.

  4    Q    April Fool's Day?

  5    A    That's when she was born.       I hit that number three times.

  6    Q    On that one date?

  7    A    I hit it three different times.        Hit it for 100,000,

  8    50,000, 100,000, whatever, and I hit the year she was born,

  9    1994 for 100,000.

 10    Q    Do you still have -- when did this run of good luck

 11    occur?

 12    A    When they were born.      She was born in '94.      I have to say

 13    hit in '94, maybe '95.

 14    Q    Sometime during that year?

 15    A    Yes.

 16    Q    Now, regarding your wife, one of the things that you were

 17    able to negotiate with the United States Attorney's Office was

 18    an immunity for your wife?

 19    A    Correct.

 20    Q    And do -- I'm sorry.

 21                MR. JASPER:    Could I -- Judge, may I approach?

 22                THE COURT:    Yes, you may.

 23                MR. JASPER:    I'm showing the witness what's been

 24    admitted as -- well, it's, the Government Exhibit is 3500JM-1.

 25    I believe it's in evidence.

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  1               (Handing.)

  2               (Witness perusing document.)

  3    BY MR. JASPER:

  4    Q    Now, Mr. Massino --

  5               MR. JASPER:     Judge, I'm trying to --

  6    Q    Can you take a look at page 8 of section C?          Do you see

  7    that?

  8    A    Correct.

  9    Q    The office will not prosecute the defendant's wife,

 10    Josephine Massino or any of his daughters for money laundering

 11    for any federal crime committed before the date of this

 12    agreement.

 13               THE COURT:     All right.    You misread it.

 14               MR. JASPER:     I'm sorry?

 15               THE COURT:     You left out the word "other."

 16               MR. JASPER:     Sorry, Judge.

 17               THE COURT:     I just want to make sure we have it

 18    accurate in the record.

 19               Can you just reread it for us?

 20    Q    "The office will not prosecute the defendant's wife,

 21    Josephine Massino, or any of his daughters for money

 22    laundering or any other federal crime committed during,

 23    committed before the date of this agreement."

 24               Is it your understanding that "the office" refers to

 25    the United States Attorney's Office for the Eastern District

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  1    of New York?

  2    A    Correct.

  3    Q    And is it your understanding that this is what's known as

  4    immunity, that is that your, your wife and your daughters will

  5    not be prosecuted for money laundering, or any, any other

  6    federal crime?

  7    A    Correct.

  8    Q    Now, in paragraph -- you signed this agreement, is what

  9    you told us, when it was admitted into evidence, correct?

 10    A    Yes, I did.

 11    Q    Now, it also provides that at the end of that paragraph

 12    D, as in David, it talks about you providing truthful

 13    testimony regarding assistance to the government, correct?

 14    A    Correct.

 15    Q    Now, is it your understanding that in your case, the

 16    government has indicated that if you provide substantial

 17    assistance, they will make a Rule 35 motion to your sentencing

 18    judge, is that correct?

 19    A    Correct.

 20               THE COURT:     Can we have a sidebar a minute?

 21               MR. JASPER:     Yes.

 22               (Sidebar conference.)

 23               (Continued on next page.)

 24

 25

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  1                THE COURT:    All right.    You may proceed.

  2                MR. JASPER:    Thank you, your Honor.

  3    CROSS-EXAMINATION (Cont'd)

  4    BY MR. JASPER:

  5    Q    Mr. Massino, is your understanding that if you provide

  6    what's called substantial assistance to the government, that

  7    the government will then make a motion, what's called a Rule

  8    35 motion to your judge, correct?

  9    A    Correct.

 10    Q    And this motion would permit the court to reduce your

 11    sentence, is that your understanding?

 12    A    Possible.

 13    Q    It's possible, nothing --

 14    A    Nothing's written in stone.

 15    Q    Nothing's written in stone or guaranteed?

 16    A    Correct.

 17    Q    And you told us that you're serving consecutive life

 18    sentences?

 19    A    I got double life consecutive.

 20    Q    And my question to you regarding the truthfulness and

 21    the, regarding the truthfulness of your cooperation, that

 22    decision is within the sole discretion of the United States

 23    Attorney, correct?

 24    A    Yes.

 25    Q    They're the ones who make the decision as to whether or

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  1    not your testimony is truthful, right?

  2    A    Correct.

  3    Q    And without that Rule 35 motion, you will not, as you

  4    said earlier, see any light at the end of the tunnel, correct?

  5    A    Correct.

  6    Q    And it is certainly your fondest desire to get out of

  7    jail at some point in life while you're alive, right?

  8    A    I would hope so.

  9    Q    And that's your expectation?

 10    A    Yes.

 11    Q    You're not doing what you're doing to keep those two

 12    consecutive life sentences on you, right?

 13    A    Correct.

 14    Q    Now, sir, you had the clause in this agreement regarding

 15    the immunity of, the promise not to prosecute your wife and

 16    your daughters was something that you insisted on in this

 17    agreement?

 18    A    Yes.

 19    Q    And the reason you insisted on that is because it was

 20    your understanding that they might have some criminal

 21    exposure, is that a fair statement, sir?

 22    A    My wife, yes.

 23    Q    Your wife.

 24                And the exposure that you thought she might have was

 25    at least for money laundering?

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  1    A    Correct.

  2    Q    And in, in your understanding of money laundering, would

  3    be that, you know, funds that you gave to your wife that did

  4    come from illegal means, whatever she did with it then, if

  5    she, for example, put it in some type of legitimate business,

  6    that was, for lack of a better word, money laundering,

  7    cleaning the money, correct?

  8    A    To a certain extent.

  9    Q    Well, it was, also one of your concerns was that the, the

 10    origin, the source of those proceeds was being hidden or

 11    concealed in some fashion, and that, that was one of the

 12    things that troubled you about the money laundering charge

 13    that your wife might be, have liability for, is that correct?

 14    A    Correct.

 15    Q    Now, your wife, did you and your wife file joint tax

 16    returns or separate tax returns?

 17    A    Joint.

 18    Q    And so you boat signed off on those tax returns, correct?

 19    A    Correct.

 20    Q    And I think you already told us that you did not claim

 21    any of the illegal income on that tax return, correct?

 22    A    That's correct.

 23    Q    And to the best of your knowledge, neither did your wife,

 24    correct?

 25    A    No.

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  1    Q    That's correct?

  2    A    That's correct.      Excuse me.

  3    Q    Now, you married your wife in 1960?

  4    A    June 18th, 1960.

  5    Q    You've been together a long time?

  6    A    Since 1957.

  7    Q    And it's somewhat obvious that you, you care very deeply

  8    for her, is that correct, sir?

  9    A    That's correct.

 10    Q    And it's also equally clear that you care very much for

 11    your daughters as well, right?

 12    A    That's correct.

 13    Q    Mr. Massino, I'd like to ask you some questions about

 14    Bobby Capaccio.

 15                Bobby Capaccio was another murder that you were

 16    involved in, is that right?

 17    A    I was aware of it, yes.

 18    Q    And is that, is that a murder that you actually got

 19    coverage for in your plea, in your cooperation agreement?

 20    A    Yes.

 21    Q    And having covered for Bobby Capaccio's murder, it

 22    represented a promise by the United States Attorney's Office

 23    not to prosecute you for that, correct?

 24    A    Correct.

 25    Q    Now, could you just tell us, in Bobby Capaccio's murder,

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  1    how was it that you were involved and what happened to him?

  2    A    He was around the boss, Phil Rastelli.          They had a

  3    restaurant in Astoria, I believe, on 30th Avenue.

  4                When Phil Rastelli went away, he had something to do

  5    with the restaurant.      Bobby Copacio kept his money so Rusty

  6    was annoyed.    He gave the order to kill him.

  7    Q    And he gave that order, passed that order down through

  8    you, sir?

  9    A    No, not at all.

 10    Q    How did you get involved in, with that?

 11    A    I heard about it.      His brother told me.

 12    Q    And you, you, Rusty was in jail at the time?

 13    A    He was in Lewisburg Penitentiary.

 14    Q    And you were the acting -- what was your rank at that

 15    time while he was in at this particular time?

 16    A    I believe I was a captain in the Bonanno family.

 17    Q    And you were pretty much Rusty's I think you said eyes

 18    and ears while he was in jail?

 19    A    Yes.

 20    Q    Now, somebody else was also -- where was Capaccio

 21    murdered?

 22    A    He was murdered in an apartment in Brooklyn.

 23    Q    In Brooklyn?

 24                And this is sometime around 1985, approximately?

 25    A    I would say so.      If it was in '85, I was the underboss of

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  1    the Bonanno family.

  2    Q    So you -- he would -- Bobby Capaccio was murdered in

  3    Brooklyn, and someone was waiting for him, you found out, a

  4    Joe Palacio in Manhattan?

  5               Does that name ring a bell?

  6    A    No, it doesn't.

  7    Q    Does it ring a bell that Capaccio had to meet somebody

  8    back in Manhattan and that person was later killed, murdered?

  9    A    Correct.

 10    Q    And this person who was murdered in New York City,

 11    Manhattan, was a person who was waiting for the return of

 12    Capaccio, correct?

 13    A    That's correct.

 14    Q    And when the persons who were responsible for Capaccio's

 15    murder asked what to do with the person who was waiting in

 16    Manhattan, they contacted you, is that correct, sir?

 17    A    They contacted Rusty's brother.        Marty Rastelli was by my

 18    club when I was there.

 19    Q    You were there?

 20    A    It was my club.

 21    Q    But, well, you were there with Marty Rastelli?

 22    A    Correct.

 23    Q    And were you beeped by your brother-in-law, Sal Vitale,

 24    regarding that situation?

 25    A    Not at all.

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  1    Q    You were not beeped by Sal Vitale?

  2    A    No, I ain't got no beeper.

  3    Q    And so Marty Rastelli told the shooters of Capaccio to go

  4    back to Manhattan and kill this guy who was waiting for

  5    Capaccio, correct?

  6    A    No, that's not what happened.

  7    Q    Was Marty Rastelli there when he had -- were you there

  8    when he had this conversation?

  9    A    Yes, I was.

 10                What happened, Gabe came to the club.        He told

 11    Marty, go see your brother and tell him that Bobby Capaccio's

 12    son is waiting for him in New York and he's got a pistol.

 13                Now, if the father doesn't comes back, he knows I

 14    picked him up, he's going to kill me.

 15                He went to go see his brother.       His brother come

 16    back and he said, kill him, and he killed him.

 17    Q    Who said kill him?

 18    A    Rusty said to kill him.

 19    Q    And were you there?

 20    A    Yes.

 21    Q    You were there when that order was passed on?

 22    A    Correct.

 23    Q    You agreed with that order?

 24    A    He said kill him, and they killed him.

 25    Q    From your way of thinking, it was the right thing to do?

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  1    A    Correct.

  2    Q    Because you couldn't have this guy's son waiting out

  3    there with a pistol waiting for his father to come back?

  4    A    That's correct.

  5    Q    So he also was killed?

  6    A    Yes.

  7    Q    Simply for being at the wrong place at the wrong time?

  8    A    That's fair to say.

  9    Q    And he was a civilian, he was not in the life?

 10    A    I didn't know nothing about him.

 11    Q    Now, one, we had talked previously about messages going

 12    back and forth.     We've talked about people who were carrying

 13    messages back and forth.

 14                One person that I did not ask you about was an

 15    attorney named George Marone.       Are you familiar with that

 16    name?

 17    A    What's his name?

 18    Q    George Marone?

 19    A    You mean Gerard Marone.

 20    Q    Yes, Gerard Marone?

 21    A    Yes, I know him.

 22    Q    Gerard Marone was an attorney who carried messages from

 23    the street to you?

 24    A    Sometimes.

 25    Q    And what period of time was that?

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  1    A    He was involved in the case on my indictment with

  2    somebody pinched by, the name of a kid named Danny, and he

  3    represented Danny.

  4               So we would be at co-defendant meetings, he would

  5    represent Danny and I would be there.

  6    Q    I'd like to talk to you about one of the early murders

  7    that you were involved with, a young fellow by the name of

  8    Vito Borelli.

  9    A    Correct.

 10    Q    You remember that?

 11    A    Yes, I do.

 12    Q    Now, did you know Mr. Borelli personally, by the way?

 13    A    Yes, I did.

 14    Q    And how did you know him?

 15    A    He was affiliated with Phil Rastelli, and at one point

 16    was going out with Phil Rastelli's niece and that's how I got

 17    to know him.

 18    Q    And was he -- I take it he was not a wiseguy?

 19    A    He was an associate.

 20    Q    He was an associate who was dating a, the daughter of a

 21    ranking member?

 22    A    He was going out with Paul Castellano's daughter, which

 23    was the boss of the Gambino family.

 24    Q    And you were approached by a member of your family to

 25    help them out with, in killing Mr. Borelli?

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  1    A      That's correct.

  2    Q      And I think he you told us on direct that Mr. Borelli had

  3    made fun of Big Paulie Castellano?

  4    A      That's correct.

  5    Q      And it, the fun that he made of, was your understanding,

  6    that he made some reference to Mr. Castellano looking like

  7    Frank Perdue?

  8    A      Yes, he was a fag, looked like Frank Perdue.         He made

  9    fun.

 10                The daughter went back and told the father.

 11    Q      And after that, the decision was made to murder him,

 12    correct?

 13    A      Correct.

 14    Q      Now, your role in that, you played some role in that, did

 15    you not?

 16    A      My acting boss came to me, at that time was Salvatore

 17    Catalano.    He was close to Paul Castellano and he asked for a

 18    favor.    Salvatore Catalano come to me, Sonny Black and Anthony

 19    Rubino, and said I need this done, we need all the allies.

 20                We agreed to help him.      So we set him up.

 21                Anthony Rubino said he wanted to meet him at his

 22    cookie shop in New York City.       When he got there, I was there,

 23    John Gotti was there, Frankie DeCicco was there, Joe Watz,

 24    Angelo Ruggiero, Booby, Sonny Black.

 25    Q      That's, that's over ten people, is that correct?

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  1    A      That's fair to say.

  2    Q      And involving two different families, right?

  3    A      They asked for a favor, correct.

  4    Q      And when they asked for a favor, then you, you try to a

  5    oblige, if you can?

  6    A      I was told to, and I did what I was told to.

  7    Q      And this young -- do you know how old this guy was?

  8    A      The guy that got killed?

  9    Q      Yes.

 10    A      If he was alive, I'm going to put him on 60.

 11    Q      So -- sorry.

 12    A      He was younger than me.

 13    Q      And how did he die?

 14    A      He walked in to Anthony Rubino's warehouse and who was

 15    waiting for to kill him was John Gotti and Joe was -- he

 16    walked him.     They hit him on with heat ten times, they killed

 17    him.

 18    Q      He was beaten to death?

 19    A      No.    Shot to death.

 20    Q      By hit, you mean he was shot?

 21    A      Excuse me, yes.

 22    Q      And what happened, and then did you help in disposing of

 23    the body?

 24    A      We were going to take the body and put it in the truck.

 25    The truck didn't want to start so I called my brother-in-law.

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  1                I said you brought the truck here, did you do

  2    something, because we can't get the truck started.

  3                He said I'll be right there.

  4                He came with his car.     We pulled the car on the

  5    sidewalk and we threw the body in the trunk.

  6    Q      And so you, you had asked your brother-in-law, Sal

  7    Vitale, to come in and assist and provide a van so that the

  8    body could be taken away?

  9    A      That was the plan earlier, but the truck didn't start.

 10    Q      And so you had to call him and have him come and use his

 11    own personal car?

 12    A      No, I didn't tell him to come.      He said I would be right

 13    there.

 14                He came with his car and we threw the body in his

 15    car.

 16    Q      Now, regarding Cesare Bonventre, what did he do to

 17    justify or warrant death?

 18    A      Supposedly he was beating people in the drug business and

 19    he wasn't paying them, he was beating them.

 20                So when Phil Rastelli came home, Anthony Aiello went

 21    to go see him, he was around him, and he told him what Cesar

 22    was doing to him.

 23                So the old man was mad.      He sends for Cesare and

 24    they meet in Middle Village, Marty Rastelli's house.

 25                Who's there, Cesar, and then the captain by the name

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  1    of John Ligamatti and Phil Rastelli.

  2                He questions him.     Did you do this?     Did you do

  3    that?

  4                He said absolutely not.

  5                With this, he got an attitude.       He said, come on,

  6    John, let's get out of here, and they walked out and they

  7    left.    That's what he died for.

  8    Q    In a sense, a form of insubordination, is that correct?

  9    A    Disrespectful of the boss.       The boss didn't tell you to

 10    leave.

 11    Q    And did you ever tell your brother-in-law, Sal Vitale,

 12    that in, regarding the murder of Cesar Bonventre, that if

 13    Baldo Amato was around him, to kill Baldo, too?

 14    A    I saved his life.      He was supposed to go.

 15    Q    Who was supposed to go?

 16    A    Baldo Amato.

 17    Q    At that particular time with Cesare Bonventre?

 18    A    Correct.    He was supposed to go right after him.         He was

 19    his partner in shaking down drug addicts.

 20    Q    And they were part of a particular faction of the Bonanno

 21    family?

 22    A    They were wiseguys.      Cesar was a captain in the Bonanno

 23    family and Baldo Amato was a wiseguy in the Bonanno family.

 24    Q    But were they, were they from a particular place that

 25    might identify --

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  1    A    They came from Italy.       They were known as greaseballs, or

  2    zips.

  3    Q    They're also called sometimes zips?

  4    A    Yes.

  5    Q    And that's because of what?

  6    A    Being born in Italy and coming over here.

  7    Q    And so you, you deny that you say, said to Sal Vitale,

  8    that if Baldo's there, take, he goes, too?

  9    A    I never said that.      If I said it, he would be gone.

 10    Q    If you said that, he would be gone because there would be

 11    no questioning your authority?

 12    A    No, because Rusty wanted to kill him.         And I stopped it.

 13    I sent -- not that I stopped it.        I sent word.

 14                I said, listen, I'm not the boss.        I'm the

 15    underboss.    I said, what are we going to do, just keep killing

 16    and killing and killing?      He's listening to his captain.

 17                He turned around and he says, Joe's right.         He gave

 18    him a pass.

 19                THE COURT:    Sorry.   "He" meaning?

 20                THE WITNESS:    Baldo Amato, your Honor.

 21                THE COURT:    Who gave him the pass?

 22                THE WITNESS:    Phil Rastelli, the boss in the Bonanno

 23    family.

 24                THE COURT:    Continue.

 25                MR. JASPER:    Yes, your Honor.

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  1    BY MR. JASPER:

  2    Q    There's been some reference to Mr. Joseph Do Do Pastore?

  3    A    Correct.

  4    Q    And he was a person who you shared a cigarette business

  5    with, right?

  6    A    He was my partner.

  7    Q    He was your partner.      I split everything down the middle

  8    50-50?

  9    A    With the cigarette business, yes.

 10    Q    With the cigarette business.        And it came to your

 11    attention that some, some friends, some wiseguys wanted to

 12    kill him?

 13    A    That's correct.

 14    Q    And they asked for your help in setting him up?

 15    A    What happened at that time, I was an associate of the

 16    Bonanno family, and I wished to report that Nicky Glasses was

 17    the underboss, and acting boss of the Bonanno family.

 18                He said to me, come on, let's go for a walk.          So we

 19    went for a walk.

 20                He said, Joe Picatta came and Tutti        Franzese.    Joe

 21    Picatta is a captain, and he was on a panel running the

 22    Colombo family at that time.       Tutti Franzese was a wiseguy at

 23    that time.

 24    Q    And my question to you is, this was, this was a plan that

 25    was to take, occur, and the murder was to take place upstairs

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  1    from your deli?

  2    A    When I went for a walk with Nicky Glasses, he said

  3    they're coming for help they had a hard time to get him.            I

  4    says, I want you to help any way you can, we need allies.

  5                So, I agreed to help.

  6    Q    Now, did you have your brother-in-law borrow a sum of

  7    money from Do Do Pastore before he was murdered?

  8    A    Not true.

  9    Q    That never happened?

 10    A    No.

 11    Q    You never asked Sal to borrow $10,000 from him?

 12    A    No.

 13    Q    And you never, to your knowledge, Do Do Pastore never

 14    gave your brother $9,000 before he was murdered?

 15    A    Not to my knowledge.

 16    Q    And, but what you're saying is you never asked Sal --

 17    A    Correct.

 18    Q    -- to borrow?

 19    A    If he did it on his own, that's possible, but I don't

 20    think so.    Sal didn't need normally.

 21    Q    I'd like to talk to you about Tommy Zummo.          Tommy Zummo

 22    was someone who you also murdered, correct?

 23    A    Yes.

 24    Q    And that was in the '70s?

 25    A    1968.

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  1    Q      1968?    And in that case, you helped to set him up also,

  2    didn't you, tommy Zummo?

  3    A      I don't know if you want to say I set him up.         He was in

  4    the -- we went to a bar and he was there.

  5                  So Anthony Donato, me, Joe Pastore and Tommy Dileo,

  6    they says, we're going to go to my house.         When he leaves,

  7    just call and say that girl left so I was out in the bar.

  8    When he left, I picked up the phone and I said that girl just

  9    left.

 10                  They waited for him.   They waited for him in the

 11    lobby and they killed him in the lobby.

 12    Q      So you had a pretty good idea that that phone call was

 13    going to lead to his death, is that a fair statement?

 14    A      Not really.    We don't know if he was going to go home or

 15    not.    It was a shot.

 16    Q      It was a shot that --

 17    A      Maybe that he wouldn't went home, maybe he'd go to a

 18    girlfriend's house or something, but he went home.

 19    Q      So your role was to let them know if that girl left the

 20    bar so that they can kill him?

 21    A      If he showed up, yes, to kill him.

 22    Q      If he did show up?

 23    A      He did show up.

 24    Q      And he got killed?

 25    A      Yes.

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  1    Q    Now, you also had a concern, I think you told us, because

  2    somebody, when they shot Tommy Zummo, tripped and fell and the

  3    clip in the, it was an automatic, popped out?

  4    A    I put the bullets in the automatic and when they ran

  5    away, the clip went flying.       So we were worried about my

  6    fingerprints being on the clip but, evidently, they couldn't

  7    get the fingerprints on the clip.

  8    Q    So you had loaded that weapon?

  9    A    I put the bullets in the clip, correct.

 10    Q    Was that your gun?

 11    A    No.

 12    Q    It was a gun that you provided them with?

 13    A    No.    Anthony Donato had the gun.

 14    Q    Why were you loading the bullets in the clip?

 15    A    Because he handed me the gun and I put the bullets in the

 16    clip.

 17    Q    And then gave it to him?

 18    A    Yes.

 19    Q    You also told us about another murder that you were

 20    involved in, Tony Mira, Tony Mira?

 21    A    Yes.

 22    Q    Tony Mira was somebody who you felt was going to

 23    cooperate?

 24    A    No, I didn't feel that way.        What had happened, I was on

 25    Prince Street talking to Stevie Beef which was the consigliere

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  1    of the Bonanno family.      Sally Ferrugia comes, he was the

  2    acting boss of the Bonanno family, and I'm sitting down and

  3    having coffee.

  4               He said Joe, excuse yourself.        Stevie Beef says stay

  5    right there.    I sat there.     He tells Stevie Beef that Al

  6    Walker came to him with a piece of paper that told him Mira

  7    was a cooperator I believe for the DEA agents, and they wanted

  8    to kill him.    Stevie Beef gave the okay to kill him and they

  9    killed him.

 10    Q    In killing him, did you ask the shooters to check his

 11    socks because he always kept money in his socks?

 12    A    Absolutely not.

 13    Q    So --

 14    A    I didn't know who the shooters were until after the fact.

 15    Q    So you never said that to anybody?

 16    A    No.

 17    Q    You also told us about an attempt on Anthony Gilberti.

 18    Do you remember that?

 19    A    Yes, I do.

 20    Q    And this was involving a union situation?

 21    A    Correct.

 22    Q    And, again, this is somebody who was, felt might be a

 23    cooperator?

 24    A    Correct.

 25    Q    And what was the basis for that, if you recall?

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  1    A    Phil Rastelli, that was his brother-in-law, Anthony

  2    Gilberti.    Anthony Gilberti was the vice president of 814.

  3    Rusty's brother, he was a delegate or shop steward for 814,

  4    and they felt that he was going to cooperate and Rusty gave

  5    the order to murder him.

  6    Q    And you participated in it?        You agreed with that

  7    decision?

  8    A    They come and see me, I was a fugitive.          They come and

  9    tell me what to do and I went a long with it.

 10    Q    You went along with that?

 11    A    Yes.

 12    Q    What was your rank at the time?

 13    A    I was a captain.

 14    Q    You were a captain who was on the administration panel?

 15    A    Correct.

 16    Q    And you got coverage for your participation in that from

 17    the government?

 18    A    I was charged with that.       I was found guilty.

 19    Q    And what were you found guilty of?

 20    A    I believe conspiracy to murder.

 21                MR. GOLTZER:    Excuse me, your Honor.      Perhaps the

 22    jury might want to stretch.

 23                THE COURT:    All right.    That's a great idea.      You

 24    can just stand up for a moment.

 25                (Pause in the proceedings.)

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  1               THE COURT:     Is it all right if everyone else

  2    stretches too?

  3               MR. GOLTZER:     The stenographer needs to stretch.

  4               MR. JASPER:     Excuse me, your Honor, could -- this

  5    might be a good time to break because I was about to go into

  6    something I need some assistance on.

  7               THE COURT:     All right.




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  1




 14    CROSS EXAMINATION CONT'D

 15    BY MR. GOLTZER:     :

 16    Q    Mr. Massino, good afternoon.

 17    A    Good afternoon, Counsel.

 18    Q    Had you ever testified before, since you began

 19    cooperating?

 20    A    This is my first time.

 21    Q    And do you expect there will be a second time?

 22    A    Whatever they need me.

 23    Q    You haven't been told yet you've been needed?

 24    A    Not yet.

 25    Q    You've been cooperating now for how many years?

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  1    A    Since 2004.

  2    Q    So you've ' been cooperating for approximately seven

  3    years?

  4    A    Fair to say.

  5    Q    You signed your cooperation in June of 2005.           Is that

  6    correct?

  7    A    Correct.

  8    Q    On the day that you signed your cooperation agreement,

  9    did you consider yourself in any way to be a hypocrite?

 10    A    I didn't think about it.

 11    Q    It never occurred to you that what you were doing was a

 12    total renunciation of everything that you had stood for in

 13    your life?

 14    A    I really didn't care at that point.

 15    Q    What didn't you care about, anyone but yourself?

 16    A    No, my family.

 17    Q    Your Bonanno Massino Family?

 18    A    No, my wife and kids and my mother.

 19    Q    You killed people for violating the oath that they took

 20    of allegiance to you and your family.        Is that right?

 21    A    That's correct.

 22    Q    How many people did you kill for doing that?

 23    A    I don't know how many.

 24    Q    Have you no idea how many people you killed for violating

 25    an oath to the Massino Family?

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  1    A     I guess a few.

  2    Q     You guess?

  3    A     Yeah, that violated?

  4    Q     Can you think back and -- by the way --

  5    A     Yeah.

  6    Q     -- on direct examination you were able to tell this jury

  7    who was involved in which murder?

  8    A     What murder are you talking about?

  9    Q     Well, any murder.     How many murders did you testify upon

 10    direct examination?

 11    A     Maybe ten, 12, I didn't keep count.

 12    Q     Do you see the board?

 13    A     Yes.

 14                 MR. GOLTZER:   May we have the board held up for

 15    Mr. Massino, your Honor, the two exhibits?

 16                 THE COURT:   One of your people can hold it up.

 17                 MR. GOLTZER:   Thank you so much.

 18                 Can you put it on the table so Mr. Massino can see

 19    it.

 20    BY MR. GOLTZER:     :

 21    Q     Mr. Massino, can you see the people on this board from

 22    where you are?

 23    A     Yes, I can.

 24    Q     Are there people on that board who died for disloyalty to

 25    the Massino Family?

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  1    A    Correct.

  2    Q    Would you tell the jury which people on the board to your

  3    right died for this loyalty to the Massino Family?

  4               THE COURT:     You have to turn it --

  5    A    You got to move that over.

  6               THE COURT:     No, no, the board to his right, it's in

  7    your left hand.

  8    A    Right.

  9               THE COURT:     Okay, go ahead.

 10    A    George Sciascia.

 11    Q    George Sciascia somebody who died for disloyalty to the

 12    Massino Family?

 13    A    Correct.

 14    Q    Do you remember a fellow by the name of

 15    Richard Cantarella?

 16    A    Correct.

 17    Q    Richard Cantarella was a trusted captain in the

 18    Massino Family?

 19    A    Correct.

 20    Q    Trusted by you for a number of years?

 21    A    Correct.

 22    Q    The person you regularly met with at the Casa Blanca

 23    restaurant?

 24    A    Correct.

 25    Q    And you met with Mr. Cantarella after the murder of

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  1    George Sciascia.     Is that correct?

  2    A    Yes, that's correct.

  3    Q    You saw him on a number of occasions after the murder of

  4    George Sciascia?

  5    A    Correct.

  6    Q    And you met with him at the restaurant the Casa Blanca?

  7    A    Correct.

  8    Q    And didn't you tell Mr. Cantarella after the murder of

  9    George Sciascia, "That'll teach him for talking badly about

 10    one of my captains"?

 11    A    Absolutely not.

 12    Q    You absolutely deny it?

 13    A    Yes, I do.

 14    Q    Never happened?

 15    A    Never happened.

 16    Q    Now, you were -- who else on that board died for

 17    disloyalty the Massino Family?

 18    A    Trinny, Sonny Red, but I won't say for that.           They died

 19    power move.

 20    Q    A power move means trying to take over the family?

 21    A    Correct.

 22    Q    You indicated that money was not involved in your concern

 23    at that time.    Is that correct?

 24    A    No, my life was.

 25               MS. MERKL:     Objection, Your Honor, time frame.

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  1         Q      (By Mr. Goltzer) 1981, 1980, before the May

  2    5th murder.    Is that right?

  3    A    Correct.

  4    Q    You and your colleagues were concerned about --

  5                MS. MERKL:    Asked and answered.

  6                THE COURT:    He may answer.    Go ahead.

  7    Q    You and your colleagues --

  8                MR. GOLTZER:    It's just background, Judge.

  9    Q    You and your colleagues were concerned about survival?

 10    A    100 percent.

 11    Q    You weren't concerned about the money because you had

 12    control of it with Mr. Rastelli.        Correct?

 13                MS. MERKL:    Objection, Your Honor, asked and

 14    answered.    This has all been covered.

 15                MR. GOLTZER:    I'll withdraw the question.

 16         Q      (By Mr. Goltzer) You indicated the Massino Family

 17    had interests in California.       Is that correct?

 18    A    I didn't say we had interests in California.

 19    Q    Did you have anything?

 20    A    We have a wiseguy in California but I got nothing to do

 21    with California.

 22    Q    You don't get any tribute from California?

 23    A    No.

 24    Q    Did you get any tribute from Canada?

 25    A    Yes.

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  1    Q    How much?

  2    A    10,000 for Christmas.       And I split 5,000 with Sal Vitale,

  3    my brother-in-law.

  4    Q    What kind of benefit -- what kind of tribute, if any, did

  5    you get from Vegas?

  6    A    Nothing.

  7    Q    You wanted to send Patty DeFilippo to Vegas?

  8    A    That wasn't my idea, that was Vinny Basciano's idea.

  9    Q    You went along with it?

 10    A    Yes.    If he wanted to go to Vegas, yes.

 11    Q    Who else on that board died for disloyalty to the Massino

 12    Family?

 13    A    The only one on there that died was Trinny, Sonny Red.

 14    That's it.

 15    Q    There was -- you indicated to the jury you did ten years

 16    for nothing.    Is that correct?

 17    A    Correct.

 18    Q    And that was in connection with the union matter?

 19    A    Yes.

 20    Q    You tried to have somebody killed in connection with that

 21    union matter, didn't you?

 22    A    I didn't.

 23    Q    Who did?

 24    A    Phil Rastelli.

 25    Q    Phil Rastelli tried to have a potential cooperator

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  1    killed.    Is that correct?

  2    A     Correct.   That was his brother-in-law.

  3    Q     It didn't work, did it?

  4    A     Correct.

  5    Q     Now the brother-in-law was Phil Rastelli's wife's

  6    husband?

  7    A     No, it was his brother's wife.       His brother.

  8    Q     You said he tried to have his brother-in-law killed?

  9    A     Yeah, it was his brother-in-law.

 10    Q     Okay.   So he tried to have a family member killed?

 11    A     Correct.

 12    Q     Now, one of the oaths that was taken was to renounce your

 13    natural family in favor of the Massino Family.          Is that

 14    correct?

 15    A     Correct.

 16    Q     That wasn't the first time that somebody in the family

 17    arranged for the murder of a relative as far as you knew, was

 18    it?

 19    A     It happens all the time.

 20    Q     How many times did it happen that you're aware of that a

 21    natural relative was involved in the murder of another natural

 22    relative at your or Mr. Rastelli's order?

 23                MS. MERKL:    Objection, Your Honor, compound.

 24                MR. GOLTZER:    I'll rephrase it.

 25    Q     Al Walker, do you know him?

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  1    A    Yes, I do.     He was a wiseguy in the Bonanno Family.

  2    Q    Was Al Walker involved in the murder of one of his

  3    relatives?

  4    A    Yes, he was.

  5    Q    Who was the relative?

  6    A    Tony Mirror.

  7    Q    And what was Tony Mirror's sin that warranted his

  8    execution?

  9                MS. MERKL:    Objection, asked and answered.       It's all

 10    been covered.

 11                THE COURT:    You may answer.

 12    A    Somebody went to Al Walker and brought a piece of paper

 13    that showed Tony Mirror was cooperating with DEA agents.

 14    Q    DEA being the Drug Enforcement Administration?

 15    A    Correct.

 16    Q    And did you see that piece of paper?

 17    A    No, I didn't.

 18    Q    Do you know who else saw the piece of paper?

 19    A    No.

 20    Q    Do you know what the piece of paper said?

 21    A    No.

 22    Q    Do you know whether the piece of paper came from a

 23    reliable source?

 24    A    I didn't asked where it came from.

 25    Q    Did you know whether anything on the piece of paper was

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  1    true?

  2    A      I never seen it.

  3    Q      Did you know -- were you the boss at a time?

  4    A      No, I was a captain.

  5    Q      And what was your role in the Mirror murder?

  6    A      I knew about it, I was there when he gave the order to

  7    kill him.

  8    Q      Did you tell them, "Wait a minute, I don't have proof, I

  9    only have a piece of paper"?

 10    A      I didn't say a word.    I just sat there.

 11    Q      Did you save Mirrors's life?

 12    A      No, I didn't.

 13    Q      So Mirror was killed --

 14                MS. MERKL:    Your Honor, may we please have a side

 15    bar?

 16                MR. GOLTZER:    I'll withdraw the question.

 17                THE COURT:    Good idea.

 18    BY MR. GOLTZER:     :

 19    Q      I'll ask you again the first question that I asked you.

 20    Do you think there is anything hypocritical about you

 21    cooperating in this courtroom against Mr. Basciano?

 22                MS. MERKL:    Asked and answered.

 23                THE COURT:    Sustained.

 24    Q      You said you didn't think about it.       Is that correct?

 25    A      That's correct.

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  1    Q    Have you thought about it since I started asking you

  2    these questions?

  3    A    My answer is the same.

  4    Q    You still haven't thought about it?

  5    A    That's correct.

  6    Q    You don't care about it?

  7    A    No, I don't.

  8    Q    You care about yourself?

  9    A    I cared about my wife and mother at the time.           That's why

 10    I cooperated.

 11    Q    Would you lie to save your wife?

 12    A    Excuse me?

 13    Q    Would you lie to save your wife?

 14    A    I told the truth.

 15    Q    You told the government about crimes your wife committed?

 16    A    Yes, I did.

 17    Q    By the way, the $12 million was given to the government

 18    by your wife as you signed the cooperation agreement.           Is that

 19    correct?

 20    A    That's correct.

 21    Q    And it was in your basement and your attic?

 22    A    Correct.

 23    Q    It wasn't sitting out in the open, was it?

 24    A    No.

 25    Q    It was hidden away?

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  1    A    Yes.

  2    Q    As far as you knew, there had never been a law

  3    enforcement agent who had shown up with a search warrant of

  4    any kind?

  5    A    Correct.

  6    Q    So as far as you knew, the money in your attic, what

  7    $7 million?

  8    A    Something like that.

  9    Q    Was hidden away?

 10    A    Yes.

 11    Q    Where was it hidden?

 12    A    In the attic.

 13    Q    Where in the attic?

 14    A    In boxes.

 15    Q    Were those boxes sealed?

 16                MS. MERKL:    Relevance.

 17    A    Yes, they were.

 18                THE COURT:    I'm sorry?

 19                MS. MERKL:    Relevance.

 20                THE COURT:    Sustained.

 21    Q    You weren't going to turn over the money unless you had

 22    the agreement you wanted, were you?

 23    A    I turned over the money to save my property.

 24    Q    Were you going to turn over the money to the government

 25    voluntarily if you hadn't entered the cooperation agreement?

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  1                MS. MERKL:    Objection.

  2                THE COURT:    Sustained.

  3    Q    Were you going to continue to hide and keep the money if

  4    you hadn't signed the cooperation agreement?

  5                MS. MERKL:    Objection.

  6                THE COURT:    Sustained.

  7    Q    Was turning over the money part of your cooperation?

  8    A    Yes.    Of paying a forfeiture.

  9    Q    Now, you indicated on cross-examination for Mr. Jasper

 10    that there was between 260 and 270 thousand dollars of income

 11    annually produced by the properties your wife is keeping.            Is

 12    that correct?

 13    A    Present now, yes.

 14    Q    And that could go up?

 15    A    So do real estate taxes go up.

 16                MS. MERKL:    Objection, calls for speculation.

 17                THE COURT:    Side bar.

 18                (Side bar.)

 19                (Continued on the next page.)

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  1                (In open court.)

  2                MR. GOLTZER:    If it pleases the Court, we can --

  3    Your honor, may I continue?

  4                THE COURT:    Yes.

  5                MR. GOLTZER:    Thank you.    If it pleases the Court,

  6    we would like to play clip 11 of Government Exhibit 406T to

  7    the jury.    If they can put on their headphones.

  8                THE COURT:    Could you tell us what page that's at?

  9                MR. GOLTZER:    Page 73, Judge.

 10                THE COURT:    Of 406T.   That's at page 73.      It starts

 11    at page 73, clip 11, of 406T.

 12                THE WITNESS:    Clip 11, Your Honor?

 13                THE COURT:    Yes, 406T.

 14                THE WITNESS:    Yes.

 15                THE COURT:    Very good.    Okay, thank you.

 16                (Audio played.)

 17                THE COURT:    Let me just point out, if you didn't

 18    realize it, that the recording was not played on the general

 19    sound system for some reason.

 20                MS. MERKL:    We'll look into it, Your Honor.

 21                THE COURT:    All right.    Okay, thank you.

 22                All right.    You may proceed.

 23    BY MR. GOLTZER:

 24    Q    Mr. Massino, this tape recording was done on January 7th,

 25    2005.   Right?

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  1    A    Correct.

  2    Q    And could you move the mic a little closer so everybody

  3    can hear, please?

  4    A    Correct.

  5    Q    Thank you.     As this was being recorded, Michael Mancuso

  6    was the acting boss of the Massino family.         Correct?

  7    A    Correct.

  8    Q    Dominick Cicale was not the acting boss in the Massino

  9    family.   Correct?

 10    A    Correct.

 11    Q    The highest rank that Dominick Cicale ever achieved was

 12    that of captain in the Massino family, is that correct?

 13    A    Correct.

 14    Q    Dominick Cicale was never on any panel or administration

 15    appointed by you, is that correct?

 16    A    That's correct.

 17    Q    Dominick Cicale was not on any panel or administration

 18    appointed by you or Mr. Basciano, is that correct?

 19    A    That's correct.

 20    Q    So if anybody said that Dominick Cicale was either an

 21    acting captain or on a panel, that would not be accurate as

 22    far as --

 23                MS. MERKL:    Objection, compound.

 24    Q    If anybody had said Dominick Cicale had been an acting

 25    boss, that would be an error?

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  1                MS. MERKL:    Objection.

  2    Q    If you know?

  3                MS. MERKL:    Other people's speculation.

  4                THE COURT:    Sustained.

  5    Q    Now, only you could have appointed the acting boss, is

  6    that correct?

  7    A    Correct.

  8    Q    Because of your position of ultimate power as the

  9    official boss?

 10    A    Correct.

 11    Q    You must have an acting boss on the street at this time

 12    to conduct family business.       Is that correct?

 13    A    No, you don't have to.

 14    Q    You can have a panel?

 15    A    A panel.

 16    Q    But you need somebody on the street who is of authority

 17    to conduct the --

 18    A    Captains.

 19    Q    It can't be somebody from jail?

 20    A    No.

 21    Q    Not even you?

 22    A    Correct.

 23    Q    Because you can't sit down with Luccheses or Gambinos or

 24    anyone like that?

 25    A    Correct.

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  1    Q    At this particular point, at page 73, line ten, you used

  2    the word "paranoid," is that correct?

  3    A    Correct.

  4    Q    What did you mean when you said to Mr. Basciano,

  5    paranoid?

  6    A    Maybe Michael is paranoid.

  7    Q    Paranoid about what, Mr. Massino?

  8    A    That he knows maybe you killed Randy Pizzolo and he's

  9    paranoid.    That's why he ain't listening to nobody.

 10    Q    Why would that make him paranoid, Mr. Massino?

 11    A    Because he figures maybe he's going to get clipped next.

 12    Q    Clipped meaning murdered?

 13    A    Murdered, yes.

 14    Q    By whom?

 15    A    By Vinny Basciano.

 16    Q    And that was an opinion you reached as a result of 33

 17    years of experience in the mob, is that correct?

 18    A    Correct.

 19    Q    And that was an honest opinion held by you?

 20    A    Well, why wasn't he listening to him anymore?

 21    Q    Was it an honest opinion held by you?

 22    A    That's what I felt.

 23    Q    You weren't just playing to the people who were listening

 24    to the tape?

 25    A    No.

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  1    Q    I mean you were telling Vinny the truth.

  2    A    Correct.

  3    Q    You thought that Michael might be getting paranoid

  4    because he believed that Dominick wanted to kill him?

  5    A    No.    If Vinny Basciano would have gave Dominick the order

  6    to kill him, he'd be dead.

  7    Q    So you felt that Michael Nose was paranoid about being

  8    murdered by Dominick Cicale on Vinny Basciano's order?

  9                MS. MERKL:    Objection.

 10                THE COURT:    Sustained.

 11    Q    Did Dominick send you word that he was very, very

 12    uncomfortable?

 13    A    I don't know Dominick.

 14    Q    Okay.    Basciano told you that Dominick was sending him

 15    word that he was very uncomfortable?

 16    A    Sending me word?

 17    Q    Sending Vinny word that he was very uncomfortable.

 18    A    He was uncomfortable with Michael.

 19    Q    And what did you take that to mean?

 20    A    Michael Nose, Vinny Basciano put him there as the acting

 21    boss.   Michael Nose was asking Dominick what the family has.

 22    And Dominick got, he got paranoid.

 23    Q    Did you also learn that Dominick was asking other

 24    captains about what they thought about Michael Nose?

 25    A    I didn't hear that.

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  1    Q      You never got that word from Alford Albisano --

  2    A      No, all's I got is, nobody's moving until they hear from

  3    you.

  4    Q      Did you get word that there were problems on the street

  5    between Dominick and Michael?

  6    A      Yes.

  7    Q      You got that word through messages?

  8    A      Yes.

  9    Q      Who brought you those -- by the way, one or more

 10    messages?

 11    A      I got a couple of messages.

 12    Q      From who?

 13    A      I got one from my daughter.      And I believe I got one from

 14    the lawyer.

 15    Q      Which lawyer?

 16    A      Tommy Lee.

 17    Q      And what was the message from your daughter?

 18    A      Alford told her there's nobody moving until they hear

 19    from you.     I told my daughter, you mind your business and tell

 20    Alford that I said don't involve you with anything.

 21    Q      And what about the one from Tommy Lee?

 22    A      That it was a lot of static in the street.

 23    Q      Did you ask Tommy Lee to find out what the static was

 24    about?

 25    A      No, I didn't.

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  1    Q    Did you ask Tommy Lee who the static was between?

  2    A    No.

  3    Q    Did you ask Tommy Lee who the source of his information

  4    --

  5    A    No.

  6    Q    Were you curious?

  7    A    No.

  8    Q    You didn't care?

  9    A    I didn't care.

 10    Q    Because you knew you were cooperating?

 11    A    Correct.

 12    Q    Did you tell the government about the message from your

 13    daughter?

 14    A    Yes, I did.

 15    Q    When?

 16    A    When I cooperated.

 17    Q    So that was months afterwards?

 18    A    Correct.

 19    Q    After you signed a cooperation agreement?

 20    A    I told when I was cooperating.

 21    Q    How long after you got the message from your daughter did

 22    you tell the Government about it?

 23    A    I would say right after I flipped.         Right after I started

 24    to cooperate.

 25    Q    Mr. Massino, you decided -- you met with the government

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  1    on August 2, 2004?

  2    A    Correct.

  3    Q    You proffered in August?

  4    A    Correct.

  5    Q    September?

  6    A    Correct.

  7    Q    October?

  8    A    Correct.

  9    Q    And November, part of November?

 10    A    Possible.    I don't remember.

 11    Q    During the earlier part of November you were advised that

 12    Attorney General of the United States Ashcroft had authorized

 13    you for the death penalty?

 14    A    Correct.

 15    Q    Weren't you told that the proffering process had to stop

 16    because the death penalty had been authorized?

 17    A    Correct.

 18    Q    Once the death penalty was authorized there was no longer

 19    the possibility of a plea bargain, was there?

 20    A    I don't recall.

 21    Q    So after you received word about the death penalty, you

 22    didn't proffer for the remainder of November, did you?

 23    A    I don't recall that.

 24    Q    You weren't proffering after the taping, were you, in

 25    January, February of 2005?       Were you?

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  1    A      I'm thinking about that.

  2    Q      Take your time.

  3    A      I don't recall.

  4    Q      You weren't proffering in March of 2005?

  5    A      I might have been.

  6    Q      Is it fair to say that you really didn't start the full

  7    time proffering cooperation process until after you signed the

  8    agreement?

  9    A      No, I was cooperating before that.

 10    Q      Well, you didn't have an agreement?

 11    A      No.

 12    Q      When you signed the agreement, you began to prepare for

 13    the possibility of testimony.       Is that correct?

 14    A      Correct.

 15    Q      And how long did that process take?

 16                  MS. MERKL:   Your Honor, we need some clarifications

 17    as to what Mr. Goltzer is referring to, testimony of what.

 18                  MR. GOLTZER:   I'll withdraw it.    Go back a different

 19    way.

 20    BY MR. GOLTZER:      :

 21    Q      Mr. Massino, you can take the earphones off.         Maybe it be

 22    a little better.

 23    A      Go ahead.

 24    Q      Page 73, line 19, 20 -- line 19 through 27.        Bottom of

 25    the page 73.      You asked Mr. Basciano whether something

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  1    happened after Randy was murdered.        Is that correct?

  2    A    Correct.

  3    Q    What were you referring to, Mr. Massino?

  4    A    Because before Randy Pizzolo got murdered, everything was

  5    fine.   Once Randy Pizzolo got murdered, Michael wouldn't

  6    listen to nothing.     So I had assumed that that's what it was,

  7    and I mentioned that to Vinny Basciano, and he said you got a

  8    good point, Bo.

  9    Q    So Vinny was concerned about it, too, as he expressed it

 10    to you?

 11    A    Well, he was concerned why ain't Michael listening.

 12    Q    And you asked Mr. Basciano, what's going on.           Right?

 13    A    Correct.

 14    Q    What's going on with Dominick and Michael?

 15    A    Correct.

 16    Q    And Vinny basically said I'll find out.          Is that right?

 17    A    Correct.

 18    Q    Wasn't that a way, to your understanding, that Vinny was

 19    telling you he really didn't know?

 20                MS. MERKL:    Objection.    The defendant's knowledge.

 21                THE COURT:    Sustained.

 22    Q    And Mr. Basciano at the top of page 74, on line one

 23    answered your question with:       "I think it was after."      Is that

 24    correct?

 25    A    Correct.

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  1    Q    So whatever it was that it happened between Michael Nose

  2    and Vinny -- and Dominick Cicale would have happened after

  3    Randy was clipped.     Is that correct?

  4    A    That's correct.

  5    Q    And then you said at line five:        "That's your question."

  6    Right?

  7    A    Yes.

  8    Q    And what did you mean by that?        "That's your question."

  9    A    He wanted to know what was going on with Michael, and I

 10    told him maybe he knows that you clipped Randy.          That's your

 11    question.    That's your answer.

 12    Q    So when you said that's your question, you meant that's

 13    your answer?

 14    A    Correct.

 15    Q    So it came out of your mouth backwards?

 16    A    Yes.

 17    Q    It happens sometimes.       Right?

 18    A    Yes, it does.

 19    Q    And then Vinny said, "could be."        Right?

 20    A    Yes.

 21    Q    And then you said -- Vinny said at line 12 through 14:

 22    "And Mike, especially, he's a delusionist, anyway, it could

 23    be, Bo, it could be, you might be right about that."

 24                You see that?

 25    A    Yes, I do.

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  1    Q    You remember that conversation?

  2    A    Yes, I do.

  3    Q    The word delusionist is a word that's used in your world.

  4    Is that correct?

  5    A    That's correct.

  6    Q    It's not a word that's ordinarily used by people not in

  7    the mob?

  8    A    Correct.

  9    Q    What is the word delusion mean?

 10    A    He's catching maybe a delusion that maybe he's going to

 11    get clipped next.     That's also known as being paranoid.

 12    Q    So Michael, according to Basciano, was a delusionist.            Is

 13    that correct?

 14    A    That's what he says.

 15    Q    And what is a delusionist, as opposed to a delusion, if

 16    can you tell the jury?

 17                MS. MERKL:    Objection.

 18                THE COURT:    You may answer.    What is a delusionist?

 19                THE WITNESS:    Somebody who gets paranoid.

 20    Q    So as far as you were concerned, Michael was paranoid

 21    over Dominick?

 22    A    Not as far as I was concerned.        That's what I thought.

 23    Q    Okay.    And then you said at line 15 and 16:        "What are

 24    they going to do?     Are they going to clip me next?"

 25                Who is the "me" you were referring to?

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  1    A    Michael Nose.

  2    Q    So you were -- you were speaking to Vinny as if you were

  3    Michael Nose talking?

  4    A    No, I was telling him maybe Michael Nose knows maybe he's

  5    going to get clipped next.

  6    Q    And what was the reason that you said that?

  7    A    Because he felt that he killed Randy Pizzolo and if he

  8    killed him, he might kill Michael Nose next.

  9    Q    Vinny agreed with you?

 10    A    Excuse me?

 11    Q    And Basciano agreed, he said you're right?

 12    A    Yes, he did.

 13    Q    And then you said:      "Maybe Vinny."     Right?

 14    A    Yes.

 15    Q    What did you mean by that?

 16    A    You're right, maybe Vinny.

 17    Q    Maybe Vinny what?

 18    A    Maybe he would kill him.

 19    Q    So it was your opinion that maybe Michael thought that

 20    Vinny and Dominick were going to kill Mike?

 21    A    Correct.    That was my opinion.

 22    Q    And then at line 20 and 21.        And this is you.     "And Dom,

 23    and Dom looking to take this whole fucking family."

 24                Basciano:   "Yeah, right."

 25                What was that about, sir, what did you mean by that?

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  1    A    Was Dominick looking to take the family over?

  2    Q    Did you have any reason to believe that Dominick was

  3    trying to take the family over on January 7th, 2005?

  4    A    No, I didn't, but if Michael's questioning him and he's

  5    not answering -- he's not answering Michael, why he ain't

  6    answering Michael, he's the guy, acting boss, not you.

  7    Q    Now there was a man who was killed, literally killed for

  8    getting up and walking out of a room with the boss in the

  9    room.   Right?

 10    A    Correct.

 11    Q    Because that was a sign of disrespect?

 12    A    Correct.

 13    Q    Which could be punishable at the boss' order by death?

 14    A    Correct.

 15    Q    One is not permitted in your family to disrespect an

 16    acting boss either.     Are they?

 17    A    Well, what I would do and what Phil Rastelli did is two

 18    different things.

 19    Q    The rules are often broken?

 20    A    All the time.

 21    Q    And the rules are enforced by the boss?

 22    A    Correct.

 23    Q    And the boss has it in his discretion to enforce the

 24    rules in any way he sees fit at any particular time?

 25    A    Correct.

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  1    Q    If I violate one of Joe Massino's rules by showing him

  2    disrespect, Joe Massino could have me killed?

  3    A    Correct.

  4    Q    If I violate one of the rules, Joe Massino can give me a

  5    pass?

  6    A    It all depends on the situation.

  7    Q    But it's up to you?

  8    A    Correct.

  9    Q    Joe Massino can shelf me?

 10    A    Correct.

 11    Q    Joe's Massino could chase me?

 12    A    Correct.

 13    Q    You knew that Randy -- you knew about Randy Pizzolo

 14    before Randy Pizzolo ever died?

 15    A    The only thing I knew about him was that he shot his best

 16    friend in both of his legs.

 17    Q    Now the best friend that you were referring to was a

 18    fella named Darren D'Amico.       Is that correct?

 19    A    To my recollection, I believe that's his name.

 20    Q    Darren D'Amico, was he a made member of the family?

 21    A    No.

 22    Q    If Randy Pizzola had shot a made member of the family

 23    while you were the boss, what would you have ordered, if

 24    anything, about Randy Pizzola?

 25                MS. MERKL:    Objection.

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  1                THE COURT:    Sustained.

  2    Q    Was Darren D'Amico related to anybody in the family?

  3    A    I got no idea who he was related to.

  4    Q    There was somebody in the family by the name of Joey

  5    D'Amico.    Is that correct?

  6    A    Who?

  7    Q    Joey D'Amico.

  8    A    In my -- in the Bonanno Family?

  9    Q    In any family.      Do you know?

 10    A    Yeah, the Bonanno family.

 11    Q    Okay, is he in your family?

 12    A    Yes.    He's a wiseguy.

 13    Q    A wiseguy.     He was never a captain?

 14    A    No.

 15    Q    The restaurant at which this incident happened was called

 16    Cafe On The Green?

 17    A    In Whitestone, correct.

 18    Q    Was Cafe On The Green connected to a mob guy?

 19    A    Yes, it is.

 20    Q    Would it be a violation of mob protocol for Anthony

 21    Pizzolo to bring a gun there?

 22    A    Yes.

 23    Q    And you knew that Randy Pizzola had brought a gun there?

 24    A    I didn't know it.

 25    Q    Did you find out later?

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  1    A    Yes.

  2    Q    Do you know somebody by the name of Joe Bergonia?

  3    A    That name don't ring a bell.

  4    Q    Did you ever use the name Bergonia or begin to use the

  5    name Bergonia on either of the tapes that were made by you and

  6    Mr. Basciano?

  7    A    I don't recall that.

  8    Q    Did you know whether anybody in your family, the Massino

  9    family, wanted to kill, did you learn that anybody in your

 10    family, prior to 2004, wanted to kill Randy Pizzolo for what

 11    had happened to Cafe On The Green?

 12    A    There was a beef, and I believe Johnny sat down with Joe,

 13    the owner of Cafe On The Park, and they resolved it.

 14    Q    Did the owner -- in mob protocol, did the owner of Cafe

 15    On The Green have the right to ask your family to kill Randy

 16    Pizzolo for what he did at Cafe On The Green?

 17                MS. MERKL:    Objection.    The right?

 18                MR. GOLTZER:    I'll rephrase it and lay a foundation.

 19                THE COURT:    Go ahead.    Rephrase it.

 20                MR. GOLTZER:    Thank you.

 21    BY MR. GOLTZER:     :

 22    Q    Your -- there are rules among the families, is that

 23    correct?

 24    A    Correct.

 25    Q    You have to get along?

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  1    A    Correct.

  2    Q    Avoid wars?

  3    A    Correct.

  4    Q    Find ways to resolve disputes?

  5    A    Correct.

  6    Q    There are people in all of the families who are prone to

  7    temper?

  8    A    All the time.

  9    Q    Violence?

 10    A    Yes.

 11    Q    And if the Luccheses and the Bonannos have an argument

 12    and tempers get out of hand, it could lead to problems?

 13    A    We try to resolve it, don't let it get that far.

 14    Q    So different families have actual rights, don't they?

 15    A    100 percent.

 16    Q    Your family has certain rights in relation to the other

 17    families?

 18    A    Correct.

 19    Q    For example, one wiseguy from your family is never

 20    permitted to kill the child of another family.          As you

 21    indicated before?

 22    A    Correct.

 23    Q    And if that happens, the aggrieved family has the right

 24    to seek some sort of retribution.        Is that correct?

 25    A    Correct.

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  1    Q    And what sort of retribution do they have the right to

  2    receive?

  3    A    If you kill a wiseguy's son, that's death penalty, you

  4    got to die.

  5    Q    Are there any exceptions to that rule?

  6    A    No.

  7    Q    And that's how your families --

  8    A    That's how I ran my family.        If you kill a wiseguy's son

  9    and you're a wiseguy, you're going to die.

 10    Q    To your knowledge, is that how the other families worked

 11    as well?

 12    A    I don't know.

 13    Q    On page 19 of the first five, 405T, line nine, beginning

 14    at line nine:    "There's lot of stuff out there, out there.

 15    Alford said there's a lot of tension here.         It's like any day

 16    anything could go off, and that's the last thing we want.            We

 17    don't want, we don't want a war."

 18                Did you say that to Vinny Basciano?

 19    A    Yes, I did.

 20    Q    Did you have that conversation with Alford Albisano about

 21    tension?

 22    A    No, I didn't.

 23    Q    Did you make that up?

 24    A    No.

 25    Q    Did you believe there was a possibility of a war?

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  1    A    Very possible.

  2    Q    What made you believe that there was a possibility of a

  3    war -- by the way, the war was going to be inside of the

  4    Bonanno Family, is that correct?

  5    A    That's correct.

  6    Q    And what kind of a war were you concerned might erupt

  7    inside the Bonanno Family, Mr. Massino?

  8    A    That people would start getting killed.

  9    Q    What people?

 10    A    Michael Nose, Dominick, Fat Anthony, Nicky Santoro.            Top

 11    guys.

 12    Q    Was it your belief at that time, on January 3rd, that

 13    there were separate factions developing within the Bonanno

 14    Family?

 15    A    There was no unity.

 16    Q    Was it your belief that there was separate factions

 17    developing within the Bonanno Family?

 18    A    Yes, it was my belief.

 19    Q    How many factions?

 20    A    I got no idea.

 21    Q    More than one?

 22    A    Definitely.

 23    Q    One of them would have been Michael Nose's faction?

 24               MS. MERKL:     Objection, speculation.

 25    Q    If you know, would one of them have been Michael Nose's

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  1    faction?

  2                MS. MERKL:    It's purely speculative.

  3                THE COURT:    Sustained.

  4    BY MR. GOLTZER:     :

  5    Q    Did you learn from anyone whether there were factions

  6    developing in your family?

  7    A    Just that people weren't listening.

  8    Q    And not listening leads to war?

  9    A    It can.    You want to stop it before it starts.

 10    Q    How do you stop it before it starts?

 11    A    You resolve it.

 12    Q    And if you can't resolve it, what do you do?

 13    A    Then you're going to be in trouble.

 14    Q    What kind of trouble?

 15    A    It could be murder.

 16                MS. MERKL:    Objection, speculation.

 17                THE COURT:    Sustained.

 18    BY MR. GOLTZER:     :

 19    Q    You stopped it in 1981?

 20    A    Correct.

 21    Q    You said on the tape to Vinny Basciano:          "I love Bruno."

 22    Is that right?

 23    A    Correct.

 24    Q    Did you love Bruno?

 25    A    Yes, I did.

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  1    Q    In 1981 Bruno was supposed to die?

  2    A    Correct.

  3    Q    In 1981 you killed Bruno's father?

  4    A    Correct.

  5    Q    In 1981 you told your crew or your people:          Find Bruno,

  6    kill him.    Right?

  7    A    Correct.

  8    Q    Why did you do that?

  9    A    Because as far as we were concerned, he was the enemy.

 10    Q    Are you a believer of love thy enemy?

 11                MS. MERKL:    Objection.

 12                THE COURT:    Sustained.

 13    BY MR. GOLTZER:     :

 14    Q    Later on, Bruno came back?

 15    A    Correct.

 16    Q    At the very end of the conversations with Vincent

 17    Basciano on January the 7th, you indicated that you were going

 18    to send out word to Michael that everything was all right.            Is

 19    that true?

 20                MS. MERKL:    Objection.

 21                THE WITNESS:    What page?

 22    BY MR. GOLTZER:     :

 23    Q    Forgive me, I have to find the page.

 24                Have you had a chance to listen to these tapes

 25    before your testimony?

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  1    A    Excuse me?

  2    Q    Have you had a chance to listen to these tapes before

  3    your testimony?

  4    A    Yes, I did.

  5    Q    How many times?

  6    A    Numerous times.

  7    Q    What's numerous times?

  8    A    Five, six, times.

  9    Q    When?

 10    A    When I was preparing for this case.

 11    Q    What month?

 12    A    Last month.

 13    Q    This year?

 14    A    This year.

 15    Q    You listened to these tapes five or six times?

 16    A    Yes.

 17    Q    Were you alone?

 18    A    No.

 19    Q    Who was with you?

 20    A    The government.

 21    Q    What person from the government?

 22                MS. MERKL:    Objection, relevance.

 23                THE COURT:    Sustained.

 24    BY MR. GOLTZER:     :

 25    Q    Have you discussed the tapes with a representative of the

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  1    Government at that time?

  2    A    I was listening to the tapes.

  3    Q    Did you go over questions that the government was going

  4    to ask you about the tapes?

  5    A    They didn't tell me what they were going to ask me about

  6    on the tapes.

  7    Q    Page 80, Mr. Massino.       January 7th tape, Government's

  8    Exhibit 406T.    Beginning at line 19, conversation attributed

  9    Mr. Basciano.    "My son is coming Monday, okay?        What I want to

 10    do with your okay is tell my son --

 11    A    Excuse me, what is that?       19?

 12    Q    Yes, sir.

 13    A    On page 80?

 14    Q    Yes, sir.

 15               THE COURT:     This is 406T, not 405.

 16               MR. GOLTZER:     It's the second transcript,

 17    Mr. Basciano.

 18               THE COURT:     It's the second transcript.

 19               All right, line 19.

 20    BY MR. GOLTZER:

 21    Q    406T line 19, by Mr. Basciano:        "My son is coming Monday,

 22    okay.   What I want to do with your okay is tell my son, if

 23    he's here, all right, to tell Dominick to go see Michael.            I

 24    said the third time, I said that's the third time I sent it

 25    out, I spoke to you."

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  1                Massino:    "Yeah, just say."

  2                Basciano:    "Everything is fine."

  3                Basciano at line 30:     "Everything is fine."

  4                And then he wished you a good weekend.

  5                Do you recall that conversation?

  6    A    Yes, I do.

  7    Q    Was it your impression that what Mr. Basciano was trying

  8    to accomplish by sending out the message with his son was to

  9    maintain a peace between Dominick Cicale and Michael Mancuso?

 10                MS. MERKL:    Objection.

 11                THE COURT:    You may answer.

 12                THE WITNESS:    That's correct.

 13                MR. GOLTZER:    Is this a good time to break, Judge.

 14                THE COURT:    Oh, no, we're going until six.

 15                MR. GOLTZER:    Very well, your Honor.

 16    BY MR. GOLTZER:     :

 17    Q    Mr. Massino, you indicated on the tape recordings that

 18    life was prescious to you, is that correct?

 19    A    That's correct.

 20    Q    You actually told that to Mr. Basciano.          Is that correct?

 21    A    Correct.

 22    Q    Is life prescious to you?

 23    A    Yes.

 24    Q    How has life been prescious to you?

 25    A    I feel this way.      If you deserve it, you're going to die

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  1    in The Life.     You just can't kill anybody for any reason.

  2    Q      Is that what you mean by life is prescious to me?

  3    A      Yes.

  4    Q      So life is prescious if you don't have reason enough to

  5    kill somebody.     Is that the way it works?

  6    A      All depends on what you did.

  7    Q      Well, if I did something that made you angry, life

  8    wouldn't be prescious to you any more, would it?

  9    A      It all depends on what you did.

 10                  MS. MERKL:   Objection.

 11    Q      Well, what do you mean by that, it all depends what I

 12    did?    What would I have to do?

 13    A      Well, I'll give you a perfect example.        There was a

 14    wiseguy with us by the name of Russell.

 15    Q      Russell who, Morrow?

 16    A      Yes.

 17    Q      What happened to him?

 18    A      He went in a bar, around a wiseguy in the Gambino Family,

 19    and he shot it up.     My brother-in-law comes and sees me.         He

 20    says John Gotti Senior, the boss of the Gambino Family, wants

 21    to kill him.     I said, listen, just tell him do me a favor,

 22    don't kill him, and Sal will talk to him.         If he does it

 23    again, we'll kill him.

 24    Q      Why didn't you chase him?

 25    A      Why would I chase him?     He was a wiseguy.

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  1    Q      You can't chase a wiseguy?

  2    A      Put him on a shelf.

  3    Q      Why didn't you put him on the shelf.

  4    A      Because I choose not to.

  5    Q      I'm sorry?

  6    A      I didn't choose to.

  7                THE COURT:    Can we define the term "put him on the

  8    shelf" because I don't know that we've defined it as yet.

  9    BY MR. GOLTZER:     :

 10    Q      What do you mean by put him on the shelf?

 11    A      When somebody doesn't act right, you put them on a shelf.

 12    Q      What does that mean, Mr. Massino?

 13    A      That you can only function in your capacity as a wiseguy.

 14    You can't go upstairs if you got a beef.         And soldier to

 15    soldier.

 16    Q      So Russell Morrow could have been put on the shelf by

 17    you?

 18    A      Correct.

 19    Q      You could have taken away Russell Morrow's ability to go

 20    up to a captain to resolve something that probably had in the

 21    family?

 22    A      Excuse me?

 23    Q      You could -- you could have taken away Morrow's ability

 24    to go to his captain to help him solve the problem?

 25    A      Correct.

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  1    Q    So that's a way of limiting Russell Morrow's power?

  2    A    Correct.

  3    Q    And that's a way of limiting the protection that your

  4    family gives to its members.       Is that correct?

  5    A    That's correct.

  6               (Continued on the next page.)

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  1    BY MR. GOLTZER:

  2    Q    Why didn't you put him on the shelf?

  3    A    Because I didn't feel like it.

  4    Q    Why didn't you feel like it?

  5    A    I didn't think about it at that time.

  6    Q    Did you think about killing him?

  7    A    If he did it again, he would get killed, and he did it

  8    again and he got killed.

  9    Q    Was there anybody during your rein as the boss that you

 10    did put on the shelf?

 11    A    What do you mean, as a wiseguy?

 12    Q    Yes.

 13    A    Yes, we did.

 14    Q    Who?

 15    A    Jerry Chilly.

 16    Q    What was Jerry Chilly put on the shelf for?

 17    A    He bad was badmouthing.       He badmouthed a bunch of wise

 18    guys.

 19    Q    Which wiseguys did he badmouth?

 20    A    Paul Castellano, Chin, and I got back to our family.

 21    Q    Chin Gigante?

 22    A    Chin Gigante, the boss of the Genovese family.

 23    Q    Why didn't you kill him?

 24    A    Because it wasn't in my hands.

 25    Q    Whose hands was it in?

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  1    A      I was a wiseguy then.

  2    Q      Why wasn't he killed, if you know?

  3    A      I got no answer.

  4    Q      Mr. Borrelli was killed for making a crack about Paul

  5    Castellano's nose.

  6    A      That's a different situation.      Every situation is

  7    different.

  8    Q      What's different about it?

  9    A      This was a favor for Paul Castellano.       I was told to help

 10    him.

 11    Q      You couldn't say no?

 12    A      How can I say no?    I would get little killed.

 13    Q      And Chilly, how long was Chilly on the shelf?

 14    A      I believe maybe a year and-a-half, two years.

 15    Q      Who else did you save?

 16    A      Excuse me?

 17    Q      You said you saved people.     Who else did you save?       You

 18    said you saved Bruno three times?

 19    A      Saved their lives?

 20    Q      Yes.

 21    A      You want me to tell you?

 22    Q      Please.

 23    A      Okay.   I saved Vinny Asaro, Michael Savarino, Little Moe,

 24    Frankie Lupo, Junior Chilly, Baldo Amato.

 25    Q      You could have saved the kid named Plasia, right?          Bob

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  1    Defasio's brother?

  2    A    I had no choice.

  3    Q    Why not?

  4    A    The old man said to kill him.

  5    Q    Which old man?

  6    A    Phil Rastelli, the boss.

  7    Q    But you had told Rastelli on the prior occasion, "I'm not

  8    the boss, but this guy was only listening to his captain.

  9    Give him a pass," right?

 10    A    Correct.

 11    Q    You could have done that with respect to the guy who was

 12    waiting in Manhattan for his brother, couldn't you?

 13               MS. MERKL:     Objection, could have --

 14               THE COURT:     Sustained.

 15    BY MR. GOLTZER:

 16    Q    You didn't.

 17               MS. MERKL:     Objection.

 18               THE COURT:     Sustained.

 19               MS. MERKL:     Your Honor, move to strike.

 20               THE COURT:     Yes.   Motion granted.     The jury will

 21    disregard the last statement by defense counsel.

 22    BY MR. GOLTZER:

 23    Q    You didn't trust your brother-in-law, Sal, did you?

 24    A    That's correct.

 25    Q    You thought about killing him, didn't you?

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  1    A    That's correct.

  2    Q    When did you start killing -- start thinking about

  3    killing Sal?

  4    A    I always had a mind that he could be a cooperator, but I

  5    had no proof.

  6    Q    When did you have that in mind the first time?

  7    A    Last couple of years.

  8    Q    The last couple of years before you were arrested?

  9    A    Correct.

 10    Q    You had to keep an eye on him?

 11    A    Correct.

 12    Q    Did you dispatch anybody to keep an eye on him?

 13    A    No.

 14    Q    Did anybody ask you if you were going to kill Sal?

 15    A    Somebody wanted to kill Sal.

 16    Q    That was Vinny, right?

 17    A    Correct.

 18    Q    But Sal's still alive?

 19    A    Correct.

 20    Q    And Patty DeFilippo is still alive?

 21    A    Correct.    I saved his life, too.

 22    Q    You told Vinny not to do it?

 23    A    Correct.

 24    Q    Vinny listened to you?

 25    A    Correct.

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  1    Q    Because you were the boss?

  2    A    Correct.

  3    Q    And Bonelli, you called talked about a kid on the tape on

  4    named Bonelli, is that correct?

  5    A    Correct.

  6    Q    Who had done something in someplace called Sonoma?

  7               MS. MERKL:     Objection.    Misstates the record.

  8               THE COURT:     Sustained.

  9    BY MR. GOLTZER:

 10    Q    You know whether he's alive?

 11    A    I don't even know him.        I got no idea.

 12    Q    Do you know a restaurant called Villa Sonoma?

 13    A    No, I don't.

 14    Q    You know a restaurant called Napa Soma?

 15    A    No, I don't.

 16               MR. GOLTZER:     May we play clip number one, of 405-T?

 17               THE WITNESS:     What page, one?

 18               MR. GOLTZER:     Yes.    Thank you.

 19               (Audio played in open Court.)

 20               THE COURT:     It's page one?

 21               THE WITNESS:     Yes, Your Honor.

 22               THE COURT:     Of 405-T?

 23               MR. GOLTZER:     Yes.

 24               THE WITNESS:     Yes.

 25               MS. MERKL:     Your Honor, the reason that the --

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  1                  THE COURT:   Excuse me?

  2                  MS. MERKL:   The reason it's not playing on the

  3    overhead is sometime I believe the output at the front was

  4    changed to the Elmo.       So if you wanted to, you may need to

  5    switch it to the prosecution laptop.

  6                  THE COURT:   Let's try position number one.      Try it

  7    again.    Because we did prosecution laptop.       It was on position

  8    two.    Try to run it again and see if position one puts it on

  9    the loudspeaker.

 10                  MR. FRANK:   Yes, Your Honor.

 11                  MS. MERKL:   Is it published?

 12                  (Audio played in open court.)

 13                  THE COURT:   Let's just play it for the jury and the

 14    witness.      Start again, please.

 15    (Audio played in open Court.)

 16                  MR. GOLTZER:   Thank you.

 17                  THE COURT:   Okay.

 18    BY MR. GOLTZER:

 19    Q      Mr. Massino, when you began this particular reporting,

 20    the first clip, on January 3rd, 2005, was Vincent Basciano a

 21    friend of yours.

 22    A      Yes, he was.

 23    Q      Not just in the Bonnano Family sense, but in the actual

 24    friendship sense?

 25    A      Yes.

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  1    Q    Did you consider him to be a friend of yours?

  2    A    Yes.

  3    Q    How long had you known him?        A few years?

  4    A    Yes.

  5    Q    You liked him?

  6    A    Yes.

  7    Q    You cared about him?

  8    A    Yes.

  9    Q    You didn't want to see anything bad happen to him?

 10    A    Correct.

 11    Q    And you were absolutely lying to him --

 12                MS. MERKL:    Objection.

 13    BY MR. GOLTZER:

 14    Q    -- weren't you?

 15    A    No.

 16    Q    Well, you were -- you didn't tell him you were wired up?

 17    A    Absolutely not.

 18    Q    You didn't want him to know that you were working in

 19    conjunction with the FBI to make a tape recording?

 20    A    Correct.

 21    Q    You didn't want anybody to know you were thinking about

 22    cooperating?

 23    A    Correct.

 24    Q    You wanted everybody to know that you were still the

 25    official boss of the Massino family?

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  1    A    Correct.

  2    Q    You did everything in your power to create that

  3    impression to Mr. Basciano, to Vinny Basciano, that you were

  4    still the boss of the Massino family?

  5    A    He knew I was the boss.

  6    Q    In fact, you were?

  7    A    I think so.

  8    Q    While you were wearing the wire, you were still the boss

  9    of the Bonnano Family?

 10    A    Correct.

 11    Q    And prior to the time that you signed the cooperation

 12    agreement in June, what day was it?

 13    A    It was June 23rd, 2005.

 14    Q    Up until June 23rd, 2005, did you consider yourself the

 15    official boss of the Bonnano Family?

 16    A    I wasn't.

 17    Q    And that's because it became public that you had

 18    cooperated?

 19    A    Correct that.

 20    Q    That was sometime in late January of 2005, is that

 21    correct?

 22    A    I believe it came out in 2005 of February.

 23    Q    So up until February of 2005, until it became known that

 24    you had become the first official boss to cooperate, you were

 25    the official boss of the family?

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  1                MS. MERKL:    Objection.    Asked and answered.

  2                THE COURT:    Sustained.

  3    BY MR. GOLTZER:

  4    Q    You were getting messages as the official boss of the

  5    family?

  6    A    Not really.

  7    Q    Well, you got messages from your daughter?

  8    A    Yeah, the things that were going on in the family.

  9                MS. MERKL:    Your Honor, could he tell us a time

 10    frame?

 11    BY MR. GOLTZER:

 12    Q    Prior to January 3rd, 2005, okay?

 13    A    Correct.

 14    Q    I'm going ask you a series of questions, about the period

 15    prior to January 3rd, 2005.

 16                You had a number of sources of messages, is that

 17    correct?

 18    A    Correct.

 19    Q    Gerard Marone was a lawyer?

 20    A    He was a lawyer, and Vic Guiliani.

 21    Q    Gerard Marone brought you messages?

 22    A    Sometimes.

 23    Q    You sometimes sent messages out through Mr. Marone?

 24    A    Yes.

 25    Q    And Vic Giuliani?

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  1    A    Yes.

  2    Q    He was the boob?

  3    A    Excuse me?

  4    Q    The boob?

  5    A    He was the boob, yes.

  6    Q    And your daughter?

  7    A    I never gave no message to my daughter.          I told them,

  8    "Mind your business."

  9    Q    Tommy Lee?

 10    A    Tommy Lee.

 11    Q    Tommy Lee was getting messages from the street?

 12    A    He was getting messages from Vinny Basciano, yes.

 13    Q    Was he getting messages from anybody else, if you know?

 14    A    I don't recall once Vinny Basciano came in.

 15    Q    One of the messages that Tommy Lee sent while you were in

 16    custody was that I, Vincent Basciano, am submitting to you to

 17    be straightened out and formally inducted into your family,

 18    Randy Pizzolo, right?

 19    A    Correct.

 20    Q    When did Mr. Basciano, Vinny Basciano, send you a message

 21    through Tommy Lee to the effect that he wanted Randy Pizzolo

 22    formally inducted in the family?

 23    A    Maybe sometime in, sometime in 2003 or early part of

 24    2004, I don't really recall exactly.

 25    Q    Now, prior to that time, Randy Pizzolo was around

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  1    somebody by the name of Johnny Palazollo who was an associate,

  2    is that correct?

  3    A      He's not an associate.     He's a wiseguy in the Bonnano

  4    Family.

  5    Q      The associates --

  6    A      Randy Pizzolo was an associate around John Palazollo,

  7    yes.

  8    Q      Did you happen to know how long Randy had been around

  9    John Palazollo?

 10    A      No, I don't.

 11    Q      Did Johnny Palazollo also put in Randy Pizzolo's name to

 12    be straightened out, if you recall?

 13    A      No, he didn't.

 14    Q      Did anybody else before Basciano did it put the name of

 15    Randy Pizzolo in to straighten him out?

 16    A      No, not that I recall.

 17    Q      Straightening somebody out, serious business?

 18    A      I would say so.

 19    Q      Proposing somebody to be straightened out?

 20    A      Same thing.

 21    Q      Serious business?

 22    A      Uh-hum (affirmative response).

 23    Q      If I, as a member of your family, submit the name of

 24    Richard, I'm vouching for him?

 25                MS. MERKL:    Objection.

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  1               THE COURT:     Sustained.

  2    BY MR. GOLTZER:

  3    Q    Have you ever seen someone in your family put the name of

  4    somebody in to the boss -- withdrawn.

  5               If I put a name in to you for proposal, induction in

  6    the family, that's private between me and you isn't, isn't it?

  7    A    No, it ain't.

  8    Q    Who else knows about?

  9    A    You're a wiseguy and you want to propose somebody, you

 10    got to give it to your captain, your captain gives it to me.

 11    Q    Now, was Basciano a captain when he propose the name of

 12    Randy Pizzolo?

 13    A    He was the acting boss.

 14    Q    Well, he became the acting boss in 2004?

 15    A    2005 or 2003, I don't remember.

 16    Q    Well, he became the acting boss after the massive arrest

 17    that resulted from Big Lou being wired up, is that right?

 18    A    That's correct, so it's 2004.

 19    Q    Because Big Lou was making tapes up until the end

 20    December, Christmastime, approximately, of 2003?

 21    A    Fair to say.

 22    Q    Have you heard those tapes?

 23    A    Yes, I did.

 24    Q    As part of your discovery?

 25    A    That was my case.      That's first case.

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  1    Q    In preparation for your trial --

  2    A    For trial, correct.

  3    Q    -- you were able to hear the Big Lou Tartaglione tapes?

  4    A    Correct.

  5    Q    And can we now agree that the time frame is such that

  6    Basciano became the acting boss after the arrest of your

  7    panel?

  8    A    That's fair to say.

  9    Q    So Vinny Basciano became the acting boss in 2004?

 10    A    Correct.

 11    Q    Do you remember the month in 2004 that Vinny Basciano

 12    became the acting boss?

 13    A    No, I don't.

 14    Q    Was it the early part of 2004, or the latter part of

 15    2004?

 16    A    I can't recall that.      I know it's 2004.

 17    Q    Did you send a message to Basciano through attorney Tommy

 18    Lee, in words or substance, "Vinny to take the reins"?

 19    A    Absolutely not.

 20    Q    It never happened?

 21    A    No.

 22    Q    You're sure?

 23    A    No.

 24    Q    Did you ever send a message to Vinny Basciano through

 25    anybody, "Vinny, take the reins"?

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  1    A    No.

  2    Q    You indicated yesterday that Basciano anointed himself.

  3    A    Yes.

  4    Q    Was that a dangerous thing to do?

  5    A    Yes.

  6    Q    Why?

  7                MS. MERKL:    Objection.

  8                THE COURT:    You may answer.

  9                THE WITNESS:    I didn't put you there, you can't put

 10    yourself there.

 11    BY MR. GOLTZER:

 12    Q    What could have happened to Basciano for taking the reins

 13    without your permission?

 14                MS. MERKL:    Objection.

 15                THE COURT:    Sustained.

 16    BY MR. GOLTZER:

 17    Q    Could you have had him killed?

 18    A    One hundred percent.

 19    Q    Would taking the reins without your permission,

 20    Mr. Massino, be viewed as a move?

 21    A    One hundred percent, not only taking a position, you're

 22    breaking captains and making captains without the boss's

 23    approval.    You do whatever you want.      That could cause your

 24    death.

 25    Q    Now, in 2004, let's call it January of 2004, you were

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  1    physically located in jail?

  2    A    Correct.

  3    Q    What jail was that?

  4    A    I was in MDC Brooklyn.

  5    Q    MDC Brooklyn, were you in general population at that

  6    time?

  7    A    Yes, I was.

  8    Q    General population means being on a floor?

  9    A    With about 150 people.

 10    Q    Out of 150 people, were there any people that you knew?

 11               (Continued on the next page.)

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  1    CROSS-EXAMINATION (Cont'd)

  2    BY MR. GOLTZER:

  3    Q    And of the 150 people, were there any people that you

  4    knew?

  5    A    Yes.

  6    Q    Who?

  7    A    Joe Saunders was there, captain of the Bonanno family,

  8    Barney was there, captain in the Genovese family.

  9    Q    Is that Barney Bellomo?

 10    A    Barney Bellomo.

 11                Bruno Indelicato.

 12    Q    Bruno is the guy you loved at that time?

 13    A    That's correct.

 14    Q    Who else?

 15    A    George Conte was a captain of Lucchese family.

 16    Q    And you had a normal visiting list at that time in

 17    general population?

 18    A    Yes, I did.

 19    Q    You were not restricted in any way other than the normal

 20    prison routine?

 21    A    Yes.

 22    Q    And with respect to the other people on those, on the

 23    floor with you, they, too, as far as you knew, had visitors?

 24    A    Correct.

 25    Q    And you were able as somebody in general population to

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  1    get messages in and out of the institution?

  2    A    If I had to, yes.

  3    Q    You could have used Vic Guiliani?

  4    A    I could use Joe Saunders and he gives it to his sons.

  5    Q    Vito and Joe C, Jr. were both made members of the family?

  6    A    Yes.

  7    Q    But they were cleared because they apparently had no

  8    records, if you know?      They were able to get in.

  9    A    I don't know if they had any records.

 10    Q    But they were able to get in?

 11    A    They were on the father's list, yes.

 12    Q    If you wanted it to be known that Vinny Basciano was

 13    moving on his own, you could have sent out the word?

 14    A    Correct.

 15    Q    But you were willing -- by the way, you were going, when

 16    you got arrested, you were thinking about how the family was

 17    going to function in your absence?

 18    A    I really didn't care about the family.          I was looking to

 19    fight for my life.

 20    Q    But you knew that the family had to function, whether you

 21    cared about it or not?

 22    A    So I put a panel there.

 23    Q    And you put three people there?

 24    A    Correct.

 25    Q    When the panel was arrested?

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  1    A    Correct.

  2    Q    Were there acting people out there who could work for the

  3    family as the Administration?

  4    A    Correct.

  5    Q    Who were they?

  6    A    I could have put Joe Saunders' son.         I could have put

  7    Jerry Asaro, Louie Electrician.

  8    Q    Who else?

  9    A    I could come up with numerous guys.

 10    Q    Well, who had you thought about putting thereafter the

 11    panel of Anthony Urso, Joe C, Sr. and the other fellow, were

 12    arrested?

 13                MS. MERKL:    Objection; relevance.

 14                MR. GOLTZER:    It's relevant.

 15                THE COURT:    You may answer.

 16    A    I was thinking of putting Jerry Asaro, and I was thinking

 17    of putting Joe Saunders' son on the panel with Michael Nose.

 18    Q    Anyone else?

 19    A    Not that I can recall.

 20                MS. MERKL:    Can we establish a time period, your

 21    Honor --

 22                THE COURT:    Yes.

 23                MS. MERKL:    -- as to that answer, your Honor?

 24                THE COURT:    As to that answer, at that time, what

 25    time is that?

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  1                Go ahead.

  2    Q     At the time that your panel was arrested in or about

  3    January --

  4                MS. MERKL:    Your Honor, I would like to try to

  5    establish a time frame as to the last answer, not going back

  6    to the questions.

  7                THE COURT:    Do you know when that was that you --

  8    that the panel was arrested and you could have established a

  9    new panel?

 10                THE WITNESS:    Yes, your Honor.

 11                THE COURT:    When was that?

 12                THE WITNESS:    I believe it was 2004 in January or

 13    February.

 14                MS. MERKL:    Your Honor, I would like to establish a

 15    time frame as to his answer with regard to who he was going to

 16    place on the panel and the three names he mentioned.

 17    Q     The three names you just mentioned?

 18                THE COURT:    All right.

 19    Q     Jerry Asaro, Michael Nose and the third one -- forgive

 20    me?

 21    A     Jerry Asaro, Joe Saunders, Jr.

 22    Q     Joe Saunders, Jr.,     Jerry Asaro and Michael Nose?        When

 23    did you think of putting them in the panel?

 24    A     When they got pinched, the next thing I knew, Vinny

 25    Basciano made himself the acting boss.

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  1    Q      Okay.    Let's back up for a second.

  2    A      Go ahead.

  3    Q      There came a time when you were arrested and you had a

  4    panel?

  5    A      Correct.

  6    Q      And we now know that the panel in the street was Joe C,

  7    Sr.,    Joe Cammarano, Sr.,    Joe Saunders, right?

  8    A      Go ahead.

  9    Q      Joe Saunders is one person?

 10    A      No.    The other guy is the one I was going to put there.

 11    Q      But that was later?

 12    A      Okay.

 13    Q      You got arrested.    You had a panel?

 14    A      Correct.

 15    Q      Big Lou flipped?

 16    A      Correct.

 17    Q      Big Lou wired up?

 18    A      Correct.

 19    Q      You learned that Big Lou had wired up against your panel?

 20    A      Correct.

 21    Q      You learned that there were indictments coming down?

 22    A      Yes.

 23    Q      How did you know there were indictments coming down?

 24    A      Through the lawyers.

 25    Q      How did the lawyers know?

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  1    A    Once they revealed that Big Lou was a cooperator, what

  2    did you think was going to happen?

  3    Q    So you didn't have any elicit source out of the grand

  4    jury?

  5    A    No.    No.   No, I heard that from a lawyer.

  6    Q    So it was legitimate?

  7    A    Yes.

  8    Q    So you learned from the lawyers that indictments were

  9    coming down, is that correct?

 10    A    They didn't say indictments were coming down, but they

 11    assumed there had to be indictments because he wore a wire for

 12    a year, so you know something was going to come out of that.

 13    Q    So if Big Lou wore a wire for a year, there was trouble

 14    coming?

 15    A    Correct.

 16    Q    And part of the trouble that was going to come were

 17    indictments?

 18    A    Correct.

 19    Q    Search warrants, right?

 20    A    Correct.

 21    Q    Maybe wiretaps?

 22    A    Correct.

 23    Q    Full investigation by the Bonanno squad?

 24    A    Yes.

 25    Q    You guys had trouble coming?

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  1    A    Correct.

  2    Q    And one of the things you had to begin thinking about

  3    when you knew that the trouble was coming was who was going to

  4    take over as a panel, correct?

  5    A    Correct.

  6    Q    Did you think who it was who was going to succeed Joe

  7    Cammarano, Sr. and his two colleagues if those three men got

  8    arrested?

  9    A    When I got arrested, I was thinking about who to put

 10    there.   Then the next thing I know, Vinny Basciano made

 11    himself acting boss.

 12    Q    Who were you thinking of putting there?

 13    A    Jerry Asaro and Joe Saunders, Jr.

 14    Q    The point is, you weren't thinking of putting Vinny

 15    Basciano there?

 16    A    That's correct.

 17    Q    Vinny Basciano was up in the Bronx?

 18    A    That had nothing to do with it.

 19    Q    But he was up in the Bronx?

 20    A    Correct.

 21    Q    He was doing his own thing?

 22    A    Correct.

 23    Q    You knew that he was involved in the construction

 24    business?

 25    A    Correct.

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  1    Q    Gambling business, you believed?

  2    A    Correct.

  3    Q    Mobster kind of stuff, right?

  4    A    100 percent.

  5    Q    He was a good earner, wasn't he?

  6    A    Yes.

  7    Q    As a matter of fact, you indicated on the tape Vinny was

  8    the only guy who was doing the right thing?

  9    A    Correct.

 10    Q    Perhaps -- Vinny used to send you tribute?

 11    A    Correct.

 12    Q    Vinny used to send you Christmas money?

 13    A    Correct.

 14    Q    When did Vinny start sending you Christmas money,

 15    Mr. Massino?

 16    A    When I went to jail.

 17    Q    He never sent you anything before that?

 18    A    A thousand dollars, $5,000 for Christmas, when he became

 19    a captain.    Prior to that, he would give Patty Defilippo a

 20    thousand every Christmas.

 21    Q    When did Vinny become a captain?

 22    A    I'm going to say later part of 2000.

 23    Q    At the time that Vinny became the captain in the latter

 24    part of 2000, how many captains were there in the Massino

 25    family?

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  1    A    I'm going to say roughly 12.        I have to count them.

  2    Q    Approximately 12?

  3    A    Yes, 12, 13.

  4    Q    Was Vinny better or worse than any other captain?

  5               MS. MERKL:     Objection.

  6               THE COURT:     Sustained.

  7    Q    And when he became the captain in the year 2000, did he

  8    start sending you more money?

  9    A    Christmastime.

 10    Q    How much would he send?

 11    A    All depends.     He took guys away from me.       He took a

 12    bookmaker, Fat Frankie Esposito.        Where I was getting 2,000

 13    for Christmas, he got 50,000.

 14    Q    Now, you say he took somebody away from you.

 15    A    Correct.

 16    Q    How did he do that?

 17    A    He just did.

 18    Q    Did you care?

 19    A    I didn't care at that time.        I didn't want to throw shit.

 20    I was concentrating on my trial.

 21    Q    Did it seem to you that -- that Vinny taking somebody

 22    away from you was a sign of disrespect?

 23    A    100 percent.

 24    Q    And when was it that Vinny disrespected you by taking

 25    away somebody known as "Fat Frankie" Esposito?

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  1    A      He took Fat Frankie away from me.       He took Vinny

  2    Vitruccio away from me.       He took guys away from other

  3    captains.     He took all the money guys.

  4    Q      Now, the money guys, were these made guys?

  5    A      They were wiseguys, correct.

  6    Q      Who has the authority to place a wiseguy in a particular

  7    crew?

  8    A      The boss.

  9    Q      And if the boss is not around, who has the authority, if

 10    anyone, to place a wiseguy in a particular crew?

 11    A      If you're not around?

 12    Q      Yes.

 13    A      The panel.

 14    Q      You didn't tell Vinny that he could take Fat Frankie?

 15    A      Did it on his own.

 16    Q      You didn't tell Vinny that he could take Fat Frankie, did

 17    you?

 18    A      No.

 19                  MS. MERKL:   Asked and answered.

 20    Q      Vinny didn't ask you if he could have Fat Frankie, did

 21    he?

 22    A      He did it on his own.

 23    Q      He didn't ask you?

 24    A      Correct.

 25    Q      And he didn't ask you if he could have Vitruccio?

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  1    A    Correct.

  2    Q    And you didn't tell him he could have Vitruccio?

  3    A    Correct.

  4    Q    As far as you know, Vinny didn't go to the panel and ask

  5    them it if he could take Vitruccio?

  6    A    Correct.

  7    Q    And Vinny didn't go to the panel and ask him if he could

  8    take Fat Frankie Esposito?

  9    A    Correct.

 10    Q    Did he take them both at the same time, if you know?

 11    A    I can't recall that.

 12    Q    Taking one man away from the boss -- by the way, the boss

 13    has his own crew?

 14    A    Yes.

 15    Q    The underboss has his own crew?

 16    A    Correct.

 17    Q    The consigliere --

 18                Did I pronounced it wrong?      Consigliere?

 19    A    Correct.

 20    Q    -- has his own crew?

 21    A    Yes.

 22    Q    In addition, they get money -- did the panel have their

 23    own crew?

 24    A    Yes, they were captains.

 25    Q    Each captain on the panel has their own crew?

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  1    A    They got their own crew.

  2    Q    Do the captains get any special tribute by being on the

  3    panel or are they just captains?

  4    A    They're just captains.

  5    Q    Is it an honor?      Is it viewed as an honor to be on the

  6    panel or a pain in the neck?

  7    A    Both.

  8    Q    Both?

  9               MS. MERKL:     Your Honor, may we have a sidebar?

 10               THE COURT:     No.

 11    Q    Now, taking one person away from you by Vinny Basciano

 12    was a great sign of disrespect, right?

 13    A    100 percent.

 14    Q    Taking two people away from you was a greater sign of

 15    disrespect, is that correct?

 16    A    That's correct.

 17    Q    Taking over your family is the ultimate sign of

 18    disrespect?

 19    A    That's correct.

 20    Q    Is there any greater sign of disrespect for Joe Massino?

 21    A    What he did to the Bonanno family?         No.

 22    Q    Than taking over your family?

 23    A    Correct.

 24    Q    And you say it was done without your approval?

 25    A    Yes, it was.

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  1    Q    And you decided after many years, as the official boss,

  2    to do nothing about it?

  3    A    I could have killed him.       They wanted me to kill him and

  4    I gave him a pass.     The west side come to me when I was on the

  5    floor.   They said, "You need help?       We'll get rid of him."      I

  6    said, "Let him go.     Let him do what he's doing."

  7    Q    You said let him go?

  8    A    Let him do what he's doing.        Let him run with it.

  9    Q    You just said let him go?

 10    A    Yes.

 11    Q    What does "let him go" mean?

 12    A    Let him run the family.

 13    Q    Let him go didn't mean kill him?

 14    A    No.

 15                MS. MERKL:    Objection.

 16    Q    Who came to you from the west side?

 17    A    I was on the floor -- I was on the floor with Barney

 18    Borello.    He said, "Listen, the word is in the street nobody's

 19    happy with Vinny Basciano, the way he's acting."

 20    Q    Who was it?     I'm sorry.    Go ahead.    You didn't finish

 21    your answer.

 22    A    You interrupted me.

 23    Q    I apologize.     Please finish.

 24    A    Barney comes to me and says, "He's causing a lot of waves

 25    in the Bronx.    He think he's John Gotti.       If you need help,

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  1    let us know."    I said, "Let him do what he's doing.         I don't

  2    care."

  3    Q    When Barney said to you, "He thinks he's John Gotti," was

  4    he referring to the fact that it was John Gotti who had

  5    secretly caused the overthrow of Paul Castellano by

  6    assassinating him in Sparks?

  7    A    Well, he was trying to tell me he was going around with

  8    the suits and ties and throwing his weight around like John

  9    Gotti.

 10    Q    Did you ask Barney how he knew that?

 11    A    I didn't.    I didn't get into any conversation.         I was

 12    cooperating at that point.

 13    Q    When was that?

 14    A    2004.

 15    Q    When?

 16    A    I cooperated August 2nd, 2004, and I still was on the

 17    floor.

 18    Q    When was it -- now, there were, August 2nd was a full

 19    seven months into 2004, right?

 20    A    Right.    It was a Monday.

 21    Q    But that was seven months into that year?

 22    A    Right.

 23    Q    And Basciano had become the acting boss with the family

 24    in February?

 25    A    Sometime in that year.       I don't recall.

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  1    Q    Did it -- was he disrespecting you as early as February?

  2    A    February what, 2004?

  3    Q    Yes, sir.

  4    A    Probably later on.

  5    Q    Did he, when did you learn that he had taken over the

  6    family without your permission?

  7    A    Sometime in 2004.      I guess after them guys got pinched.

  8    Q    It would have been February?

  9    A    Yes.    Sometime in 2004, he took the family.

 10    Q    But I'm really trying to know whether you can pin it

 11    down?

 12    A    No, I can't.

 13    Q    Was your family running without any panel or acting boss

 14    for a period of time?

 15    A    They were, I guess they were waiting to hear from me.

 16    Q    Did you send word out as to who you wanted to be on the

 17    new panel?

 18    A    No, I didn't.

 19    Q    Did you send word out as to who you wanted to be acting

 20    boss?

 21    A    No, I didn't.

 22    Q    Why not?

 23    A    I was cooperating.

 24    Q    You weren't cooperating until August?

 25    A    Yes.

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  1    Q    So what did you do for the first half of 2004?

  2    A    Just let it go to the captains.

  3    Q    So you were letting the captains run the family?

  4    A    Correct.

  5    Q    Didn't you feel that there was a risk that there would be

  6    factions developing?

  7    A    Not at that point.

  8    Q    Did it occur to you to tell the captains to elect a new

  9    official boss?

 10    A    I never thought of it.

 11    Q    Did you ever say to Mr. Basciano on the tape at any time,

 12    "Let them elect a new boss"?

 13    A    Yes.

 14    Q    When?

 15    A    I said, "Once I use up my remedies, let them vote for a

 16    boss."

 17    Q    What remedies were you talking about, Mr. Massino?

 18    A    My appeals, everything.

 19    Q    And you could have stayed the official boss?

 20    A    If I wanted to.

 21    Q    You could have stayed the official boss for the rest of

 22    your life?

 23    A    Correct.

 24    Q    Why didn't you want to remain the official boss?

 25    A    Because once you use up your remedies, you're supposed to

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  1    step down.

  2    Q    Is that the way it works?

  3    A    It's supposed to be, but it don't.

  4    Q    That's not what Rusty did, did he?

  5    A    Rusty didn't get life.

  6    Q    How much did Rusty get?

  7    A    Twelve years.

  8    Q    And how old was Rusty when he got the 12?

  9    A    Late sixties.

 10    Q    Rusty died in jail?

 11    A    He didn't die in jail.       He died in the street.

 12    Q    He had cancer?

 13    A    Correct.

 14    Q    How long had he been out before he passed, if you know?

 15    A    Maybe a couple of months.

 16    Q    So you were going to give it up?

 17    A    Give what up?

 18    Q    The family?

 19    A    Give up what?

 20    Q    The family?

 21    A    Yes.

 22    Q    Your pension was in place, as far as you knew?

 23    A    Correct.

 24    Q    Now, a pension isn't one of the standard benefits of the

 25    mob, is it?

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  1    A    Correct.

  2    Q    That was a pension that you had put together for

  3    yourself?

  4    A    Correct.

  5    Q    Because you wanted your wife to be comfortable?

  6    A    Correct.

  7    Q    Do you know whether Georgie Sciascia had a wife?

  8                MS. MERKL:    Objection.

  9                THE COURT:    Sustained.

 10    Q    You mentioned a problem with your mattress, is that

 11    right?

 12    A    Correct.

 13    Q    Did you ever get the second mattress?

 14    A    Yes, I did.

 15    Q    In fact, you got the second mattress right after you made

 16    the first taped conversation with Vincent Basciano?

 17    A    I don't recall when I got the mattress, but I got it from

 18    medical.

 19    Q    Did you complain to Basciano on either taped conversation

 20    that he had taken Fat Frankie away from you?

 21    A    I don't recall if I said anything on tape.

 22    Q    Didn't Vinny tell you on the tape that Frank -- Fat

 23    Frankie had given him money?

 24    A    Yes.    I knew that before the tape.

 25    Q    Where did you learn that from?

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  1    A    The visiting room.

  2    Q    And you were getting half?

  3    A    I was getting half.

  4    Q    On the tape, Vinny made it clear that your wife had

  5    received a sum of money from somebody, is that correct?

  6    A    Correct.

  7    Q    And the amount of money that Vinny said your wife had

  8    received --

  9    A    Correct.

 10    Q    -- how much was it?

 11               MS. MERKL:     Your Honor, if he can direct the witness

 12    to the line and page.      It's very confusing.

 13               THE COURT:     Well, if the witness remembers, let the

 14    witness answer.

 15    A    I'm going to say 50,000.

 16    Q    Is that what he told you?

 17    A    If I recall, 50,000.      It was supposed to be 60.

 18    Q    He didn't tell you it was 66 with another 10 coming?

 19    A    I don't recall.

 20    Q    Okay.    Which captains sent word to you that they were

 21    unhappy with Basciano, their names?

 22    A    Joe Saunders.

 23    Q    Senior or Junior?

 24    A    Senior.    I was on the floor with the Senior.

 25    Q    Who else?

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  1    A    Bruno Indelicato.

  2    Q    Who?

  3    A    Bruno Indelicato.

  4    Q    Who else?

  5    A    Them two was on the floor with me.

  6    Q    Did you get word from the street from any of the captains

  7    that they were unhappy with the way Basciano was conducting

  8    himself?

  9    A    Yes.

 10    Q    Who?

 11    A    Joe Saunders, the guy worked through his son.

 12    Q    Anybody else on the street?

 13    A    On the street.

 14    Q    There were other captains on the street?

 15    A    Correct.

 16    Q    Who else was on the street at that time?

 17                MS. MERKL:    Objection.

 18    Q    Was Nicky Santoro on the street?

 19    A    When I left --

 20                THE COURT:    I'm sorry.    What's the objection?

 21                MS. MERKL:    Your Honor, he's asking who else was on

 22    the street without reference to family, time frame --

 23                THE COURT:    Sustained.

 24    Q    At the time, your panel was arrested?

 25    A    Correct.

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  1    Q    In the beginning of 2004?

  2    A    Correct.

  3    Q    Were there -- and some 27 or 28 other Bonnanos were

  4    arrested with him, right?

  5    A    Correct.

  6    Q    It was a devastating arrest for the family?

  7    A    Yes, it was.

  8    Q    At that time, how many made members did you have in the

  9    family?

 10    A    Left?

 11    Q    Yes.

 12    A    I couldn't answer that.

 13    Q    Less than 50?

 14    A    No, we had way more than 50.

 15    Q    Hundred?

 16    A    That's fair to say.

 17    Q    About 100 guys were left on the street?

 18    A    That's fair to say.

 19    Q    How many captains after your panel was taken down in that

 20    large 27 or 28 man arrest?

 21    A    Jerry Asaro.

 22                Now, I had acting captains too.

 23    Q    Who were they?

 24    A    I had a kid named Anthony acting captain for Frankie

 25    Coppa.

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  1    Q    Anthony what?      Pepitone?

  2    A    Close.    No.

  3    Q    Not Anthony Pepitone?

  4    A    No.    Farino.

  5    Q    Anthony Farino.      Who else?

  6    A    There was an acting captain on Path Avenue, Dominick.

  7    Q    Not Cicale.      It was somebody else, right?

  8    A    That's Path Avenue.      Dom is from the Bronx.

  9    Q    You had Cicale out there?

 10    A    I had --

 11                MS. MERKL:    Objection.    Move to strike.

 12                THE COURT:    Sustained.

 13                MR. GOLTZER:

 14    A    You're saying about my captains?

 15    Q    Yes.

 16                THE COURT:    Wait.   Wait.   We have to have some rules

 17    here.

 18                The rules are when someone objects or makes a

 19    motion, everything stops and then I rule.

 20                MR. GOLTZER:    My apologies.

 21                THE COURT:    You can't overspeak an objection or a

 22    request.

 23                MR. GOLTZER:    I stand corrected.

 24                THE COURT:    And I instruct the witness to wait.

 25                THE WITNESS:    Yes, your Honor.     I'm sorry.

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  1                THE COURT:    Okay.   Let's proceed.

  2                The motion is granted.      Next.

  3    BY MR. GOLTZER:

  4    Q    Let's go back to Jerry Asaro.

  5    A    Go ahead.

  6    Q    After Vinny took over your family without your

  7    permission, did Jerry Asaro get a message to you that he

  8    didn't like it?

  9    A    He gave a message I gotta believe to Joe Saunders' kid

 10    because everybody was beefing.

 11    Q    Who's everybody?

 12    A    I guess whatever guys are out there.         Santo Gamo, he was

 13    an acting captain for Joe Desi.       I still had acting captains

 14    out there.

 15    Q    Is it fair to say that nearly all of the captains and

 16    acting captains were sending word in to you in 2004 that they

 17    didn't like Basciano?

 18    A    Yes.    Some were saying to Joe Saunders they weren't happy

 19    with him.

 20    Q    And yet you did nothing?

 21    A    Correct.

 22    Q    Because you didn't want too confuse the family?

 23    A    Correct.

 24    Q    How much confusion was there if nobody liked him or most

 25    of the people didn't like him?

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  1    A    At the time I was cooperating.        So I just said I don't

  2    want no confusion.     Leave it alone.     Let him run.

  3    Q    Were you running the family or was the government while

  4    you were cooperating?

  5                MS. MERKL:    Objection.

  6                THE COURT:    Sustained.

  7    BY MR. GOLTZER:

  8    Q    Were you consulting with the government on what you

  9    should do with respect to messages and what was happening on

 10    the street while you were proffering?

 11    A    Not at all.

 12    Q    Did the government ask you about the messages you were

 13    receiving in 2004 starting in August?

 14    A    Once I was a cooperator, yes.

 15    Q    And you were telling him?

 16    A    Yes, if nobody was happy with him.

 17    Q    In the first half the 2004, was it also the case that

 18    nobody was happy with Basciano?

 19    A    Yes.

 20    Q    You had become the official captain -- official boss of

 21    the Bonanno Massino family in 1991?

 22    A    Correct.

 23    Q    It was La Cosa Nostra?

 24    A    Correct.

 25    Q    As you told Mr. Basciano on the tape, I gave my life for

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  1    this family?

  2    A    Yes, I did.

  3    Q    Was that true?

  4    A    Yes, it was.

  5    Q    You gave your life for this family?

  6    A    Yes.

  7    Q    As you told Mr. Basciano, it took me 20 years to put

  8    together this borgata?

  9    A    Yes.

 10    Q    Was that true?

 11    A    When I took over the borgata there was only about 80

 12    wiseguys left.    I brought it back to 190.

 13    Q    And you cared about the borgata?

 14    A    Yes, I did.

 15    Q    And when your panel and 26 or 27 other people got

 16    arrested, you cared for your borgata?

 17    A    Correct.

 18    Q    In January and February of 2004, before you went to

 19    trial, you cared for your borgata?

 20    A    Yes.

 21    Q    Before you thought about or decided to cooperate with the

 22    United States, you cared about the borgata?

 23    A    Correct.

 24    Q    It was a borgata that was known among its members as the

 25    Massino family?

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  1                MS. MERKL:    Asked and answered.

  2                THE COURT:    Sustained.

  3    BY MR. GOLTZER:

  4    Q    And you allowed Vinny Basciano to remain as the acting

  5    boss when you knew that a majority of your captains and acting

  6    captains didn't like him?

  7    A    Correct.    I was cooperating then.

  8    Q    You weren't cooperating until August 6th?

  9    A    Correct.    After that is when we started getting a lot of

 10    static.

 11                MS. MERKL:    Your Honor, can we move on?       This is a

 12    lot of asked and answered.

 13    Q    You just said --

 14                THE COURT:    Well, I don't know what the next

 15    question is so I can't comment.

 16    Q    You just said that you began to get the static about

 17    Basciano in August, is that correct, after you began to

 18    cooperate?

 19    A    Could have been September.

 20    Q    Is it then fair to say that from February of 2004 up

 21    until August or September, you got no complaints about Vinny

 22    Basciano?

 23    A    I don't know exactly what time he made himself the acting

 24    boss of the family.      It was sometime in 2004.

 25                (Continued on next page.)

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  1    CROSS EXAMINATION

  2    BY MR. GOLTZER:

  3    Q    And you have no idea when it was?

  4    A    I don't remember the month, no.

  5    Q    You didn't get a message from Tommy Lee Vinny is taking

  6    over the reins?

  7                MS. MERKL:    Asked and answered.

  8                THE COURT:    Sustained.

  9    Q    Didn't get an answer from anybody?

 10    A    Yes, I did.

 11    Q    Who?

 12    A    Tom me Lee gave me a message.        At that time I was

 13    cooperating, so I went along with it.

 14    Q    Did Tommy Lee bring you a message that says Vinny is

 15    taking over?

 16    A    He said he's made himself the acting boss of the Bonanno

 17    Family.

 18    Q    And did you ask Tommy Lee who told him that?

 19    A    I guess Vinny told him that.

 20    Q    Well, you're guessing.       But did you ask Tommy Lee?

 21    A    Where else would he get it?        He was in contact with Vinny

 22    all the time.

 23    Q    Did you ask him where he got it?

 24    A    No, I didn't.

 25    Q    Did you want to know where he got it?

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  1    A    I'm assuming that it came from Vinny Basciano.

  2    Q    Would knowing be better than an assumption?

  3    A    Not really --

  4               MS. MERKL:     Objection.

  5    A    -- because any time he gave --

  6               THE COURT:     Stop.

  7    A    -- him a message -- Sorry.

  8               THE COURT:     There's an objection.

  9               THE WITNESS:     I'm sorry.

 10               MS. MERKL:     Objection.

 11               THE COURT:     I'm sorry.

 12               MS. MERKL:     Objection.

 13               THE COURT:     Okay, sustained.

 14               Okay.    Ladies and gentlemen, I think we've had a

 15    long day, and I want to thank you for your attention.




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